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                Exhibit A
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11:02:18        1                     IN THE UNITED STATES DISTRICT COURT

                 2                    IN AND FOR THE DISTRICT OF DELAWARE

                 3

                 4     REALTEK SEMICONDUCTOR CORP.,           )       Civil Action
                                                              )
                 5                    Plaintiff,              )
                                                              )
                 6            v.                              )
                                                              )
                 7    AVAGO TECHNOLOGIES GENERAL IP           )
                      (SINGAPORE) PTE, LTD.,                  )
                 8                                            )
                                      Defendant.              )       No. 17-1114-GMS
                 9

               10
                       REALTEK SEMICONDUCTOR CORP.,           )       Civil Action
               11                                             )
                                      Plaintiff,              )
               12             v.                              )
                                                              )
               13      BROADCOM CORP.,                        )
                                                              )
               14                     Defendant.              )       No. 17-1115-GMS

               15

               16                                Wilmington, Delaware
                                              Tuesday, December 19, 2017
               17                                    11:00 a.m.
                                                Telephone Conference
               18

               19

               20      BEFORE:     HONORABLE GREGORY M. SLEET, Senior Judge,
                                                               U.S. District Court,
               21                                              District of Delaware

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                1     APPEARANCES:

                 2                PHILIP A. ROVNER, ESQ., and
                                  JONATHAN A. CHOA, ESQ.
                 3                Potter Anderson & Corroon LLP
                                           -and-
                 4                STEVEN BAIK, ESQ., and
                                  ANDREW T. LANGFORD, ESQ.
                 5                Sidley Austin LLP
                                   (Palo, Al to, CA)
                 6
                                                        Counsel for Plaintiff
                 7
                                  JEFFREY T. CASTELLANO, ESQ.
                 8                Shaw Keller LLP
                                          -and-
                 9                BRUCE S. SOSTEK, ESQ., and
                                  RICHARD L. WYNNE, JR., ESQ.
               10                 Thompson & Knight LLP
                                  (Dallas, TX)
               11
                                                        Counsel for Defendant Realtek
               12

               13

               14

11:02:30       15                     THE COURT:    Good morning, counsel.        Who is on

11:02:31       16      the line for Realtek?

11:02:34       17                    MR. ROVNER:      Good morning, Your Honor.        It's

11:02:35       18      Phil Rovner and Jonathan Chea from Potter Anderson.              With me

11:02:39       19      on the line is Steven Baik and Andrew Langford from Sidley                  &


               20     Austin.

11:02:53       21                     THE COURT:    Good morning.

11:02:56       22                     For Broadcom?

11:03:00       23                    MR. CASTELLANO:       Good morning, Your Honor.          Jeff

11:03:02       24      Castellano with Shaw Keller, on the line for Broadcom and

11:03:07       25     Avago.    Also on the line my co-counsel, Bruce Sostek and
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11:03:11        1      Rich Wynne from Thompson       &   Knight.

11:03:14         2                    THE COURT:     Good morning.     Thank you for the

11:03:32         3     time this morning.      Counsel, I think I previewed the purpose

11:03:37         4     of the call.     It's to discuss the motion to dismiss.           Is it

11:03:49         5    Avago?      How do you pronounce that?        Why don't we get

11:04:01         6     started.    Mr. Sostek, I see your name.         Are you going to

11:04:04         7     handle this?

11:04:05         8                    MR. SOSTEK:    Actually, Mr. Wynne is going to

11:04:07         9     start, Your Honor.      If you have questions for me directly, I

11:04:10       10      will be happy to answer them.

11:04:12       11                     THE COURT:     I only called on you because in the

11:04:14       12     brief I saw you name first.

11:04:17       13                     Mr. Wynne.

11:04:18       14                     MR. WYNNE:     Yes, Your Honor.

11:04:21       15                     THE COURT:     You have the floor.

11:04:23       16                     MR. WYNNE:     So with respect to Avago, we believe

11:04:28       17      that the case should be dismissed for two reasons.              One,

11:04:35       18      there is no subject matter jurisdiction over Avago.

11:04:40       19      Therefore, it should be dismissed under Rule 12(b) (1)

11:04:45       20      There is no dispute, there is no diversity jurisdiction

11:04:48       21      here.   And with respect to federal question jurisdiction, in

11:04:54       22     particular, Realtek has asserted that there is jurisdiction

11:05:01       23      under the patent law.        The case law that we have cited in

11:05:06       24      our briefs going back, the Supreme Court cases, going back a

11:05:11       25      hundred years, establish that claims arising out of an
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11:05:16        1      alleged breach of a patent license agreement do not arise

11:05:20         2     under the patent laws.

11:05:26         3                    In fact, Your Honor's prior rulings in the

11:05:29         4     Mattel case that we cited in our briefs show that --

11:05:32         5                    THE COURT:    I don't know, counsel.        The other

11:05:34         6     side says that was wrongly decided.          I am not sure you want

11:05:37         7     to rely on that.      But go ahead.

11:05:42         8                   MR. WYNNE:     I appreciate that, Your Honor.          But

11:05:48         9     this is one that I think is a little bit telling.

11:05:52       10                     If you look at the complaint in the Avago

11:05:55       11      matter, the cover page included both Avago and Broadcom

11:06:01       12      together.    And then when you get to the substance of the

11:06:05       13      complaint, it's only against Avago.

11:06:11       14                     So it's clear that somebody from Realtek figured

11:06:14       15      out that there was no subject matter jurisdiction because of

11:06:18       16      the lack of diversity and decided, we are just going to file

11:06:24       17      two separate lawsuits.

11:06:26       18                     The problem is, of course, that with respect to

11:06:30       19     Avago, that the filing of the separate lawsuit doesn't cure

11:06:36       20      the jurisdiction problem because you have aliens on both

11:06:41       21      sides of the V, and therefore there is no diversity.

11:06:46       22                     I think the case law is pretty clear.           The only

11:06:52       23      real argument that Realtek advanced in their opposition was

11:06:57       24      that under the ABB case from the Federal Circuit, that if

11:07:04       25      you have a declaratory judgment action, you look to the
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11:07 :08            1      hypothetical course of pleading that the DJ defendant would

11:07 : 14           2      file as an affirmative case.

11: 0 7 : 1 8        3                     In that particular case, the DJ plaintiff was

11 : 07 : 2 4         4     asserting noninfringement, and therefore the course of

11 :07 : 29          5     pleading would be a claim for patent infringement.

11 : 0 7 : 32         6     Therefore, that would arise under federal law.

11:07 : 36           7                    Here there is no allegation of noninfringement

11 : 0 7 : 45        8     by Realtek.      There is no allegation of invalidity by

11:07 : 5 1           9     Realtek.    There is only an allegation of license.

11: 0 7 : 54        10                    And the hypothetical course of pleading, then ,

11 : 07 : 59        11      would be one of non-license, which, of course, would be a

11: 08 : 04         12      state law claim itself.

11 : 08 : 0 6       13                    We think for that reason the ABB case is

11 : 08 : 12        14      inapplicable and that there is no subject matter

11 : 08 : 15        15      jurisdiction.

11: 08 : 1 7        16                    Now, we have a lso pleaded a 12(b) (6) motion with

11 : 08 : 28        17      respect to the timing of the acquisition of Broadcom.              As

11: 08 : 36         18      made clear in our papers in this argument , toge ther, for

11 : 08 : 42        19     both the Avago case and the Broadcom case,

11 : 08 : 49        20

11 : 08 : 52        21

11 : 09 : 02        22

11 : 09 : 08        23

11 : 09 : 1 2       24                     Prior to that time, Avago ' s ultima te parent

11 : 09 : 1 9       25      company , Avago Technologies, Ltd . and Broadcom had announced
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11:09:24            1      that they were planning a transaction to be completed in

11:09: 33           2      2016 by which Avago Technologies, Ltd. would acquire

11 :09 :41          3      Broadcom Corporation.

11: 0 9:44           4                   With knowledge that this transaction was going

11:09:47            5      to occur in the future, Realtek

11:09:52             6

11:09:58            7                                       So in light of that, we believe

11: 1 0 : 04        8      that there really is no dispute, at least I don't think

11:10:09             9     there is a dispute, about the date of the transaction,

11:10:14           10     because all of the filings by both Broadcom and Avago

11: 1 0: 2 1       11      Technologies, Ltd. with the SEC establish that that

11:10 : 24         12      transaction occurred on February 1st, 2016,

11: 10: 32         13

11:10: 3 6         14

11: 10 : 40        15

11:10 : 43         16                                                                  we believe

11: 10: 50         17      that there is no basis for Realtek to assert that its

11:10:56           18      licensed to patents owned by Broadcom -- and it's been owned

11: 11 : 03        19     by Broadcom since

11: 11 : 07        20      and before the date anybody was even talking about an

11: 11: 12         21      acquisition by Avago Technologies at Broadcom

11 : 11 : 16       22                     In light of that, we believe the case should

11:11: 20          23      also be dismissed under Rule 12(b) (6).

11:11: 25          24                    THE COURT:     Thank you.

11:11: 26          25                    Who is going to address this for the other side?
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11: 11: 32           1                    MR. ROVNER:      Steve Baik is going to handle it.

11:11: 36            2                    THE COURT:     Thanks, Mr. Rovner.

11: 11: 37           3                    Mr. Baik.

11: 11: 38            4                   MR. BAIK:     Good morning, Your Honor.        Let me

11:11:40             5      address the 12(b) (6) issue first.         That is really at the

11:11:47              6     crux of both the Avago and Broadcom motion to dismiss.

11: 11: 52           7                    The issue isn't so much about timing as to

11:11: 5 6           8      whether Broadcom was                                         You need

11: 12: 0 3           9     to look further into the agreement

11:12:06            10                                Your Honor.

11: 12 : 0 8        11

11: 1 2 : 11        12

11: 12: 1 7         13

11:12:24            14                       The crux of their argument, in both motions to

11 : 12 : 27        15      dismiss, is that Avago Technologies, Ltd. acquired Broadcom

11: 1 2 : 33        16      and they point to the SEC filings as evidence of that,

11: 12: 38          17      number one, that these filings were prospective.             There is

11:12 :41           18      no evidence to indicate that whatever fact was laid out in

11:12 : 45          19      the merger plan agreement actually took place.

11 :12 : 48         20                    But the merger plan agreement also says that

11:12:51            21      it's contrary to their main argument, that Avago required

11 : 12 : 56        22      Broadcom.

11 : 1 2 : 57       23                     In fact, the SEC filing, the February 1st, 2016

11 : 13 : 01        24      filing said Holdco, a different entity, acquired Avago.               So

11:13:09            25      we have a third entity acquired Avago.           Then i t says in
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11:13:13        1      summation, after all the transaction is done, Holdco owns

11:13:19         2     indirectly Avago as a subsidiary, a direct subsidiary, and

11:13:24         3     Broadcom as an indirect subsidiary.

11:13:27         4                    They paint a picture that says, you know, Avago

11:13:30         5     acquired Broadcom, and that's probably just street talk from

11:13:34         6    press releases, the corporate attorneys say -- they want to

11:13:38         7     spin transactions different ways.          But if you look at the

11:13:41         8     nitty-gritty, that is not exactly what happened.

11:13:44         9                   We have been asking repeatedly if you can show

11:13:47       10      us very clearly where Avago directly acquired Broadcom, we

11:13:54       11      would look at that and we would prepare our action.              In

11:13:58       12      fact, we sent in a request for admissions that says please

11:14:04       13      admit that Avago did not directly acquire Broadcom.              Rather

11:14:08       14      than giving any kind of answer or denial, they just said we

11:14:13       15      didn't understand what the term directly means and we are

11:14:16       16      not going to answer your RFP.

11:14:18       17                     That goes to the point, we pled a very plausible

11:14:23       18      case here, Your Honor.       They pointed to facts outside the

11:14:28       19      complaint to say, our complaint somehow is deficient, when

11:14:33       20      we are taken to task of buttressing that, we get no

               21      response.

11:14:39       22                    We believe we have a proper complaint and should

11:14:41       23     be able to move forward.

11:14:43       24                     On the jurisdictional issue, there are two

11:14:48       25      things, Your Honor.       First, there is declaratory judgment
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11:14:52         1     jurisdiction.     There is a pending case by Broadcom against

11:14:59         2     one of Realtek's customers alleging infringement based upon

11:15:05         3     Realtek's chip.     That is a patent infringement matter.

11:15:08         4                   So by us asserting a license here, the

11:15:12         5     declaratory judgment is based upon, one, the underlying

11:15:18         6     action in the ITC, and to stop them from suing us or any of

11:15:24         7     our customers in the future.        That is specifically a federal

11:15:27         8     question that falls within declaratory judgment

11:15:31         9     jurisdiction.

11:15:32        10                   With regard to the broader issue, yes, we

11:15:36        11     haven't danced around the issue that there is no diversity

11:15:41        12     jurisdiction as to Avago.       Everybody agrees there is

11:15:43        13     diversity as to Realtek and Broadcom.          As to Realtek and

11:15:48        14     Avago, we agree there is no diversity jurisdiction as of the

11:15:51        15     moment.

11:15:52        16                   However, the underlying dispute is a breach of a

11:15:57        17     patent agreement.      And cases have held that a breach of a

11:16:01        18     patent agreement can raise a federal question, but that

11:16:08        19     would confer federal subject matter jurisdiction.            One

11:16:10        20     example would be if I am a licensee

11:16:12        21                   THE COURT:     Let me help you focus your argument

11:16:15        22     a little bit in the interests of time, Mr. Baik, not because

11:16:23        23     of pride of authorship or anything like that.            I disagree

11:16:27        24     with your motion that Mattel was wrongly decided.            You are

11:16:32        25     not surprised to hear that, I am sure.          It could have been
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11:16:35         1     otherwise.     I will say i t could have been otherwise.          I have

11:16:38         2     been convinced in the past that maybe I should consider a

11:16:43         3     ruling at one time or another.         I have done that many times.

11:16:47         4     This is not one of them.        I want you to keep that in mind in

11:16:50         5     your discussion.

11:16:52         6                    MR. BAIK:    Sure.    Let me do my best to try to

11:16:57         7     persuade you that this is a unique set of facts that should

11:17:02         8     be addressed.     Going back to the example where a breach of

11:17:07         9     patent license agreement can confer federal jurisdiction, if

11:17:10        10     I am a licensee and I stopped paying royalties on a product

11:17:14        11     because I say it's no longer practicing any of those

11:17:17        12     licensed patents, there would be issues about whether there

11:17:20        13     was infringement or not and that would confer federal

11:17:22        14     subject matter jurisdiction.

11:17:24        15                    Very similar here, the bargain for rights in

11:17:28        16     this patent license agreement is not to be sued.             Now, a

11:17:34        17     patent complaint can only be brought in a Federal District

11:17:37        18     Court.    It can't be brought in a State Court.          What I am

11:17:41        19     asking for is an injunction of Avago and Broadcom from suing

11:17:46        20     me in Federal Court.       That is my ultimate right that I

11:17:49        21     bargained for in the patent license agreement.

11:17:52        22                    If there is a breach of i t because they are

11:17:56        23     threatening to or they have gone ahead and sued us or a

11:18:00        24     customer in federal court, what is my recourse?             My

11:18:04        25     recourse, I have to bring i t in state court, according to
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11:18:07         1     them.    State Court can't stop them from going to Federal

11:18:13         2     Court because of the supremacy issue.           I am left with no

11:18:17         3     recourse other than going to the state court and seeking

11:18:21         4     damages.

11:18:25         5                    If they are threatening to go out and sue me in

11:18:27         6     Federal Court, I can't go anywhere.          We bring forth the

11:18:37         7     theory that because of that, and this Court is the only

11:18:41         8     Court that can give us any kind of relief, that can give us

11:18:45         9     the right we bargained for, must raise a federal question.

11:18:48        10                    THE COURT:    Sounds nice when you say it fast,

11:18:52        11     counsel.    I am not sure I believe in your argument.             I will

11:18:54        12     let the other side respond.        I want to let you finish your

11:19:00        13     presentation.

11:19:03        14                    Mr. Baik.

11:19:04        15                    MR. BAIK:    Your Honor, I am done for now, unless

11:19:10        16     you have questions of the other side.

11:19:11        17                    THE COURT:    Mr. Wynne.

11:19:13        18                    MR. WYNNE:    Your Honor, just briefly.        I

11:19:17        19     respectfully disagree with that.          I think if the concern was

11:19:23        20     that there was a violation of the license agreement and that

11:19:29        21     the products at issue in the ITC case were licensed, I think

11:19:36        22     the proper thing to do would have been for Realtek to assert

11:19:41        23     that license and defense in the ITC or seek to intervene in

11:19:47        24     the ITC action to present that defense.           They didn't do

11:19:52        25     that.    They filed this collateral action in this Court,
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11:19:58         1     seeking to -- seeking whatever rights they are seeking in

11:20:08         2     this particular case.

11:20:10         3                    They wouldn't be without remedy, as Mr. Baik

11:20:16         4     suggests.    They certainly had the opportunity to present the

11:20:22         5     license issues in the ITC, but they chose not to do that.

11:20:28         6                    I don't think that their tactical decision to

11:20:35         7     prefer one forum over another is sufficient to confer this

11:20:39         8     Court with federal jurisdiction.

11:20:43         9                    MR. BAIK:    Your Honor, if I can respond to that?

11:20:45        10                    THE COURT:    You can.     It's your motion, Mr.

11:20:48        11     Wynne, I will give the last word.

11:20:49        12                    Mr. Baik, go ahead.

11:20:51        13                    MR. BAIK:    With regard to that, there was a

11:20:54        14     suggestion that we could have brought this claim in the ITC.

11:20:58        15     That is incorrect.      The ITC does not have jurisdiction

11:21:01        16                    THE COURT:    Does i t matter for purposes of this

11:21:04        17     Court's consideration of whether i t has jurisdiction?             We

11:21:08        18     are courts of limited jurisdiction.          Does i t matter whether

11:21:11        19     you have remedy in the ITC for purposes of my analysis?

11:21:14        20                    MR. BAIK:    I understand, Your Honor.        I do want

11:21:16        21     to point out, if we had brought a counterclaim in the ITC,

11:21:21        22     i t would have been removed back to the District Court.

11:21:23        23                    THE COURT:    But we need to stop dancing around

11:21:27        24     what your action is, Mr. Baik.          That is, it's an action for

11:21:31        25     contract, for breach of contract.          That's what i t is.     You
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11:21:35         1     plead three California state law claims.           This is not a case

11:21:39         2     that's dependent upon a substantial question of patent law.

11:21:42         3     And it essentially doesn't arise under 1331.             I am just at a

11:21:48         4     loss as to why this case is here in the first place.              I

11:21:51         5     think you made a tactical judgment or mistake, quite

11:21:55         6     frankly, in filing it here.        Regardless of that, I don't

11:21:57         7     want you to have to dial up your malpractice carrier.                 That

11:22:02         8     is my view.

11:22:02         9                    Again, I don't know why you are here, quite

11:22:08        10     frankly.     You shouldn't be here.      So you are not going to be

11:22:12        11     here.    I am going to dismiss the case.         Okay?

11:22:17        12                    Anything else?

11:22:20        13                    MR. BAIK:    The Avago case but not the Broadcom

11:22:25        14     case?

11:22:26        15                    THE COURT:    I am dismissing both actions, yes.

11:22:30        16                    Anything further?

11:22:33        17                    MR. BAIK:    One last point.      Not to draw your ire

11:22:37        18     any further.

11:22:37        19                    THE COURT:    Then don't go there.        If you don't

11:22:40        20     want to draw my ire, don't go there.          I have ruled.

11:22:46        21                    Are you looking for some further clarification?

11:22:51        22                    MR. BAIK:    No, Your Honor.      Not at this time.

11:22:52        23                    THE COURT:    Have a good holiday, gentlemen.

11:22:55        24     Take care.

11:22:56        25                    (Matter concluded at 11:23 a.m.)
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                 Exhibit B
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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELA WARE

                                                                     I
 REALTEK SEMICONDUCTOR CORP .•                                       )
                                                                     )
                              Plaintiff.                             I
                                                                     )
                    v.                                               I         C.A. 'lo. 17-1114-GMS
                                                                     I
 A YAGO TECHNOLOGIES GENERAL IP                                      )
 (SINGAPORE) PTE. LTD.,                                              I
                                                                     I
                              Defendant.                             )
 ~~~~~~~~~~~~~~~-)
                               )
 REALTEK SEMICONDUCTOR CORP .. )
                                                                     )
                              Plaintiff.                             )
                                                                     I
                    v.                                               I         C.A. No. I 7-1115-GMS
                                                                     )
 BROADCOM CORP ..                                                    I
                                                                     )
                              Defendant.


                                                          ORDER

          During a teleconference held on Decetnher 19. 2017. the court ordered dismissal of the

 above-captioned actions. Thi.! court having rcv'iev.'cd the parties· contentions. the standard of

 reviev.·. and the applicable la\v:

          IT IS HEREB'i' ORDERED that (,.A. No. 17-1114-GMS and C.A. No. 17-11 5- '                                  Sare

 dismissed. 1

 Dated: Decen1ber        /9'. 2017


 1 This Order renders .A..\'ago l'echnologies· lvtotion to J)ism1ss f0r l·ailun: to Seate a ("lain1 (D.! 9J and r-.1otion for
 Rule 11 Sanctions (D .T 28) filed 111 c· .A. No. 17-1114-<J MS 1noot. ·r111s (lrder also render~ liroadcon1 · s Motion to
 Dismiss for failure to State a C:Ja1n1 (U.J. 9) and ~lotion for Ruic 11 Sanctions (fJ.I. :!91filed111 ('.l\. No. 17-1 J J:'i-
 GMS moot.
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                 Exhibit C
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   Per beA                                                                                                                          Lawyers
                                                                                                                                    Dr. Christof Höhne, LL.M.1
   Munich Regional Court
                                                                                                                                    Florian Schmidt-Bogatzky, LL.M.2
   7th Civil Chamber                                                                                                                Isabelle Schaller
   Lenbachplatz 7                                                                                                                   Dr. Sebastian Fuchs
                                                                                                                                    Dimitri Kosenko
   80333 Munich                                                                                                                     Shi-Hwa Chae
                                                                                                                                    Maximilian Häger
                                                                                                                                    Patent attorney
                                                                                                                                    Felix Hütt3



   We provide lawyer to lawyer services in                                                                                          Florian Schmidt-Bogatzky, LL.M.
   accordance with § 195 para. 1, sentence                                                                                          fschmidtbogatzky@eip.com
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                                                                                                                                    Dimitri Kosenko
                                                                                                                                    dkosenko@eip.com
                                                                                                                                    +49 211 9595 8514
   Our reference: 556.LM(DE)17

                                                                                                                                    October 25, 2024


                                                               R E P L I K (technology)
                                                   - Contains confidential information -


   In matters of

   7 O 4992/24

    Avago Technologies International Sales Pte. Limited                                                                                                        (EIP)
                                                                                                                                                  - applicant -
   gover

   Tesla Germany GmbH et al.                                                                                                        (Quinn Emanuel)
                                                                                                                                                 - Defendant -


   we respond below to the statement of defense dated August 12, 2024. Contrary to the defendant's
   assertions, the patent in suit is both infringed and legally valid. The


   Bath +44                 Cardiff +44              Denver* +1                Düsseldorf +49            Leeds +44                London +44               Stockholm** +46
   (0)1225 337 843          [0)29 2023 0509          720-845-6065              [0)211 9595 8500          [0)113 245 7981          [0)20 7440 9510          (0)8 502 461 11

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   of the Essen Local Court under the number PR 3062. 1Specialist lawyer for intellectual property law. 2Attorney-at-Law (New York). 3Patent attorney, European Patent Attorney.
   *Office of EIP US LLP. ** Office of EIP Sweden AB. Tax number 13357091153. UST id. DE296698734.
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   Claims are accordingly justified. The plaintiff is (naturally) also entitled to bring an action.


   Some of the information highlighted below in this pleading               was already classified as
   confidential pursuant to the resolution of August 13, 2024.
   § Section 16 (1) GeschGehG. The information in recitals 125 to 134 relates to the plaintiff's
   contracts with third parties and the current status of negotiations between the parties. This
   information is not yet covered by the aforementioned decision. However, it is equally
   confidential information that requires secrecy within the meaning of §§ 16 para. 1, 2 no. 1
   GeschGehG. In order to protect this information, which is not yet covered by the
   aforementioned resolutions, we therefore request the following:


   1.      The information highlighted in gray in paragraphs 125 to 134 of this pleading is
           classified as confidential.


   2.      The    parties,    their    legal    representatives,      witnesses,      experts,     other
           representatives and all other persons who are involved in the present
           proceedings or who have access to documents of such proceedings must treat
           the information classified as confidential in accordance with Section 1 as
           confidential and may not use or disclose it outside of court proceedings unless
           they have gained knowledge of it outside of the proceedings. These obligations
           shall continue to apply after the conclusion of the court proceedings. This shall
           not apply if the court in the main proceedings has denied the existence of the
           trade secret in dispute in a final judgment or as soon as the information in
           dispute becomes known or readily accessible to persons in the circles that
           normally deal with such information.


   3.      If the duty of confidentiality is culpably breached, a fine of up to EUR 100,000.00
           - in the event that the fine cannot be collected, alternatively imprisonment for
           up to six months - shall be imposed on the obligated party for each breach or
           imprisonment for up to six months shall be imposed and enforced immediately.




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   4.     In the event that third parties who have a right to inspect the files exercise this
          right, the contents of the files may only be made available to them in such a
          way that the statements contained in the business secrets referred to in section
          1 have been made unrecognizable.


   In addition, we request:


   5.     In the event that this submission is discussed at the hearing, it is ordered,


              a. to exclude the public for this part of the hearing due to the risk to the
                  parties' interests worthy of protection;


              b. to oblige the persons present at the oral hearing, including the party
                  representatives, their legal representatives and the patent attorneys
                  appointed to participate in the legal dispute, to keep secret from third
                  parties facts relating to the statements highlighted in gray or the
                  annexes marked "confidential" and which come to their knowledge for
                  the first time through the pleadings exchanged in the proceedings or the
                  statements made at the oral hearing, and to use them only for the
                  purpose of conducting the proceedings in the present proceedings;


              c. if necessary, to exclude the public for part of the delivery of the reasons
                  for the judgment.


   6.     Prior to any publication of the reasons for the judgment or other
          announcements, any information contained therein that is contained in the
          statements highlighted in gray or in the information marked by a
          marked "confidential" must be blacked out.




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   The plaintiff will comment below on the legal status and will also submit the grounds for the
   opposition against the nullity action brought in relation to the patent in suit as soon as
   possible. Auxiliary requests will be submitted with the statement of grounds for opposition.
   For better orientation for the Board, we are displaying the updated version of the request,
   which we are also submitting as Annex EIP 9, again below.




                                            Applications:


     I.   The defendants are ordered to cease and desist from enforcing this order on
          their board members or managing directors on pain of a fine of up to EUR
          250,000 for each case of infringement, or imprisonment for up to two years in
          total,


          1. Systems for wired communication,


               to offer, place on the market or use in the Federal Republic of Germany or
               to either import or possess for the aforementioned purposes,


               showing:


                       a local PHY [physical interface] designed to convert Media
                       Independent Interface, MII, Ethernet data from a 4-bit packet stream
                       to a 3-bit packet stream;


                       a scrambler designed for scrambling the 3-bit packet stream;


                       wherein the local PHY adapted to map the 3-bit packet stream of MII
                       data to one or more ternary bit streams for communication to a
                       remote PHY over one or more twisted pair wires has a configuration
                       for, during an IDLE state:




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                       Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                       with a least significant bit of zero to a ternary non-zero value of the
                       one or more ternary bit streams;


                       Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                       with a least significant bit from non-zero to a ternary zero value of
                       the one or more ternary bit streams,

                                                                       (EP 1 903 733 B1, claim 11,
                                                                                      direct injury);

                       especially if

                       the one or more ternary bit streams have a first ternary bit stream
                       and a second ternary bit stream,

                                                                       (EP 1 903 733 B1, claim 12,
                                                                                      direct injury);

                        further in particular if

                        the local PHY is designed to communicate to the remote PHY using
                        PAM-3;

                                                                       (EP 1 903 733 B1, claim 13,
                                                                                      direct injury);

                        further in particular if,

                        if a single twisted pair is available, the local PHY is designed to
                        multiplex the one or more ternary bi-currents into a single current,

                                                                       (EP 1 903 733 B1, claim 15,
                                                                                      direct injury).




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                                                In the alternative


               1.a           Systems for wired communication,


                             to offer, place on the market or use in the Federal Republic of
                             Germany or to either import or possess for the aforementioned
                             purposes,


               showing:


               a local PHY [physical interface] designed to convert Media Independent
               Interface, MII, Ethernet data from a 4-bit packet stream to a 3-bit packet
               stream;


               a scrambler adapted to scramble the 3-bit packet stream; wherein the local
               PHY adapted to map the 3-bit packet stream of MII data to a first ternary bit
               stream and a second ternary bit stream for communication to a remote PHY
               via one or m o r e twisted pair lines has a configuration for, during an IDLE
               state:


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit of zero to a ternary non-zero value of the first ternary bit
               stream;


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit from non-zero to a ternary zero value of the first ternary
               bit stream.


                                                                 (auxiliary request 1, claim 9)
   or




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               1.b           Systems for wired communication,


                             to offer, place on the market or use in the Federal Republic of
                             Germany or to either import or possess for the aforementioned
                             purposes,


               showing:


               a local PHY [physical interface] designed to convert Media Independent
               Interface, MII, Ethernet data from a 4-bit packet stream to a 3-bit packet
               stream;


               a scrambler adapted to scramble the 3-bit packet stream; wherein the local
               PHY adapted to map the 3-bit packet stream of MII data to a first ternary bit
               stream and a second ternary bit stream for communication to a remote PHY
               via one or m o r e twisted pair lines has a configuration for, during an IDLE
               state:


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit of zero to a ternary non-zero value of the first ternary bit
               stream;


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit from non-zero to a ternary zero value of the first ternary
               bit stream;


               where, if a single twisted pair is available, the local PHY is designed to
               multiplex the first ternary bit stream and the second ternary bit stream into
               a single stream.


                                                                 (auxiliary request 2, claim 8)
   or




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              1.c          Systems for wired communication,


                           to offer, place on the market or use in the Federal Republic of
                           Germany or to either import or possess for the aforementioned
                           purposes,


               showing:


               a local PHY [physical interface] designed to convert Media Independent
               Interface, MII, Ethernet data from a 4-bit packet stream to a 3-bit packet
               stream;


               a scrambler adapted to scramble the 3-bit packet stream to generate a
               scrambled 3-bit packet stream of MII data, wherein the scrambler is adapted
               to generate, during an IDLE state, a scrambled 3-bit packet stream
               comprising binary 3-bit IDLE patterns;


               wherein the local PHY adapted to map the scrambled 3-bit packet stream of
               MII data to one or more ternary bit streams for communication to a remote
               PHY over one or more twisted pair wires has a configuration for, during the
               IDLE state:


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit of zero to a ternary non-zero value of the one or more
               ternary bit streams;


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit from non-zero to a ternary zero value of the one or more
               ternary bit streams.




                                                                 (auxiliary request 3, claim 11)


   or




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              1.d            Systems for wired communication,


                          to offer, place on the market or use in the Federal Republic of
                          Germany or to either import or possess for the aforementioned
                          purposes,


               showing:


               a local PHY [physical interface] designed to convert Media Independent
               Interface, MII, Ethernet data from a 4-bit packet stream to a 3-bit packet
               stream;


               a scrambler adapted to scramble the 3-bit packet stream to generate a
               scrambled 3-bit packet stream of MII data, wherein the scrambler is adapted
               to generate, during an IDLE state, a scrambled 3-bit packet stream
               comprising binary 3-bit IDLE patterns;


               wherein the local PHY adapted to map the scrambled 3-bit packet stream of
               MII data to a first ternary bit stream and a second ternary bit stream for
               communication to a remote PHY over one or more twisted pair lines has a
               configuration for, during the IDLE state:


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit of zero to a ternary non-zero value of the first ternary bit
               stream;




               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit from non-zero to a ternary zero value of the first ternary
               bit stream.


                                                                 (auxiliary request 4, claim 9)


   or




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               1.e        Systems for wired communication,


                             to offer, place on the market or use in the Federal Republic of
                             Germany or to either import or possess for the aforementioned
                             purposes,


               showing:


               a local PHY [physical interface] designed to convert Media Independent
               Interface, MII, Ethernet data from a 4-bit packet stream to a 3-bit packet
               stream;


               a scrambler adapted to scramble the 3-bit packet stream to generate a
               scrambled 3-bit packet stream of MII data, the scrambler comprising a side-
               stream scrambler, the scrambler being adapted to generate, during an IDLE
               state and using the side-stream scrambler, a scrambled 3-bit packet stream
               comprising 3-bit binary IDLE patterns;


               wherein the local PHY adapted to map the scrambled 3-bit packet stream of
               MII data to a first ternary bit stream and a second ternary bit stream for
               communication to a remote PHY over one or more twisted pair lines has a
               configuration for, during the IDLE state:


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit of zero to a ternary non-zero value of the first ternary bit
               stream;


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit from non-zero to a ternary zero value of the first ternary
               bit stream.


                                                                 (auxiliary request 5, claim 9)


   or




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              1.f            Systems for wired communication,


                             to offer, place on the market or use in the Federal Republic of
                             Germany or to either import or possess for the aforementioned
                             purposes,


               showing:


               a local PHY [physical interface] designed to convert Media Independent
               Interface, MII, Ethernet data from a 4-bit packet stream to a 3-bit packet
               stream;


               a scrambler adapted to scramble the 3-bit packet stream to generate a
               scrambled 3-bit packet stream of MII data, the scrambler comprising a side-
               stream scrambler, the scrambler being adapted to generate, during an IDLE
               state and using the side-stream scrambler, a scrambled 3-bit packet stream
               comprising 3-bit binary IDLE patterns;


               wherein the local PHY adapted to map the scrambled 3-bit packet stream of
               MII data to a first ternary bit stream and a second ternary bit stream for
               communication to a remote PHY via a twisted pair has a configuration for,
               during the IDLE state: mapping binary 3-bit IDLE patterns of the scrambled
               3-bit packet stream having a least significant bit of zero to a ternary non-
               zero value of the first ternary bit stream;


               Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
               least significant bit from non-zero to a ternary zero value of the first ternary
               bit stream.


                                                                 (auxiliary request 6, claim 9)




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          2. Methods implemented by systems for wired communication,


              to customers in the territory of the Federal Republic of Germany or to apply
              the procedure,


              wherein the method comprises:


                      Conversion of Media Independent Interface, MII, Ethernet data in a
                      local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                      packet stream;


                      Scrambling of the 3-bit packet stream;


                      Mapping the scrambled 3-bit packet stream of MII data to one or more
                      ternary bit streams for communication to a remote PHY over one or
                      more twisted pair lines, which includes during an IDLE state:


                      Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                      with a least significant bit of zero to a ternary non-zero value of the
                      one or more ternary bit streams;


                      Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                      with a least significant bit from non-zero to a ternary zero value of the
                      one or more ternary bit streams,

                                                                   (EP 1 903 733 B1, claim 1, direct
                                                                        infringement);

                       especially if

                       the one or more ternary bistreams have a first ternary bistream and a
                       second ternary bistream,

                                                                   (EP 1 903 733 B1, claim 2, direct
                                                                        infringement);




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                       further in particular if

                       the procedure includes communicating to the remote PHY using
                       PAM-3,

                                                                        (EP 1 903 733 B1, claim 3,
                                                                              direct infringement);

                       further in particular if,

                       the method comprises multiplexing the one or more ternary bi-
                       currents into a single current when a single twisted pair is available,

                                                                       (EP 1 903 733 B1), claim 5,
                                                                                      direct injury);

                       further in particular if

                       the method comprises inserting Start Stream Delimiters, SSD, before
                       the one or more ternary bistreams,

                                                                        (EP 1 903 733 B1, claim 6,
                                                                              direct infringement),

                       further in particular if

                       the method comprises inserting End Stream Delimiters, ESD, after
                       the one or more ternary bistreams,

                                                                        (EP 1 903 733 B1, claim 7,
                                                                              direct infringement),

                       likewise in particular if

                       the method includes the insertion of idle signals after the inserted
                       ESD,

                                                                        (EP 1 903 733 B1, claim 8,
                                                                              direct infringement).




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                                                    In the alternative


               2.a     Through systems        realized       processes     for    wired
                       communication,


                       to customers in the territory of the Federal Republic of Germany or
                       to apply the procedure,


                       wherein the method comprises:


                       Conversion of Media Independent Interface, MII, Ethernet data in a
                       local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                       packet stream;


                       Scrambling (1210) of the 3-bit packet stream;


                       Mapping (1212) the scrambled 3-bit packet stream of MII data to a
                       first ternary bit stream and a second ternary bit stream for
                       communication to a remote PHY over one or more twisted pair lines,
                       comprising during an IDLE state:
                       Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                       with a least significant bit of zero to a ternary non-zero value of the
                       first ternary bit stream;


                       Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                       with a least significant bit from non-zero to a ternary zero value of
                       the first ternary bit stream.


                                                                 (auxiliary request 1, claim 1)
   or


               2.b    Through systems         realized       processes     for    wired
                       communication,




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                       to customers in the territory of the Federal Republic of Germany or
                       to apply the procedure,


                       wherein the method comprises:


                       Conversion of Media Independent Interface, MII, Ethernet data in a
                       local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                       packet stream;


                       Scrambling (1210) of the 3-bit packet stream;
                       Mapping (1212) the scrambled 3-bit packet stream of MII data to a
                       first ternary bit stream and a second ternary bit stream for
                       communication to a remote PHY over one or more twisted pair lines,
                       comprising during an IDLE state:


                       Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                       with a least significant bit of zero to a ternary non-zero value of the
                       first ternary bit stream;


                       Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                       with a least significant bit from non-zero to a ternary zero value of
                       the first ternary bit stream;
                       Multiplexing the first ternary bit stream and the second ternary bit
                       stream into a single stream when a single twisted pair is available.
                                                                     (auxiliary request 2, claim 1)


                       or


               2.c   Through systems         realized       processes      for    wired
                     communication,


                     t o customers in the territory of the Federal Republic of Germany or to
                     apply the procedure,




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                     wherein the method comprises:


                     Conversion of Media Independent Interface, MII, Ethernet data in a
                     local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                     packet stream;


                     Scrambling (1210) of the 3-bit packet stream to generate a scrambled
                     3-bit packet stream of MII data;


                     Generate, during an IDLE state, a scrambled 3-bit packet stream
                     containing binary 3-bit IDLE patterns;
                     Mapping (1212) the scrambled 3-bit packet stream of MII data to one or
                     more ternary bit streams for communication to a remote PHY over one
                     or more twisted pair wires, which includes during the IDLE state:


                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit of zero to a ternary non-zero value of the
                     one or more ternary bit streams;


                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit from non-zero to a ternary zero value of the
                     one or more ternary bit streams.


                                                                 (auxiliary request 3, claim 1)
   or


              2.d    Through systems         realized       processes      for    wired
                     communication,


                     t o customers in the territory of the Federal Republic of Germany or to
                     apply the procedure,




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                     wherein the method comprises:


                     Conversion of Media Independent Interface, MII, Ethernet data in a
                     local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                     packet stream;


                     Scrambling (1210) of the 3-bit packet stream to generate a scrambled
                     3-bit packet stream of MII data;


                     Generate, during an IDLE state, a scrambled 3-bit packet stream
                     containing binary 3-bit IDLE patterns;


                     Mapping (1212) the scrambled 3-bit packet stream of MII data to a first
                     ternary bit stream and a second ternary bit stream for communication
                     to a remote PHY over one or more twisted pair wires, which includes
                     during the IDLE state:


                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit of zero to a ternary non-zero value of the
                     first ternary bit stream;


                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit from non-zero to a ternary zero value of the
                     first ternary bit stream.


                                                                 (auxiliary request 4, claim 1)
   or


               2.e   Through systems         realized       processes      for    wired
                     communication,


                     t o customers in the territory of the Federal Republic of Germany or to
                     apply the procedure,




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                     wherein the method comprises:


                     Conversion of Media Independent Interface, MII, Ethernet data in a
                     local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                     packet stream;


                     Scrambling (1210) of the 3-bit packet stream to generate a scrambled
                     3-bit packet stream of MII data;


                     Generate, during an IDLE state and using a side-stream scrambler, a
                     scrambled 3-bit packet stream that has binary 3-bit IDLE patterns;


                     Mapping (1212) the scrambled 3-bit packet stream of MII data to a first
                     ternary bit stream and a second ternary bit stream for communication
                     to a remote PHY over one or more twisted pair wires, which includes
                     during the IDLE state:


                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit of zero to a ternary non-zero value of the
                     first ternary bit stream;


                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit from non-zero to a ternary zero value of the
                     first ternary bit stream.


                                                                 (auxiliary request 5, claim 1)


   or


               2.f   Through systems         realized       processes      for    wired
                     communication,


                     t o customers in the territory of the Federal Republic of Germany or to
                     apply the procedure,




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                     wherein the method comprises:


                     Conversion of Media Independent Interface, MII, Ethernet data in a
                     local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                     packet stream;


                     Scrambling (1210) of the 3-bit packet stream to generate a scrambled
                     3-bit packet stream of MII data;


                     Generate, during an IDLE state and using a side-stream scrambler, a
                     scrambled 3-bit packet stream that has binary 3-bit IDLE patterns;


                     Mapping (1212) the scrambled 3-bit packet stream of MII data to a first
                     ternary bit stream and a second ternary bit stream for communication
                     to a remote PHY over a twisted pair, which includes during the IDLE
                     state:
                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit of zero to a ternary non-zero value of the
                     first ternary bit stream;


                     Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                     with a least significant bit from non-zero to a ternary zero value of the
                     first ternary bit stream.


                                                                    (auxiliary request 6, claim 1)




          3.      To offer, place on the market or use in the Federal Republic of Germany,
                  or to either import or possess for said purposes, machine-readable
                  memories on which is stored a computer program comprising at least
                  one code section for wire communication, said at least one code section
                  being executable by a machine to cause said machine to perform the
                  following steps:




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                      Conversion of Media Independent Interface, MII, Ethernet data in a
                      local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                      packet stream;


                      Scrambling of the 3-bit packet stream;


                      Mapping the scrambled 3-bit packet stream of MII data to one or more
                      ternary bit streams for communication to a remote PHY over one or
                      more twisted pair lines, which includes during an IDLE state:


                      Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                      with a least significant bit of zero to a ternary non-zero value of the
                      one or more ternary bit streams;


                      Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream
                      with a least significant bit from non-zero to a ternary zero value of the
                      one or more ternary bit streams,



                                                                   (EP 1 903 733 B1, claim 9, direct
                                                                        infringement);

              especially if

                       the one or more ternary bistreams have a first ternary bistream and a
                       second ternary bistream,


                                                                       (EP 1 903 733 B1, claim 10,
                                                                                      direct injury);

                                            In the alternative

               3.a        to offer, place on the market or use machine-readable memories
                          in the Federal Republic of Germany or to either import or possess
                          them for the aforementioned purposes,




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                          on which is stored a computer program comprising at least one
                          code section for wireline communication, the at least one code
                          section being executable by a machine to cause the machine to
                          perform the following steps:


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;


                          Scrambling of the 3-bit packet stream;


                          Mapping the scrambled 3-bit packet stream of MII data to a first
                          ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          wires, which includes during an IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.

                                                                 (auxiliary request 1, claim 8)

   or

                  3.b     to offer, place on the market or use machine-readable memories
                          in the Federal Republic of Germany or to either import or possess
                          them for the aforementioned purposes,


                          on which a computer program with at least one code section for
                          wired communication is stored, wherein the at least one code
                          section is executed by a machine




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                          is executable to cause the machine to perform the following
                          steps:


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;


                          Scrambling of the 3-bit packet stream;


                          Mapping the scrambled 3-bit packet stream of MII data to a first
                          ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          wires, which includes during an IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream;


                          Multiplexing the first ternary bit stream and the second ternary bit
                          stream into a single stream when a single twisted pair is
                          available.

                                                                 (auxiliary request 2, claim 7)

   or

          3.c             to offer, place on the market or use machine-readable memories
                          in the Federal Republic of Germany or to either import or possess
                          them for the aforementioned purposes,


                          on    on which       a                        computer program with
                                at least at least one code section for wired communication



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                          wherein the at least one code portion is executable by a machine
                          to cause the machine to perform the following steps:


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;
                          Scramble the 3-bit packet stream to generate a scrambled 3-bit
                          packet stream of MII data;


                          Generate, during an IDLE state, a scrambled 3-bit packet stream
                          that has binary 3-bit IDLE patterns;


                          Mapping of the scrambled 3-bit packet stream of MII data to one
                          or more ternary bit streams for communication to a remote PHY
                          over one or more twisted pair wires, which is performed during
                          the                      the                IDLE                [Idle]
                          -state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the one or more ternary bit streams;
                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the one or more ternary bit streams.


                                                                 (auxiliary request 3, claim 9)


   or


                  3.d     to offer, place on the market or use machine-readable memories
                          in the Federal Republic of Germany or to either import or possess
                          them for the aforementioned purposes,




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                          on which is stored a computer program comprising at least one
                          code section for wireline communication, the at least one code
                          section being executable by a machine to cause the machine to
                          perform the following steps:


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;
                          Scramble the 3-bit packet stream to generate a scrambled 3-bit
                          packet stream of MII data;


                          Generate, during an IDLE state, a scrambled 3-bit packet stream
                          that has binary 3-bit IDLE patterns;


                          Mapping the scrambled 3-bit packet stream of MII data to a first
                          ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          wires, which includes during the IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.


                                                                 (auxiliary request 4, claim 8)


   or


                  3.e     to offer, place on the market or use machine-readable memories
                          in the Federal Republic of Germany or to either import or possess
                          them for the aforementioned purposes,




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                          on which is stored a computer program comprising at least one
                          code section for wireline communication, the at least one code
                          section being executable by a machine to cause the machine to
                          perform the following steps:


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;
                          Scramble the 3-bit packet stream to generate a scrambled 3-bit
                          packet stream of MII data;


                          Generate, during an IDLE state and using a side-stream
                          scrambler, a scrambled 3-bit packet stream that has binary 3-bit
                          IDLE patterns;


                          Mapping the scrambled 3-bit packet stream of MII data to a first
                          ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          wires, which includes during the IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.


                                                                 (auxiliary request 5, claim 8)


   or




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                  3.f     to offer, place on the market or use machine-readable memories
                          in the Federal Republic of Germany or to either import or possess
                          them for the aforementioned purposes,


                          on which is stored a computer program comprising at least one
                          code section for wireline communication, the at least one code
                          section being executable by a machine to cause the machine to
                          perform the following steps:


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;


                          Scramble the 3-bit packet stream to generate a scrambled 3-bit
                          packet stream of MII data;


                          Generate, during an IDLE state and using a side-stream
                          scrambler, a scrambled 3-bit packet stream that has binary 3-bit
                          IDLE patterns;


                          Mapping the scrambled 3-bit packet stream of MII data to a first
                          ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over a twisted pair, which
                          includes during the IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.
                                                                 (auxiliary request 6, claim 8)




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          4. to offer and/or supply systems in the Federal Republic of Germany which
              are suitable for implementing a method for wireline communication, the
              method comprising


              Conversion of Media Independent Interface, MII, Ethernet data in a local PHY
              [physical interface] from a 4-bit packet stream to a 3-bit packet stream;


              Scrambling of the 3-bit packet stream;


              Mapping the scrambled 3-bit packet stream of MII data to one or more
              ternary bit streams for communication to a remote PHY over one or more
              twisted pair lines, which includes during an IDLE state:


              Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
              least significant bit of zero to a ternary non-zero value of the one or more
              ternary bit streams;


              Map binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a
              least significant bit from non-zero to a ternary zero value of the one or more
              ternary bit streams,


                                                                   (EP 1 903 733 B1, claim 1,
                                                                           indirect infringement);

               especially if

               the one or more ternary bistreams have a first ternary bistream and a
               second ternary bistream,


                                                                   (EP 1 903 733 B1, claim 2,
                                                                           indirect infringement);




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               further in particular if

               the procedure includes communicating to the remote PHY using PAM-3,

                                                                        (EP 1 903 733 B1, claim 3,
                                                                            indirect infringement);

                further in particular if,

                the method comprises multiplexing the one or more ternary bi-currents
                into a single current when a single twisted pair is available,

                                                                       (EP 1 903 733 B1), claim 5,
                                                                            indirect infringement);

                further in particular if

                the method comprises inserting Start Stream Delimiters, SSD, before the
                one or more ternary bistreams,

                                                                        (EP 1 903 733 B1, claim 6,
                                                                            indirect infringement),

               further in particular if

               the method comprises inserting End Stream Delimiters, ESD, after the one
               or more ternary bistreams,

                                                                        (EP 1 903 733 B1, claim 7,
                                                                            indirect infringement),

                also in particular if

                the method includes the insertion of idle signals after the inserted ESD,

                                                                        (EP 1 903 733 B1, claim 8,
                                                                            indirect infringement).




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                                                      In the alternative


              4.a         to offer and/or supply systems in the Federal Republic of
                          Germany which are suitable for carrying out a method for wireline
                          communication, the method comprising


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;


                          Scrambling (1210) of the 3-bit packet stream;


                          Mapping (1212) the scrambled 3-bit packet stream of MII data to a
                          first ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          lines, which includes during an IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.




                                             (auxiliary request 1, claim 1, indirect infringement)


   or


             4.b        to offer and/or supply systems in the Federal Republic of Germany
                        which are suitable for carrying out a method for wireline
                        communication, the method comprising




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                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;


                          Scrambling (1210) of the 3-bit packet stream;


                          Mapping (1212) the scrambled 3-bit packet stream of MII data to a
                          first ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          lines, which includes during an IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream;


                          Multiplexing the first ternary bit stream and the second ternary bit
                          stream into a single stream when a single twisted pair is
                          available.


                                                 (auxiliary request 2,              claim      1,
                                                                 indirect infringement)


   or


          4.c             to offer and/or supply systems in the Federal Republic of
                          Germany which are suitable for implementing a method for
                          wireline communication, the method comprising




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                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;


                          Scramble (1210) the 3-bit packet stream to generate a scrambled
                          3-bit packet stream of MII data;


                          Generate, during an IDLE state, a scrambled 3-bit packet stream
                          that has binary 3-bit IDLE patterns;


                          Mapping (1212) the scrambled 3-bit packet stream of MII data to
                          one or more ternary bit streams for communication to a remote
                          PHY over one or more twisted pair wires, which includes during
                          the IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the one or more ternary bit streams;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the one or more ternary bit streams.




                                                 (auxiliary request 3,              claim      1,
                                                                 indirect infringement)


   or


          4.d             to offer and/or supply systems in the Federal Republic of
                          Germany which are suitable for carrying out a method for wireline
                          communication, the method comprising




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                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;


                          Scramble (1210) the 3-bit packet stream to generate a scrambled
                          3-bit packet stream of MII data;
                          Generate, during an IDLE state, a scrambled 3-bit packet stream
                          that has binary 3-bit IDLE patterns;


                          Mapping (1212) the scrambled 3-bit packet stream of MII data to a
                          first ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          wires, which is performed during IDLE [idle].
                          -state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.


                                                 (auxiliary request 4,              claim      1,
                                                                   indirect infringement)


   or


              4.e         to offer and/or supply systems in the Federal Republic of
                          Germany which are suitable for carrying out a method for wireline
                          communication, the method comprising


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;



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                          Scramble (1210) the 3-bit packet stream to generate a scrambled
                          3-bit packet stream of MII data;


                          Generate, during an IDLE state and using a side-stream
                          scrambler, a scrambled 3-bit packet stream that has binary 3-bit
                          IDLE patterns;
                          Mapping (1212) the scrambled 3-bit packet stream of MII data to a
                          first ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over one or more twisted pair
                          wires, which is performed during IDLE [idle].
                          -state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.




                                                 (auxiliary request 5,              claim      1,
                                                                 indirect infringement)


   or


              4.f         to offer and/or supply systems in the Federal Republic of
                          Germany which are suitable for implementing a method for
                          wireline communication, the method comprising


                          Conversion of Media Independent Interface, MII, Ethernet data in a
                          local PHY [physical interface] from a 4-bit packet stream to a 3-bit
                          packet stream;




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                          Scramble (1210) the 3-bit packet stream to generate a scrambled
                          3-bit packet stream of MII data;


                          Generate, during an IDLE state and using a side-stream
                          scrambler, a scrambled 3-bit packet stream that has binary 3-bit
                          IDLE patterns;


                          Mapping (1212) the scrambled 3-bit packet stream of MII data to a
                          first ternary bit stream and a second ternary bit stream for
                          communication to a remote PHY over a twisted pair, which
                          includes during the IDLE state:


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit of zero to a ternary non-zero
                          value of the first ternary bit stream;


                          Map binary 3-bit IDLE patterns of the scrambled 3-bit packet
                          stream with a least significant bit from non-zero to a ternary zero
                          value of the first ternary bit stream.




                                                 (auxiliary request 6,              claim      1,
                                                                 indirect infringement)




    II.   The defendants are ordered to provide the plaintiff with information by
          submitting a uniform, chronologically ordered list of the extent to which the
          defendants have committed the acts described under I. since March 15, 2017,
          stating


                  a) the names and addresses of manufacturers, suppliers and other
                      previous owners,




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                  b) the names and addresses of the commercial customers and the
                      points of sale for which the products were intended,


                  c) the quantity of products manufactured, delivered, received or
                      ordered and the prices paid for the products concerned,


           whereby copies of the corresponding purchase documents (namely invoices,
           alternatively delivery bills) must be submitted as proof of the information,
           whereby details requiring confidentiality outside the data subject to disclosure
           may be blacked out.




    III.   The defendants are ordered to provide the plaintiff with a uniform,
           chronologically ordered list of the extent to which the defendants have
           committed the acts described under I. since March 15, 2017, stating


                  a) production quantities and times,


                  b) of the individual deliveries, broken down by delivery quantities,
                      times, prices and type designations as well as the names and
                      addresses of the commercial customers,


                  c) of the      individual        offers,            broken down              by
                      offer quantities, times, prices and type designations, as well as the
                      names and addresses of the commercial offerees,


                  d) of the advertising operated, broken down by advertising media, their
                      circulation, distribution period and distribution area,


                  e) the prime costs broken down by the individual cost factors and the
                      profit generated,


           whereby the defendants reserve the right to disclose the names and addresses
           of the offerees and non-commercial purchasers instead of the plaintiff.




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           to a sworn auditor based in the Federal Republic of Germany, to be designated
           by the plaintiff and bound to secrecy, provided that the defendants bear his
           costs and authorize and oblige him to inform the plaintiff upon specific request
           whether a specific purchaser or a specific offeree is included in the list.




    IV.    The defendants are ordered to pay the damages described in section I.1.
           March 15, 2017, to recall the products placed on the market vis-à-vis the
           commercial customers with reference to the fact that the patent-infringing
           condition of the aforementioned products was established by the judgment
           here and with the binding undertaking to refund any fees and to bear any
           necessary packaging and transport costs as well as customs and storage costs
           associated with the return and to take back the products.



     V.    The defendants are ordered to pay the damages described in section I.1.
           March 15, 2017, to permanently remove products placed on the market from the
           distribution channels by taking them and/or ensuring that the respective owner
           destroys the products.



    VI.    The defendants are ordered to destroy the products in their direct possession
           or ownership referred to in section I.1. or, at their discretion, to hand them over
           to a bailiff to be appointed by them for the purpose of destruction at the
           defendants' expense.



   VII.    It is established that the defendants are obliged to compensate the plaintiff for
           all damage suffered by her as a result of the events described under I. and
           which have occurred since the
           March 15, 2017 has arisen and will arise in the future.



   VIII.   Orders the defendants to pay the costs.




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    IX.   The judgment is provisionally enforceable against the provision of security,
          which can also be provided in the form of a bank or savings bank guarantee.
          The individual parts of the operative part may be enforced individually against
          the provision of security in the amount of a partial amount of the total security
          to be determined by the court in each case.




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                                               Reason


   Defendants base their flawed non-infringement arguments on a misconstruction of the claims
   that ignores, and in fact directly contradicts, the description and drawings of the patent-in-suit
   to be considered.


   The invention on which the patent in suit is based is a core invention for the 100Base-T
   Ethernet standard in question. This is not surprising. After all, the plaintiff invented
   "Automotive Ethernet". The Broadcom Group invests heavily in research and development
   (more than 5 billion US dollars in 2023 alone) and has long been an innovator in the field of
   Ethernet. For example, Broadcom produced the first terabit-per-second Ethernet switch chip
   (2010). Broadcom created the first-ever automotive Ethernet standard, BroadR-Reach, and
   produced the first-ever BroadR-Reach Ethernet PHY chip in 2011. In fact, the name
   "BroadR-Reach" is a play on words with the name "Broadcom". BroadR-Reach was later
   adopted by the IEEE (with some changes) as 802.3bw (100Base-T1). This is the standard
   we are talking about here.


   This is also seen as such in the industry. We refer briefly to the following work, Automotive
   Ethernet (Second Edition), by BMW employees Matheus and Königseder, from which we
   quote as an example:




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   The BMW reference book vividly describes the needs and hardships of cockpit
   communication networks in the (premium) car industry from BMW's perspective. It also
   describes how BMW approached patent applicant Broadcom and other market players, and
   that only Broadcom was able to develop solutions in this highly demanding technical field.
   When Broadcom, at the request of BMW, set about the task of developing an efficient
   Ethernet technology for automotive applications, it was of course not foreseeable to
   Broadcom that the later 100Base-T1 technology would develop into a kind of important
   technology in the automotive sector.


   BMW believed that the use of unshielded cables could be decisive for the future of Ethernet
   in the automotive sector. BMW was therefore faced with the technical task of using the
   Ethernet technology in use at the time, 100Base-TX, via cost-effective unshielded cables and
   bringing electromagnetic emissions below a certain limit (see Matheus/Königseder
   "Automotive Ethernet", 2nd edition, 2017, p. 78 ff.):


         "So in 2007, BMW was at a turning point. Ethernet looked promising, but was not
         quite there yet. As visualized in Figure 3.4, using 100Base-TX as a PHY
         technology either meant a restriction of use cases or not being competitive
         costwise. It required the discovery of Unshielded Twisted Single Pair (UTSP)
         Ethernet (also called BroadR-Reach, OPEN Alliance BroadR-Reach (OABR) or
         now 100Base-T1) to make Ethernet attractive for automotive (as will be described
         in the following sections).

         [...]

         [...] A key learning was that a PHY usable with unshielded cabling was decisive for
         the future of Ethernet in Automotive. [...]

         Thus, in summer 2007, BMW approached four well-known vendors of Ethernet
         PHYs and asked for their opinions and solutions. Colleagues at the automotive
         semiconductor supplier Freescale (now NXP) had suggested that this might be
         worthwhile. Of the companies addressed, only Broadcom responded positively,
         and in September 2007 the first meeting was held in Munich. [...]"

   In German:


         "So in 2007, BMW was at a turning point. Ethernet looked promising, but was not
         quite there yet. As shown in Figure 3.4, the use of 100Base-TX as a PHY
         technology either meant a limitation of use cases or was not competitive for cost
         reasons. It took the discovery of Unshielded Twisted Single Pair (UTSP) Ethernet
         (also known as BroadR-Reach, OPEN Alliance BroadR-Reach




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         (OABR) or now called 100Base-T1) to make Ethernet attractive to the automotive
         industry (as described in the following sections).

         [...]

         [...] An important finding was that a PHY that can be used with unshielded cabling
         is crucial for the future of Ethernet in the automotive sector. [...]

         In the summer of 2007, BMW therefore approached four well-known suppliers of
         Ethernet PHYs and asked for their opinions and solutions. Colleagues from the
         automotive semiconductor supplier Freescale (now NXP) had suggested that this
         might be worthwhile. Of the companies contacted, only Broadcom responded
         positively, and the first meeting took place in Munich in September 2007. [...]"

   With this in mind, BMW contacted four different Ethernet PHY providers in the summer of
   2007 and asked for their opinions and proposed solutions. At the time, BMW was not in a
   position to develop its own industry-specific solution and was therefore reliant on the help of
   specialized Ethernet providers.


   Broadcom was the only company to respond positively to BMW's inquiry and offered to work
   on a technical solution to BMW's problem. Of the other three companies, one did not respond
   and one considered BMW's request to be impossible (see Matheus/Königseder "Automotive
   Ethernet", 2nd edition, 2017, p. 80):


         "Of the other three companies one did not reply and the other thought the BMW
         request impossible."

   In German:


         "Of the other three companies, one did not respond and the other considered
         BMW's request impossible."

   Broadcom therefore developed a new, particularly advantageous technical solution, which
   others were unable to do. Broadcom's contribution to the development of Automotive
   Ethernet is also explicitly noted by Matheus and Königseder (see Matheus/Königseder
   "Automotive Ethernet", 2nd edition, 2017, p. xi; underlining by the undersigned):


         "Yet, Thomas was taken with the effectiveness of Ethernet-based communication
         and therefore investigated ways to use 100Base-TX over unshielded cables. He
         identified the problem but could not solve it. So, in 2007, he contacted various
         well-



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         established Ethernet semiconductor suppliers to work with him on a solution.
         Only Broadcom responded positively, and engineers from both companies
         evaluated the BMW 100Base-TX Ethernet EMC measurements. Then, in January
         2008, it happened: BMW performed EMC measurements with boards the
         Broadcom engineer Neven Pischl had optimized using a 100 Mbps Ethernet PHY
         variant Broadcom had originally developed for Ethernet in the First Mile and
         which Broadcom engineers had further adapted for the automotive application.
         The very first measurements ever performed at a car manufacturer with this
         technology were well below the limit lines and yielded better EMC performance
         results than even the existing FlexRay!

         This was when Automotive Ethernet was born. [...]" In

   German:


         "However, Thomas was impressed by the effectiveness of Ethernet-based
         communication and therefore investigated ways of using 100Base-TX over
         unshielded cable. He recognized the problem, but couldn't solve it. So in 2007, he
         approached several established Ethernet semiconductor vendors to work with
         them on a solution. Only Broadcom responded positively, and engineers from
         both companies evaluated the EMC measurements of BMW 100Base-TX
         Ethernet. Then, in January 2008, it happened: BMW performed EMC
         measurements with boards that Broadcom engineer Neven Pischl had optimized
         with a 100 Mbps Ethernet PHY variant that Broadcom had originally developed
         for Ethernet in the first mile and that Broadcom engineers had further adapted for
         the automotive application. The very first measurements ever performed at an
         automotive manufacturer with this technology were well below the limit guidelines
         and gave better EMC performance results than even the existing FlexRay!

         This was the birth of Automotive Ethernet. [...]"

   The positioning of the important market participant BMW and its recognition of the
   achievements of the patent applicant Broadcom clearly demonstrate that this was not an
   accidental invention or similar. Rather, Broadcom or the plaintiff made a significant
   contribution to the development of Automotive Ethernet with the invention on which the
   patent in suit is based. Accordingly, the patent-in-suit claims an important part of the
   standard with technical advantages that have led to the introduction and acceptance of the
   standard over other technologies. 100Base-T1 is a textbook example of the implementation
   and acceptance of a technical solution due to its superior quality.


   The BMW book treats the invention on which the patent in suit is based in several places as
   fundamental for 100Base-T1 or Automotive Ethernet. We will refrain from a detailed review of
   the BMW reference book at this point and only refer to the information provided by




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   BMW Fig. 4.25 discussed in the book and Table 4.6. Both figures, which we reproduce
   below, show the content of the claims asserted in the present case. In particular, Table 4.6
   contains, for example, one-to-one the content of the features 11.3.1 and 11.3.2 disputed by
   the defendants, as also shown in the patent in suit and the standard:




   In the present case, the defendants object to the realization of features 11.3.1 and 11.3.2
   with regard to main claim 11, according to which the local PHY has a configuration to, during
   an IDLE state:


                11.3.1                            Map binary 3-bit IDLE patterns of the
                                                  scrambled 3-bit packet stream with a least
                                                  significant bit from zero to a



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                                                  ternary non-zero value of the one or more ternary
                                                  bit streams;

                11.3.2                            Map binary 3-bit IDLE patterns of the
                                                  scrambled 3-bit packet stream with a least
                                                  significant bit from non-zero to a ternary zero
                                                  value of the one or more ternary bit streams.




   The person skilled in the art is well aware that no MII or user data is processed in an IDLE
   state. Furthermore, the person skilled in the art also understands that the claimed mapping
   rule applies to all IDLE patterns in the same way.


   Referring to the wording of features 11.3.1 and 11.3.2, the defendants argue that the PHY
   must also convert 4-bit packet streams into 3-bit packet streams in the IDLE state (feature
   11.1) and that the scrambler (feature 11.2) must then scramble (scramble) these. The 3-bit
   IDLE patterns are contained in the scrambled 3-bit packet stream into which the PHY has
   converted the initially received 4-bit packet stream (Response, pages 15, 16). The wording of
   the claim and the system of claim features would provide for this. This is incorrect and in
   particular contradicts the direct understanding of the term "IDLE state" (see below).


   The patent in suit is also legally valid. It is neither inadmissibly extended nor does it lack
   inventive step. Novelty is not disputed. We will comment on the validity challenges below.
   The plaintiff will promptly respond to the defendant's action for annulment with a statement of
   grounds for opposition. Together with the statement of grounds for opposition, the plaintiff will
   file six auxiliary requests, the use of which we also explain below.


   Finally, the plaintiff has standing. The defendants have been contesting this unsuccessfully
   for a long time due to a lack of substance. Avago and the former patent owner Broadcom are
   group companies. Broadcom has transferred the patent in suit to the plaintiff and the latter
   can assert all claims arising from the patent. Recently, the Hamburg Local Chamber of the
   Unified Patent Court confirmed the plaintiff's legitimacy for a comparable situation
   (UPC_CFI_54/2023).




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   In detail:


   A.      About Patent infringement


   The main claim 11 asserted in the present case is as follows:


   Claim 11:

    11                                      A system for wired communication, the system comprising:

                11.1                               a local PHY [physical interface] designed to convert
                                                   Media Independent Interface, MII, Ethernet data
                                                   from a 4-bit packet stream to a 3-bit packet stream;

                11.2                              a scrambler designed for scrambling the 3-bit
                                                  packet stream;

                11.3                              wherein the local PHY adapted to map the 3-bit
                                                  packet stream of MII data to one or more ternary bit
                                                  streams for communication to a remote PHY over
                                                  one or more twisted pair wires has a configuration
                                                  for, during an IDLE state:

                       11.3.1                           Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit of zero to a ternary non-zero
                                                        value of the one or more ternary bit streams;

                       11.3.2                           Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit from non-zero to a ternary zero
                                                        value of the one or more ternary bit streams.




   I.      IDLE patterns are not part of the MII data (user data)


   The defendants argue that the PHY c o n v e r t s 4-bit packet streams of MII data into 3-bit
   packet streams, which then contain IDLE patterns, even in the IDLE state




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   and be scrambled by the scrambler (Statement of defense, page 17). This is not correct.


   The defendants base their opinion on their incorrect interpretation of the wording of the claim
   - they refer to the "principle of priority of the patent claim" on p. 18 of the statement of
   defense - the defendants do not refer to any further evidence (or even just references) and in
   particular disregard the contrary statements in the patent description (there are no
   contradictions between the claim and the description) as well as the technical understanding.
   They thus ignore the requirements of Section 14 PatG and Art. 69 EPC.


   As stated, the IDLE state is an idle state in which no (user) data is transferred. It is a core
   component of data technology. The skilled person has known (for a long time) what IDLE, as
   opposed to active data traffic, is all about. In patent infringement disputes, the underlying
   property rights repeatedly involve an IDLE mode - we therefore assume that this technical
   term is also well known to the Board. In contrast, feature 11.1 refers to "Ethernet data from a
   4-bit packet stream", which refers to an active (router) data transmission and does not
   require or refer to an IDLE pattern.


   Based on this expert understanding, the skilled person will not assume that the claim
   purports to scramble IDLE patterns (idle data) together with user data in idle mode, which are
   then contained in the 3-bit user data packet streams. On the contrary, the skilled person will
   assume just the opposite.


   This reasonable and skilled understanding is also supported by the patent description. We
   refer to paragraphs [0085] ff as well as to the embodiment example according to Fig. 7,
   which as an embodiment example falls under claim 11. The first sentence of paragraph
   [0085] refers to "converting the stream of 4-bit MII data packets into a stream of 3-bit MII data
   packets, txd3bn". This is (useful) data and not IDLE packets, which, as explained below, are
   provided elsewhere at a separate input of the data scrambler. Other relevant passages in the
   KPS are paragraphs [0045], [0046] and [0051] (two last sentences: "IDLE codes that may be
   communicated between data frames") as well as Fig. 10 ("IDLES" 1004 between "DATA"
   1000) and Fig. 12 (step 1218), each with an associated description. For a better overview,
   we show Fig. 10 of the patent in suit with colored markings of data (orange) and IDLE-




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   Patterns                                        (green)                                       one:




   It is significant in this context that the defendants dispute the realization of features 11.3.1
   and 11.3.2. Both features 11.3.1 and 11.3.2 state "mapping 3-bit binary IDLE patterns of the
   scrambled 3-bit packet stream". This formulation is the first and only time IDLE patterns are
   mentioned in claim 11. This formulation refers to the presence of IDLE patterns in the
   scrambled 3-bit packet stream at the mapping steps and not in any earlier steps. Thus, it is
   the posterior features of the claim where the IDLE patterns (and not the MII data) are
   mapped to one or more ternary bit streams. At this moment - this is also recognizable from
   the feature word sounds - the MII data has already been converted into a 3-bit packet stream
   (feature 11.1), scrambled (feature 11.2) and mapped to one or more ternary bit streams for
   communication over one or more twisted pair lines (feature 11.3). In the subsequent IDLE
   state, the scrambler does not scramble any user data (MII data), but outputs a
   "scrambled bit stream" with binary 3-bit IDLE patterns. We reproduce Fig. 7 below (with color
   highlighting):




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   The conversion of MII data into a 3-bit packet stream according to feature 11.1 takes place,
   for example, in bit re-formater 716 (feature 11.1) (outlined in red above). As an example, the
   scrambler has four blocks (outlined in blue above). The data scrambler 714 is designed to
   "scramble the 3-bit packet stream" (feature 11.2). However, it also provides the "3-bit IDLE
   patterns of the scrambled 3-bit packet stream", which are described in features
   11.3.1 and 11.3.2 are described. Data scrambler 714 receives (from the left) the MII data
   converted into 3-bit data packets txd3bn by bit re-formater 716 (highlighted in red). On the other
   hand, it receives (from the right) the bit scrambler values Scn generated in the scrambler
   blocks 722 to 718 (highlighted in blue). If user data is to be transmitted (which is not the case
   in the IDLE state), the data scrambler 714 (according to feature 11.2) outputs a (scrambled)
   3-bit packet stream of MII data Sdn (highlighted in green). However, if no user data is to be
   transmitted in the IDLE state, the Data Scrambler 714 transmits the stream Scn of bit
   scrambler values, i.e. Sdn = Scn. The bit stream Sdn (green) output by the data scrambler thus
   represents a scrambled 3-bit packet stream with a 3-bit IDLE pattern in the IDLE state. In
   other words, the scrambler (outlined in blue) has (at least) two possible functions, depending
   on the state: it scrambles (useful or MII) data in accordance with feature 11.2 if this is to be
   transmitted, and it outputs internal scrambler bits (IDLE patterns) (in the IDLE state). In both
   cases, the output bit streams Sdn (green) are forwarded to the "map-to-ternary" block 704,
   which is located above the data scrambler 714 in Fig. 7. In the



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   Block "Map to ternary" 704 schematically illustrates the mapping to ternary bits (both
   according to feature 11.3 and according to features 11.3.1 and 11.3.2).


   The above also follows from the formula reproduced in paragraph [0085], which -
   undisputedly - has in principle found its way into the standard pursuant to Annex EIP 6 (see
   statement of defense, page 22). The formula reads:




   The formula above shows an example of the scrambling of MII data in the first line
   (highlighted in red), while the last line (highlighted in blue) deals with the IDLE state (there is
   no MII data here and therefore no data transfer). The formula therefore also illustrates the
   different treatment of the functionalities of (user) data and IDLE mode. This is shown again
   below in Fig. 7. The data scrambler 714 outputs Sdn to map-to-ternary 704. According to the
   above formula, Sdn represents either MII data from txd3bn (from the left) or IDLE pattern Scn
   (from the right).




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   The 3-bit IDLE patterns are therefore contained in the scrambled 3-bit packet stream Sdn,
   which is output by the data scrambler 714 to the "map-to-ternary" block 704. Thus, the IDLE
   patterns are literally described in features 11.3.1 and 11.3.2: "Mapping binary 3-bit IDLE
   patterns of the scrambled 3-bit packet stream". The IDLE patterns are "of" or belong to the
   scrambled 3-bit packet stream used in "mapping" as described above, and not to the MII bit
   stream of earlier steps, such as the conversion step. The data goes to block 704 in Fig. 7 as
   Sdn (green) after scrambler 714, but this is not because the PHY converts 4-bit packet streams

   to 3-bit packet streams even in an IDLE state - it does not. Instead, the IDLE patterns are
   contained in Scn, which are generated by the scrambler (blue). This is where the defendants
   are wrong.


   This is also addressed in paragraphs [0085] and [0088] of the patent in suit. According to
   para [0088], with regard to IDLE patterns and mapping to ternary bits, it is stated (KPS, page
   11, lines 2ff) that 3-bit IDLE patterns are generated by the side stream scrambler 722 (in Fig.
   7, far right in the blue box above). Paragraph [0088] of the CP describes the following:
   "During an IDLE state, 3-bit binary IDLE patterns may be generated by the side stream
   scrambler 722". The 3-bit IDLE patterns therefore do not come from the conversion of the 4-
   bit packet stream into a 3-bit packet stream according to feature 11.1 (bottom left in Fig. 7) -
   this only concerns the user data (MII data). Instead, the IDLE patterns come from the side
   stream scrambler 722 (bottom right in Fig. 7). This is in line with the claim. The defendant's
   submission is therefore incorrect.


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   On the other hand, the MII payloads are described as input to the red boxes shown above,
   with no mention of IDLE patterns. The payload data where 4-bit packet streams are
   converted to 3-bit packet streams tx3dbn is again dealt with in para [0085] of the patent-in-suit:




   Paragraph [0085] continues:




   The data scrambler 714 in Fig. 7 therefore receives the IDLE mode scrambler bits from the
   block 718 (right) and separately the converted 3-bit MII (user) data packets (from the left).
   This is clearly illustrated in Fig. 7.


   The location in different paragraphs clarifies the separation of the processes for (user) data
   and the IDLE patterns. The "IDLE patterns of the scrambled 3-bit packet stream" in features
   11.3.1 and 11.3.2 are not contained in the sophisticated MII data stream, but come from the
   scrambler. This can also be seen from the wording of features 11.3.1 and 11.3.2. The
   features do not deal with MII data, but with the scrambled 3-bit packet stream itself.



   II.     No mapping of any IDLE pattern to any ternary value in any ternary bitstream


   In fact, it cannot be inferred from the claim with the required functional interpretation that
   some IDLE patterns are mapped to a ternary bit stream and other IDLE patterns are mapped
   to another ternary bit stream. This would be the case, for example, if 3-bit IDLE patterns with
   a least significant bit of zero are mapped to a ternary non-zero value in one bit stream, while
   3-bit IDLE patterns with a least significant bit of non-zero are mapped to a ternary zero value
   in another bit stream. The person skilled in the art would recognize such a "mixing" of IDLE
   patterns on several bit streams from




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   technical point of view, as the technical advantages of the invention (e.g. synchronization)
   would be lost.


   The incorrect interpretation is also not supported by the patent description. We refer by way
   of example to paragraph [0088] on p. 11 above and to the table ("Table 2") in paragraph
   [0090]. The patent here is based on a claimed embodiment in which each IDLE pattern is
   mapped to the same ternary bit A.




   The above confirms the view expressed here.


   The defendant's interpretation of the claim is therefore incorrect. On the other hand, what the
   plaintiff has stated in the complaint applies. We therefore refer to our statements in the
   complaint in order to avoid repetition.


   We offer evidence for the entire claim by means of                  Expert opinion



   III.   About Patent infringement


   Features 11.3.1 and 11.3.2 of claim 11 are thus realized, as are the other features whose
   use has not been disputed.



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   The         Ethernet chip used by the defendants, as claimed, is configured in accordance
   with the claim to be used during an IDLE state (such as a
   "idle state" in which no MII data is to be transmitted) mapping binary 3-bit IDLE patterns of
   the scrambled 3-bit packet stream on the one hand with a least significant bit of zero to a
   ternary non-zero value of the one or more ternary bit streams, and on the other hand for
   mapping with a least significant bit of non-zero to a ternary zero value of the one or more
   ternary bit streams. We have already pointed out that the chip works by default either in an
   active mode ("normal mode") or in an IDLE mode when transmitting certain codes. The IDLE
   mode is used via the variable SEND_I. Below we reproduce the corresponding specifications
   from the standard with highlighting on this side:




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40.   The 802.3bw standard contains the mapping of binary 3-bit IDLE patterns of the scrambled 3-
      bit packet stream in sections 96.3.3.6 to 96.3.3.8. With regard to the ternary values TAn and
      TBn, we also refer once again to the schematic diagram in 96.3.3.3 (in the "Symbol Mapping"
      section after scrambling):



         96.3.3.2.1 Variables




          96.3.3.3.6 Generation of (7A" £Bm) when tx mode = SEND_I




          96.3.3.3.8 Generation of (TAB,TB \                   forwhen tx_mode=SEND_N




41.   The mapping of the bit values specified in features 11.3.1 and 11.3.2 in the form that on the
      one hand a least significant bit is mapped from zero to a ternary non-zero value and on the
      other hand a least significant bit is mapped from non-zero to a ternary zero value can be
      found in Table 96-1 of the 802.3bw standard (Annex EIP 7), as we had already explained in
      the complaint. The relevant values are shown there in accordance with Tables 1 and 2 of the
      patent in suit. We reproduce this below with comments on this side. The entire procedure
      takes place at the beginning of a data transmission between the sender and the receiver and
      serves to tune the transmission quality. This is why Table 96-1 also refers to "training".




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   The defendant additionally refers to the "SEND_N" mode (KE, p. 26f.), in which IDLE
   patterns can also be transmitted, and initially asserts, with reference to its erroneous
   interpretation, that this mode does not fall under claim 11 of the patent in suit either. This is
   not correct for the reasons given above, because claim 11 does not require the IDLE patterns
   to be contained in the scrambled MII data stream. For the sake of completeness, we also
   point out that IDLE patterns are also mapped in the same way in SEND_N mode in
   accordance with features 11.3.1 and 11.3.2. This can be seen in Table 96-3 of the standard
   shown below (with colored markings on this side):




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                             Table     96-ldle symbols when tx
                             mode=SEND_N




                             OOO
                             DD1


                             011
                             100


                             110




43.   On a correct interpretation, there is no doubt that the challenged embodiments infringe the
      patent in suit.


      Evidence: Expert opinion



      IV.     About the sub-claims


44.   The sub-claims have also been realized as explained. There is also no need for legal
      protection here. The plaintiff considers the assertion of "in particular if" claims to be
      appropriate. We also refer to Kühnen, Hdb der Patentverletzung,
      15th ed., D. para. 570, which explains the appropriateness of "in particular applications".


45.   An "in particular if" request allows the plaintiff to specify the claim at a later stage - at first or
      second instance - if necessary. The asserted sub-claims are each related back to the
      independent claims. Only the realization of the independent claims is disputed on the merits.




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   B.     On the realization of the auxiliary requests by the challenged embodiment


   In the following, we explain the use of the alternative applications.



   I.     Auxiliary application 1


   Claim 9 according to auxiliary request 1 differs from granted claim 11 in that the local PHY
   according to feature 9.3 is configured to map the 3-bit packet stream of MII data to a first
   ternary bit stream and a second ternary bit stream for communication to a remote PHY over
   one or more twisted pair wires. Further, feature 9.3.1 describes a mapping of binary 3-bit
   IDLE patterns of the scrambled 3-bit packet stream with a least significant bit of zero to a
   ternary non-zero value of the first ternary bit stream. Accordingly, feature 9.3.2 describes a
   mapping of binary 3-bit IDLE patterns of the scrambled 3-bit packet stream with a least
   significant bit of non-zero to a ternary zero value of the first ternary bit stream. Claim 9
   according to auxiliary request 1 can be illustrated with the differences from granted claim 11
   as follows:


   Claim 9:

    9                                       A system for wired communication, the system comprising:

            9.1                                    a local PHY [physical interface] designed to convert
                                                   Media Independent Interface, MII, Ethernet data
                                                   from a 4-bit packet stream to a 3-bit packet stream;

              9.2                                 a scrambler designed for scrambling the 3-bit
                                                  packet stream;

              9.3                                 wherein the local PHY adapted to map the 3-bit
                                                  packet stream of MII data to a first ternary bit stream
                                                  and a second ternary bit stream or multiple ternary
                                                  bit streams for communication to a remote PHY
                                                  over one or more twisted pair lines has a
                                                  configuration for, during an IDLE state:




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                9.3.1                                  Map binary 3-bit IDLE patterns of the
                                                       scrambled 3-bit packet stream with a least
                                                       significant bit of zero to a ternary non-zero
                                                       value of the first one or more ternary bit
                                                       stream bit streams;

                9.3.2                                  Map binary 3-bit IDLE patterns of the
                                                       scrambled 3-bit packet stream with a least
                                                       significant bit from non-zero to a ternary zero
                                                       value of the first one or more ternary bit
                                                       stream bit streams.




   Features 9 to 9.3.2 are used by the attacked embodiment.


   With regard to the realization of features 9, 9.1 and 9.2, we refer to the statements in the
   application (para. 57-67) on the respective identical features 11, 11.1 and 11.2 of claim 11 as
   granted.


   Feature 9.3 is realized by the attacked embodiment, because section
   96.3.3.3 and Figure 96-8 of the 802.3bw standard (Appendix EIP 6) show that the block
   "SYMBOL MAPPING" outputs a pair of ternary bit streams TAn and TBn, i.e. a first ternary bit
   stream TAn and a second ternary bit stream TBn (emphasis on this side):




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               96.3.3.3 PCS transmit symbol generation
               'l'lie re terence diagram oİ'PCS transtn it sy wbol pcncrati on is indicated in ł-iaurc 9f' 8. 'I lie t.x syrnb pair is
               the tcrnary pair { T. I, , Tp ,).



                                                    lx enable
                                     4B.'3B                                  SYNBOL -Jr              ,     PMA UNlTDATA.request
                                                    lx error
                                  CONVERSION                                MAPPING                 1D          (tx_symb_vector)


                                                                                      Sdn[ż.0]

                                                                                DATA
                TXD<3 0'            4&'3B DATA                               SCRAMBLER
                                                                0>
                                  CONVERSION

                                                                                      Sc"[2 0)

                                                                             SIDE STREAM
                                                                             SCRAMBLER


                                                                     PCS




              96.3.t.1 IB/3B conversion




51.   The challenged embodiment also realizes features 9.3.1 and 9.3.2 of claim 9 according to
      auxiliary claim 1.For the                                              Ethernetchip is also configured for,
      during an IDLE state, mapping binary 3-bit IDLE patterns of the scrambled 3-bit packet
      stream with a least significant bit of zero to a ternary non-zero value of the first ternary bit
      stream (feature 9.3.1) and mapping binary 3-bit IDLE patterns of the scrambled 3-bit packet
      stream with a least significant bit from non-zero to a ternary zero value of the first ternary bit
      stream (feature 9.3.2).


52.   This is shown in Table 96-1 of the 802.3bw standard (Appendix EIP 6) shown in recital 78,
      which we show again below (with colored highlights). The table shows that binary 3-bit IDLE
      patterns of the scrambled 3-bit packet stream Sdn Cİt change a least significant bit
      (hi g h l i g h t e d in green) from zero to a ternary non-zero value of the


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   first ternary bitstream TA (highlighted in red), while binary 3-bit IDLE patterns of the
   scrambled 3-bit packet stream with a least significant bit (highlighted in green) are mapped
   from non-zero to a ternary zero value of the first ternary bitstream TA (highlighted in blue):




                      Table 9&1-IdIe symbol mapping in training
                                                                                 Ternary bits
   scrambled 3-
       B1




       scrambled
       s bit with
         rlgs                                                                      scrambled
       bit from                                                                     bit with
                                                                                     lowest
      formed on                                                                    value bit of
      an     icLt-                                                                     ht
      zero value                                                                   shown on
                                                                                   a




                                        Low value bits




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   II.    Auxiliary application 2


   Claim 8 according to auxiliary request 2 has all the features of claim 9 according to auxiliary
   request 1 as well as the features of claim 15 as granted:


   Claim 8:

    8                                       A system for wired communication, the system comprising:

            8.1                                    a local PHY [physical interface] designed to convert
                                                   Media Independent Interface, MII, Ethernet data
                                                   from a 4-bit packet stream to a 3-bit packet stream;

              8.2                                 a scrambler designed for scrambling the 3-bit
                                                  packet stream;

              8.3                                 wherein the local PHY adapted to map the 3-bit
                                                  packet stream of MII data to a first ternary bit stream
                                                  and a second ternary bit stream or multiple ternary
                                                  bit streams for communication to a remote PHY
                                                  over one or more twisted pair lines has a
                                                  configuration for, during an IDLE state:

                    8.3.1                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit of zero to a ternary non-zero
                                                        value of the first one or more ternary bit
                                                        stream bit streams;

                    8.3.2                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit from non-zero to a ternary zero
                                                        value of the first one or more ternary bit
                                                        stream bit streams;

                    8.4                                 wherein, if a single twisted pair is available,
                                                        the local PHY is designed to multiplex the first
                                                        ternary bit stream and the second ternary bit
                                                        stream into a single stream.




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54.   Features 8 to 8.4 are used.


55.   With regard to the realization of features 8 to 8.3.2, we refer to the above comments on the
      respective identical features 9 to 9.3.2 of claim 9 according to auxiliary request 1.


56.   The claimed embodiment also realizes the additional feature 8.4. The use of a single
      balanced twisted pair had already been set out in the application (para. 71) in conjunction
      with feature 11.3 of granted claim 11. The multiplexing of the first ternary bit stream TA and
      the second ternary bit stream TB into a single stream ("serialized stream") is recited in
      section 96.3.3.1 of Annex EIP 6 and shown in Figure 96-8 in section 96.3.3.3 of the standard
      (multiplexer = block "2D to 1D"):


        96.3.3 PCS Transmit

        96.3.3.1 4B/3B conversion

        The PC 9 perfolaris n -tB. 3B c olives <ion of the liilala les receix eel at the h III. cieotas the terna in' ixuiilaols. and then sends
        the simibols to the PSU for fririher process ins. It receives 4 bits at the DIII resin, TX C'LK. and conrerts the itreaiu
        of 4-bit u ords at ? 5 SIBd to a stream of 3-bit v ords at 33.33?\ ñlBd. The bits are then scrarnta1e't anlt conreiTect
        tliioiieli Pc S encoding to a stream of code-couns 'maus of teiiiaiw symbolic. These ternary symbol pairs are then
        iniiltiplexed to a seiialized stream of teiaiay symbols at 66.66a LIBd


         96.3.3.3 PCS transmlt symbol generatlon




                                                                                                                 PMA UNITDATA




                                                                                  DATA
                                4D/AB UATA                                     SCRAMBLER
                               CONVERSION




         tx mode                                                              SIDE STREAM
                                                                              ÜÜRAMBLE R


                                                                   PCS


                                    Figure 96-8-PCI transmit symbol generation




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   III.   Auxiliary application 3


   Claim 11 according to auxiliary request 3 differs from granted claim 11 in that the scrambler
   according to feature 11.2 is adapted to scramble the 3-bit packet stream to generate a
   scrambled 3-bit packet stream and is adapted to generate, during an IDLE state, a scrambled
   3-bit packet stream comprising binary 3-bit IDLE patterns. Further, feature 11.3 of auxiliary
   claim 3 is slightly different from feature 11.3 of granted claim 11 in that it refers to the
   scrambled 3-bit packet stream of MII data and the IDLE state in feature 11.2.


   Claim 11:

    11                                      A system for wired communication, the system comprising:

            11.1                                   a local PHY [physical interface] designed to convert
                                                   Media Independent Interface, MII, Ethernet data
                                                   from a 4-bit packet stream to a 3-bit packet stream;

            11.2                                  a scrambler adapted to scramble the 3-bit packet
                                                  stream to generate a scrambled 3-bit packet stream
                                                  of MII data, wherein the scrambler is adapted to
                                                  generate, during an IDLE state, a scrambled 3-bit
                                                  packet stream comprising binary 3-bit IDLE
                                                  patterns;

            11.3                                  wherein the local PHY adapted to map the
                                                  scrambled 3-bit packet stream of MII data to one or
                                                  more ternary bit streams for communication to a
                                                  remote PHY over one or more twisted pair wires has
                                                  a configuration for, during one of the IDLE state:

                   11.3.1                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit of zero to a ternary non-zero
                                                        value of the one or more ternary bit streams;

                   11.3.2                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit from non-zero to a




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                                                       ternary    zero value of the one      or       of
                                                       the several ternary bit streams.




   Features 11 to 11.3.2 are used here.


   With regard to the realization of features 11, 11.1, 11.3.1 and 11.3.2, we refer to the
   statements in the statement of claim (paras. 57-66, 76-79) on the respective identical
   features 11, 11.1, 11.3.1 and 11.3.2 of claim 11 as granted. With regard to feature 11.3, we
   refer to the statements in the statement of claim (paras. 68-75) on feature 11.3 of claim 11 as
   granted, which is identical in content.


   The attacked embodiment also realizes feature 11.2. In the application (para. 67) it was
   already explained with reference, inter alia to the excerpt from the standard shown again
   below (Annex EIP 6) that the attacked embodiment has a scrambler which is designed to
   scramble the 3-bit packet stream "tx_data<2:0>" (which was provided by conversion
   according to feature 11.1 from a 4-bit packet stream "TXD<3:0>" of MII Ethernet data):




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61.   The result is a scrambled 3-bit packet stream of MII data Sd [2:0], which is sent from block
      "DATA SCRAMBLER" is output to the "SYMBOL MAPPING" block. Thus, the attacked
      embodiment realizes a scrambler designed to scramble the 3-bit packet stream
      to generate. This is also confirmed to
                                           bygenerate  a
                                              section 96.3.3.3.4scrambled  3-bit packet
                                                                 of the standard         streaminofcolor
                                                                                  (highlighted      MII
                                          data
      on this page):


             96.3.3.3.4 Generation of scrambled bits Sd [2:0]

             The tx dota" 2.0> is a three bis vector after 4B/'3B conversion.

             From scrambler bits Sc"[2:0] and tx dat <2.0>, bits S@[2:0] shall be geneiated as follows.



                                                                    if ( tx enable _ = 1)
                 Sd" [ 2 ]                                  elsc if ( loc i'cvr status = OK)




                                We [ 1:0] ta dat- < 1:0 *             if( tx cnablsit_ = 1)
                  Sd"[1 :0]




             Theie ^ denotes the VOR logic ogei atoi.


62.   In the lines highlighted in yellow, the calculation of the scrambled bits "Sd" is defined by
      using the logical XOR operator "^" on scrambler bits "Scn" and converted MII data "tx data".
      This formula applies in the event that the condition "tx enable
       = 1" is fulfilled, i.e. if MII data is to be converted and transmitted (see Appendix EIP 6,
      section 96.3.3.1.2).


63.   If the condition just mentioned is not fulfilled, e.g. during an IDLE state, the scrambler bits
      "Sc" are passed through unchanged. This c a n be seen from the lines highlighted in
      turquoise. In the IDLE state, the scrambled 3-bit packet stream Sdn therefore does not
      contain any MII data, but is equal to the 3-bit packet stream Scn provided by the "SIDE
      STREAM SCRAMBLER" block. In Table 96-1 of the standard (Appendix EIP 6), which is
      shown several times, the IDLE patterns (left column) are also referred to as Sd:




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   The scrambler is thus also designed to generate, during an IDLE state, a scrambled 3-bit packet
   stream that has binary 3-bit IDLE patterns.


   Overall, the attacked embodiment therefore also realizes feature 11.2 of claim 11 according
   to auxiliary request 3.



   IV.    Auxiliary application 4


   Claim 9 according to auxiliary request 4 combines the features of claim 11 according to auxiliary
   request 3 with the features of claim 9 according to auxiliary request 1:


   Claim 9:

    9                                       A system for wired communication, the system comprising:

            9.1                                    a local PHY [physical interface] designed to convert
                                                   Media Independent Interface, MII, Ethernet data
                                                   from a 4-bit packet stream to a 3-bit packet stream;

              9.2                                 a scrambler adapted to scramble the 3-bit packet
                                                  stream to generate a scrambled 3-bit packet stream
                                                  of MII data, wherein the scrambler is adapted to
                                                  generate while




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                                                  of an IDLE state, a scrambled 3-bit packet stream that has
                                                  binary 3-bit IDLE patterns;

              9.3                                 wherein the local PHY adapted to map the
                                                  scrambled 3-bit packet stream of MII data to a first
                                                  ternary bit stream and a second ternary bit stream or
                                                  multiple ternary bit streams for communication to a
                                                  remote PHY over one or more twisted pair lines has
                                                  a configuration for, during one of the IDLE state:

                    9.3.1                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit of zero to a ternary non-zero
                                                        value of the first one or more ternary bit
                                                        streams Bitstreams ;

                    9.3.2                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit from non-zero to a ternary zero
                                                        value of the first one or more ternary bit
                                                        streams Bitstreams .




   Features 9 to 9.3.2 are used. This is already apparent from the above comments on auxiliary
   requests 1 and 3, to which we refer.



   V.     Auxiliary application 5


   Claim 9 according to auxiliary claim 5 has all features of claim 9 according to auxiliary claim 4
   and additionally describes that the scrambler (feature 9.2) comprises a side-stream
   scrambler and is adapted to generate, during an IDLE state and using the side-stream
   scrambler, a scrambled 3-bit packet stream comprising binary 3-bit IDLE patterns:


   Claim 9:

    9                                       A system for wired communication, the system comprising:




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            9.1                                  a local PHY [physical interface] designed to convert
                                                 Media Independent Interface, MII, Ethernet data
                                                 from a 4-bit packet stream to a 3-bit packet stream;

            9.2                                  a scrambler adapted to scramble the 3-bit packet
                                                 stream to generate a scrambled 3-bit packet stream
                                                 of MII data, the scrambler comprising a side-
                                                 stream scrambler, wherein the scrambler is
                                                 adapted to generate, during an IDLE state and
                                                 using the side-stream scrambler, a scrambled 3-
                                                 bit packet stream comprising binary 3-bit IDLE
                                                 patterns;

            9.3                                  wherein the local PHY adapted to map the
                                                 scrambled 3-bit packet stream of MII data to a first
                                                 ternary bit stream and a second ternary bit stream or
                                                 multiple ternary bit streams for communication to a
                                                 remote PHY over one or more twisted pair lines has
                                                 a configuration for, during one of the IDLE state:

                  9.3.1                                Map binary 3-bit IDLE patterns of the
                                                       scrambled 3-bit packet stream with a least
                                                       significant bit of zero to a ternary non-zero
                                                       value of the first one or more ternary bit
                                                       streams Bitstreams ;

                  9.3.2                                Map binary 3-bit IDLE patterns of the
                                                       scrambled 3-bit packet stream with a least
                                                       significant bit from non-zero to a ternary zero
                                                       value of the first one or more ternary bit
                                                       streams Bitstreams .




   The additional features in feature group 9.2 are used. The contested embodiment has a side-
   stream scrambler. This can be seen in section 96.3.3.3 of the standard (Annex EIP 6), which
   we show again (with colored marking on this side):




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   The block "SIDE STREAM SCRAMBLER" is marked orange and is also used to generate the
   scrambled 3-bit packet stream, which has binary 3-bit IDLE patterns. This is because, as
   explained above in connection with auxiliary request 4, in the IDLE state the packet stream
   generated by block
   "DATA SCRAMBLER", the scrambled 3-bit packet stream Sdn containing the IDLE patterns is
   equal to the 3-bit packet stream Scn provided by the "SIDE STREAM SCRAMBLER" block.
   The scrambled 3-bit packet stream, which has binary 3-bit IDLE patterns, is therefore
   generated using the side-stream scrambler ("SIDE STREAM SCRAMBLER").



   VI.    Auxiliary application 6:


   Claim 9 according to auxiliary request 6 has all the features of claim 9 according to auxiliary
   request 5, with feature 9.3 being limited to the variant that the communication to a remote
   PHY takes place via a twisted pair:




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   Claim 9:

    9                                       A system for wired communication, the system comprising:

            9.1                                    a local PHY [physical interface] designed to convert
                                                   Media Independent Interface, MII, Ethernet data
                                                   from a 4-bit packet stream to a 3-bit packet stream;

              9.2                                 a scrambler adapted to scramble the 3-bit packet
                                                  stream to generate a scrambled 3-bit packet stream
                                                  of MII data, the scrambler comprising a side-stream
                                                  scrambler, wherein the scrambler is adapted to
                                                  generate, during an IDLE state and using the side-
                                                  stream scrambler, a scrambled 3-bit packet stream
                                                  comprising binary 3-bit IDLE patterns;

              9.3                                 wherein the local PHY adapted to map the
                                                  scrambled 3-bit packet stream of MII data to a first
                                                  ternary bit stream and a second ternary bit stream or
                                                  multiple ternary bit streams for communication to a
                                                  remote PHY over one or more twisted pair lines
                                                  has a configuration for, during one of the IDLE state:

                    9.3.1                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit of zero to a ternary non-zero
                                                        value of the first one or more ternary bit
                                                        streams Bitstreams ;

                    9.3.2                               Map binary 3-bit IDLE patterns of the
                                                        scrambled 3-bit packet stream with a least
                                                        significant bit from non-zero to a ternary zero
                                                        value of the first one or more ternary bit
                                                        streams Bitstreams .




   The attacked embodiment uses a single twisted wire. We had already explained this - as also
   stated above in connection with auxiliary request 2 - in the application (para. 71) in
   connection with feature 11.3 of claim 11 as granted.




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   According to all of the above, the challenged embodiment also makes use of all of the
   features of the applications filed in the alternative - also in the parallel nullity proceedings.


   Evidence: Expert opinion


   C.      Legitimacy of the plaintiff


   The defendants dispute the plaintiff's right to bring an action - also in the present proceedings
   without any real evidence. The plaintiff is entitled to all asserted claims as the patentee
   entered in the register and legitimized under substantive law. It is formally and substantively
   entitled to and from the patent in suit. In legal disputes before German courts, the respective
   defendants have been repeatedly asserting for years that the plaintiff does not have the right
   to sue in the same way and in some cases in a similar way to the present case. This was
   also the case, for example, in Case 7 O 1971/22 pending before the 7th Civil Chamber of the
   Munich Regional Court. At the hearing on July 20, 2023, the parallel chamber rightly
   expressed no doubts about the active legitimacy of the plaintiff there and here and did not
   even address the defendants' arguments.


   The plaintiff is only asserting claims from the date of entry in the register, i.e. from
   15.03.2017. This means that it is not necessary to comment in more detail on the material
   ownership of the patent (see Kühnen, Handbuch der Patentverletzung, 16th edition, Chapter
   D, para. 312 with reference to OLG Düsseldorf, BeckRS 2013, 17381). The only point raised
   by the defendants, however, predates the plaintiff's registration in the register and therefore
   does not need to be taken into account.


   However, the defendants now refer in their statement of defence to the transfer of the patent
   in suit from the original patent holder (and member of the plaintiff's group) Broadcom
   Corporation to Avago Technologies General IP at the beginning of 2017. They question this
   process and assert (without evidence) that the plaintiff cannot effectively assert the claims
   sued for. They suggest (with ignorance) that the register is incorrect and that its indicative
   effect is invalidated.


   The defendant's submission is inaccurate and is made in the blue. The present status of the
   register is correct in both formal and material respects. Neither is the circumstantial effect of
   the register shaken, nor did anything in the relevant Californian or Singaporean law stand in
   the way of the effective transfer of the patent in suit.


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   contrary. The defendants have not substantiated any doubts as to the accuracy of the
   register and have therefore not shaken the indicative effect of the register. In the following,
   we present the facts - already known to the Chamber from other proceedings - in order to
   conclude this issue in the present proceedings. In detail:



   I.      Indicative effect of the register


   Only the formal role status is decisive for the injunctive relief (see milling procedure - BGH
   judgment of 07.05.2013 - X ZR 69/11 = GRUR 2013, 713, 716; Kühnen, Handbuch der
   Patentverletzung, 12th edition, chapter D, p. 438 para. 105; LG Mannheim, judgment of
   10.03.2015 - 2 O 103/14 = GRUR-RS 2015, 15918, para. 49; LG Mannheim, judgment of
   27.11.2015
   - 2 O 106/14 = GRUR-RS 2015, 20077, para. 77; Pitz, GRUR 2010, 688, 689). The substantive
   legal validity of the transfer of the patent in suit is irrelevant in this respect from the outset,
   since the infringing defendant is obliged to cease and desist per se and not vis-à-vis a
   specific beneficiary (see milling proceedings - BGH judgment of 07.05.2013
   - X ZR 69/11 = GRUR 2013, 713, 716; OLG Düsseldorf, decision of May 9, 2016 - I- 15 U
   36/16 = GRUR-RS 2016, 9323, para. 11; Mes, PatG 4th edition 2015 § 30 para. 20; Pitz,
   GRUR 2010, 688, 689). Consequently, the registered plaintiff is authorized to assert the
   claim for injunctive relief.


   With regard to the claims for information, invoicing, damages and recall, the plaintiff benefits
   from the presumed accuracy of the register according to case law. Therefore, no further
   submission or evidence is required with regard to the substantive legal situation (see also
   milling procedure - BGH judgment of 07.05.2013 - X ZR 69/11 = GRUR 2013, 713, 717).


   A blanket denial with ignorance on individual points is inadmissible in accordance with the
   milling procedure decision of the BGH. Rather, specific evidence must be provided which
   allegedly shows that the register is incorrect. The defendants ignore the fact that the BGH
   expects more detailed explanations as to why a transfer of rights on file did not take place or
   from which the invalidity of a transfer of rights should result, cf. also Kühnen, Handbuch der
   Patentverletzung, 16th ed.




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   A blanket denial does not meet these requirements (see also decision of the Mannheim Regional Court
   (judgment of November 27, 2015 - 2 O 106/14 = GRUR-RS 2015, 20077 para. 79f.)).



   II.    Effective transfer


   The assignment of the patent-in-suit from the original owner Broadcom Corporation to Avago
   Technologies General IP (Singapore) Pte. Ltd. was effective. We submit a copy of the
   underlying patent assignment between the two group companies as Annex EIP 10. The
   patent-in-suit was transferred as part of the patent assignment - as were thousands of other
   property rights. This process was also undisputed by the Chamber in other proceedings. The
   undersigned Jeyhan Karaoguz was authorized to represent Broadcom and Avago. This is
   evident from the powers of attorney of both companies, which were signed by Mr. Krause as
   CFO and Secretary respectively. Mr. Krause was also duly authorized. We submit a copy of
   the notarized powers of attorney dated 17.10.2016 as Annex EIP 11 and Annex EIP 12 in
   English and as Annex EIP 11a and Annex EIP 12a in German. According to the preamble,
   Mr. Krause was duly authorized by the Board of Directors (see Annex EIP 10, and Annex EIP
   11: "[...] the undersigned, being duly authorized by the Company's Board of Directors").


   In addition, we submit two filings of Broadcom Corporation as Annex EIP 13 and Annex EIP
   14 in English and as Annex EIP 13a and Annex EIP 14a in German translation.


   These are a "Statement of Information" dated May 18, 2016, and a "Statement of
   Information" dated November 15, 2017. Both documents show that Mr. Krause is an elected
   officer of Broadcom Corporation in the function of "Secretary" and "Chief Financial Officer". In
   addition, we submit an excerpt of the former website of Broadcom Corporation as Annex EIP
   15, as well as a German translation as Annex EIP 15a.


   On behalf of Avago Gen IP, we submit a "Business Profile" in English and a German
   translation as Annex EIP 16 and Annex EIP 16a. This shows that Mr. Krause has been an
   "Officer/Authorized Representative" of the plaintiff since 17.10.2016 (page 3 of 4 of the
   Business Profile). Mr. Karaoguz was also authorized to represent both the




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   Avago Gen IP as well as Broadcom Corporation. In particular, Section 181 of the German
   Civil Code (BGB) does not preclude representation, as there are no comparable restrictions
   on representation in the relevant legal systems (see below).


   It is clear from the preamble to the powers of attorney (Annexes EIP 10 and EIP 11) that a
   patent assignment is not dependent on approval by the Management Board (emphasis
   added):


          "[...] hereby constitutes and appoints the individuals named below, with the
          power and authority to act singly, on behalf of the Company, as is true and
          lawful attorney-in-fact for the purposes specified below:"

   In German translation:


          "[...] hereby constitutes and appoints the following persons with the power and
          authority to act individually on behalf of the Company as its true and lawful
          attorney for the purposes hereinafter set forth:"

   The purpose of a power of attorney is precisely to increase the company's ability to act, in
   this case by giving the authorized representatives the power to act individually as
   representatives of the company. The patent transfer was embedded in a comprehensive
   restructuring of the Broadcom/Avago group of companies, in the course of which intellectual
   property rights were transferred to Avago. Accordingly, the Board of Directors of Broadcom
   Corporation naturally also authorized the transfer (of the application) of the patent in suit.



   III.    Lack of applicability of German law


   Furthermore, Section 181 of the German Civil Code (BGB) does not prevent the effective transfer of the
   patent.


   German law is not applicable to the question of effective representation. Singapore law
   applies with regard to Avago and Californian law for Broadcom Corporation.


   The power of attorney statute also applies in the case of multiple representation (see Thorn
   in: Palandt EGBGB 77th edition 2018, Art. 8 para. 6 and also in Palandt EGBGB 74th edition
   2015
   Art. 10 Anh EGBGB para. 3; Mäsch in Bamberger/Roth EGBGB 3rd edition 2012, Art. 10 Anh



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   EGBGB para. 88). The BGH also ruled in the same way (BGH NJW 1992, 618 - although the
   Senate speaks misleadingly of "self-contracting", it was - as in the present case - a case of
   multiple representation). Accordingly, Californian law is decisive for the power of attorney of
   Broadcom Corporation and Singapore law for the power of attorney of the plaintiff (see BGH
   NJW 1992, 618). A decision by the Regional Court of Düsseldorf from 2018 is also consistent
   with this, according to which the applicable law is determined by the legal system to which
   the company in question is subject (Regional Court of Düsseldorf, judgment of 01.03.2018 -
   4c O 59/16). The court states the following:


            "Section 181 BGB, which regulates the admissibility of self-dealing under German
            law, is not applicable to the respective acts of transfer. According to the
            unanimous opinion in case law and literature, the personal statute of the
            company concerned applies to the management, in particular the power of
            representation of the organs of companies, its scope and its restrictions (see
            BGH, MittRhnotK 1992, 17 ff; BGH, IPRax 1985, 221, 222; OLG Hamm, RIW
            1984,
            653; OLG Frankfurt a. M., IPRspr 1984 No. 21; MüKoBGB/Ebenroth, Kn 245, 153
            ff. according to Art. 10 EGBGB; Palandt/Heldrich, BGB, 51st ed., Annex to Art. 12
            EGBGB Kn. 10; Reithmann/Martiny, Internationales Vertragsrecht, 4th ed., para.
            844 mwN.; Schlechtriem, EWiR 1991, 1167). Thus, the question of the power of
            representation of the managing director of a Dutch company as an organ is
            governed by Dutch law."

   In any case, a choice of law by the principal is possible (Mäsch, in Bamberger/Roth EGBGB
   3rd edition 2012, Art. 10 Anh EGBGB para. 78, 100 ff.). This also applied before the
   codification in Art. 8 EGBGB and corresponds to the freedom of choice of law for contracts
   under the law of obligations (see MüKoBGB/Spellenberg EGBGB 7th edition 2018, Art. 8
   para. 65).


   The powers of attorney determine the application of Singapore law for Avago Technologies
   General IP (Annex EIP 10, p. 2) and California law for Broadcom Corporation (Annex EIP 11,
   p. 2).


   Both legal systems do not have a provision corresponding to Section 181 BGB, and the
   representation by Mr. Karaoguz is therefore effective. We submit as evidence the legal
   opinion of Jason S. Angell, an attorney licensed to practice law in California, as Annex EIP
   17 and in German translation as Annex EIP 17a as well as the legal opinion of Mei Ling Sim,
   an attorney licensed to practice law in Singapore, as Annex EIP 18 and in German
   translation as Annex EIP 18a.


   The expert opinions relate to the German part of the European patent EP 1 260 910 B1 (file number

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   2024602 15 417.0), which has an identical assignment agreement to the present patent.




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   patent at issue was transferred, so that the statements also apply to the present proceedings.
   The expert opinions according to Annexes EIP 17, 17a and EIP 18, 18a were prepared for an
   earlier patent infringement proceeding with comparable facts and corresponding defendant
   submissions.



   IV.    No inadmissible self-dealing


   The plaintiff merely makes the following supplementary submissions with regard to Section 181 BGB:


   Even if Section 181 BGB were applicable, Mr. Karaoguz would of course have been exempt
   from the restrictions of Section 181 BGB. This follows from the fact that the parties
   deliberately decided to apply legal systems that do not have restrictions on representation
   within the meaning of Section 181 BGB. § Section 181 BGB would therefore be excluded by
   implication.


   In addition, the transfer of the application for the patent in suit is merely the fulfillment of an
   obligation within the meaning of Section 181 BGB (old version), namely an obligation arising
   from the underlying purchase agreement. The prohibition of self-dealing in § 181 BGB would
   not apply, as the transaction is not disadvantageous for either party.


   The Intellectual Property Purchase Agreement dated November 28, 2016 (mentioned in the
   second paragraph of Annex EIP 10) forms the basis of the patent transfer as an effective
   commitment transaction. Otherwise, Broadcom Corporation would not have had any reason
   to transfer the patents and patent applications. Paragraph 2 of the transfer agreement
   already shows that an effective commitment transaction exists:


         "WHEREAS, Assignor and Assignee are parties to a certain Intellectual Property
         Purchase Agreement dated November 28, 2016 whereupon Assignor has agreed
         to assign the Patents (as defined below) to Assignee."




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   In German translation:


         "WHEREAS, the Transferor and the Acquiror are parties to a certain Intellectual
         Property Purchase Agreement dated November 28, 2016, the Transferor has
         agreed to transfer the Patents (as defined below) to the Acquiror."

   The defendants do not provide any evidence to suggest any other - completely atypical -
   course of events. Accordingly, Section 181 BGB would not stand in the way of effective
   representation anyway. Even in view of this, the indicative effect of the register (Section 30
   (3) sentence 2 PatG) is not shaken. Rather, the patent register reflects the correct status of
   the formal and substantive legal situation.



   V.     Universal succession Avago Gen IP - Avago Technologies International Sales
          Pte. Limited (local plaintiff)


   The then new patent proprietor Avago Technologies General IP (Singapore) Pte. Ltd. was
   then merged by way of universal succession into the plaintiff here, Avago Technologies
   International Sales Pte. Limited. In detail, we note the following:



   1.     Merger through Admission


   As we will explain in detail below, the former plaintiff and patent holder, Avago Technologies
   General IP (Singapore) Pte. Ltd, was merged into the plaintiff, Avago Technologies
   International Sales Pte. Limited, by way of absorption with effect from September 5, 2018
   ( under the laws of the State of Singapore:
   "amalgamation of companies"). The plaintiff, Avago Technologies International Sales Pte.
   Limited, is thus the universal successor of the former patent proprietor, Avago Technologies
   General IP (Singapore) Pte. Ltd. The consequence of this is that the patent in suit has been
   transferred to the plaintiff by way of universal succession.


   The effects of a merger outlined here - as will also be explained in detail - are attested by a
   corresponding    certificate   from   the   registry   court   ("Certificate   of   Confirmation   of
   Amalgamation") under Singapore law and thus take effect vis-à-vis everyone.




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   It goes without saying that the German Transformation Act also recognizes a merger by
   absorption. Section 20 UmwG stipulates that upon entry of the merger in the register, the
   assets of the transferring legal entity and its liabilities are transferred to the acquiring legal
   entity and the transferring legal entity ceases to exist. The merger by absorption under
   Singapore law is carried out in a similar manner, as we will explain below.



   2.     Merger by absorption in accordance with the law of the state of Singapore


   Both the former patent proprietor - Avago Technologies General IP (Singapore) Pte. Ltd -
   and the current patent proprietor and plaintiff - Avago Technologies International Sales Pte.
   Limited - have their registered office in Singapore and were also founded there. Under the
   conflict of laws rules, the merger of these two companies is therefore governed by Singapore
   law.


   For this purpose, we submit (in copy) a certified copy of the expert opinion of our colleagues
   Baker McKenzie Wong & Leow from Singapore with the annexes A - E as Annex EIP 19, as
   well as a German translation as Annex EIP 20.


   We submit a legalized copy of the above-mentioned Certificate of Confirmation of
   Amalgamation as Annex EIP 21 and a copy of the certified copy of the certified German
   translation as Annex EIP 22.


   The authenticity of the certificate was confirmed by the Ministry of Foreign Affairs of the State
   of Singapore; this confirmation was in turn legalized by the German Embassy in Singapore.


   The      Singapore       Companies        Act      is     available      on      the      website
   https://sso.agc.gov.sg/Act/CoA1967. The excerpt on the conversion law relevant to the
   present case is attached to the expert opinion (Annex EIP 18) as Appendix C.


   Furthermore, it should be noted that under Singapore law - as described in the expert opinion
   pursuant to Annex EIP 18 (p. 1, 2nd paragraph) - the Accounting and Corporate Regulatory
   Authority (ACRA) performs the functions of the registry court under Singapore company law.
   ACRA has issued the certificates pursuant to Annexes B and D.




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   The former patent proprietor was the wholly-owned parent company of the current plaintiff
   and patent proprietor, Avago Technologies International Sales Pte. Limited. A corresponding
   confirmation from the Singapore Commercial Register is attached to the expert opinion
   pursuant to Annex EIP 18 as Annex E. This fact is expressly confirmed in the expert opinion
   pursuant to Annex EIP 18 (p. 2, 5th paragraph).


   Furthermore, the expert opinion pursuant to Annex EIP 18 refers to the commercial register
   entry (Certificate confirming Incorporation of Company) of the plaintiff - Avago Technologies
   International Sales Pte. Limited - in the form of Exhibit D (p. 1, 3rd paragraph). This is thus
   also proven.


   As explained in the expert opinion in Annex EIP 18 (p. 2), the merger of companies is
   regulated in the Singapore Companies Act in Art. 215A - 215G. Art. 215D now provides for a
   special form of merger for the merger of parent companies and subsidiaries, namely a so-
   called "short form amalgamation", whereby "amalgamation" means
   "fusion" is to be translated.


   The prerequisite for such a merger is that one of the companies - the
   "amalgamating holding company" - which is the sole shareholder of the other company
   involved - the so-called "amalgamating subsidiary company". According to Art. 215D (1) (a)
   (ii), the parent company - in this case Avago Technologies General IP (Singapore) Pte. Ltd. -
   can then be merged into the subsidiary ("amalgamated subsidiary company"), which
   continues to exist as the absorbing legal entity. As set out in the expert opinion pursuant to
   Annex EIP 18 (p. 2, 6th paragraph), the procedure was followed accordingly in the present
   case. The former patent proprietor - Avago Technologies General IP (Singapore) Pte. Ltd -
   was merged into its subsidiary, the current patent proprietor and plaintiff - Avago
   Technologies International Sales Pte. limited.


   The consequence of this is that Avago Technologies International Sales Pte.
   "amalgamated subsidiary company" pursuant to Art. 215D (1) (a) (ii) continues to exist as the
   absorbing legal entity and Avago Technologies General IP (Singapore) Pte. Ltd. as the
   transferring legal entity (amalgamating holding company) has ceased to exist with the
   effectiveness of the merger. This is also set out in the expert opinion pursuant to Annex EIP
   18 (p. 3 below/p. 4 above); reference may be made to this.




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   Accordingly, ACRA, in its capacity as the Commercial Registry Court of the State of
   Singapore, confirms in the certificate pursuant to Art. 215F (4) ("Certificate of Confirmation of
   Amalgamation") submitted as Annex B to Annex EIP 18 that with effect from 05.09.2018 the


                              -Avago Technologies General IP (Singapore) Pte. Ltd. and
                              -Avago Technologies International Sales Pte. Limited


   (amalgamating companies) were merged with each other and the absorbing and continuing company
   (amalgamated company)


                                Avago Technologies International Sales Pte. limited.


   This is set out and confirmed in the expert opinion in accordance with Annex EIP


   18 (p. 3).


   We also submit a copy of an excerpt from the local commercial register at that time as
   Exhibit EIP 23, which shows that Avago Technologies General IP (Singapore) Pte. Ltd no
   longer exists as a separate legal entity, but has been merged with Avago Technologies
   International Sales Pte. Limited (to form an entity with registration number 200512231).


   According to Art. 215G lit. (c) and (d), the merger becomes effective on the date stated in the
   certificate (Annex B to Annex EIP 18) with the legal consequence that assets and liabilities
   are transferred to the acquiring legal entity ("amalgamated company") by way of universal
   succession. This is also set out and confirmed in the expert opinion pursuant to Annex EIP
   18 (p. 3+4).


   It can therefore be concluded that both the patent-in-suit and the claims arising from
   infringement of the patent-in-suit were transferred to the current plaintiff by way of universal
   succession under Singapore law. For reasons of legal caution, we offer evidence on the
   subject matter and the legal consequences of the law of the State of Singapore on the
   merger of companies by


                                            Expert opinion.




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  3.      Notes on the legal situation


  As a precaution, we would like to point out that the decision BGH GRUR 2013, 713 -
  Fräsverfahren is not applicable in the present case, as this decision only deals with the case
  that the former patentee continues to exist as a legal entity after the legal transfer of the
  patent-in-suit to the new patentee. In this case, the Federal Court of Justice ruled that the
  former patent proprietor must assert the claims for patent infringement in the name of the
  new patent proprietor for the period until the new patent proprietor is entered in the patent
  register, as the former patent proprietor remains entitled and obliged in accordance with the
  Patent Act pursuant to Section 30 (3) sentence 2 PatG as long as the new proprietor is not
  entered in the patent register.


  The fact that this decision cannot be applied in the present case is already evident from the
  fact that the former patent proprietor - Avago Technologies General IP (Singapore) Pte. Ltd -
  ceased to exist as a legal entity as a result of the merger. Accordingly, the provision of
  Section 30 (3) sentence 2 PatG does not apply in the case of universal succession. This
  applies not only to universal succession by succession, but also to universal succession
  under company law by merger (Busse, Patentgesetz, § 30 para. 99; Schulte, Patentgesetz, §
  30 para. 52; Benkard, Patentgesetz, § 30 para. 12a a.E.). Accordingly, the BGH stated the
  following in GRUR 2016, 1280 - Everytime we touch (there: para. 16): If a transferring legal
  entity, which is represented by an attorney in a pending legal dispute, is merged into another
  legal entity, the latter enters the legal dispute as legal successor without further ado and
  without interrupting the proceedings pursuant to Sec. 30 para. 1 lit.
  § section 246 (1) ZPO. Accordingly, this is only a case of a correction of the rubric in
  accordance with Section 319 ZPO if this legal succession had not yet been taken into
  account in the judgment itself (BGH, loc. cit.).


  Since the present case is a universal succession, all claims for damages and other
  consequential claims for patent infringement have also been transferred ex lege to the
  present plaintiff.


  We also note that the original patent holder Broadcom Corporation has neither disputed the
  patent ownership of the plaintiff (both companies belong to the same group) nor taken any
  action to reverse the transfer process or similar, despite the time that has now passed. On
  the contrary: Broadcom and Avago are



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  was in any case informed of the status of the patent in suit on the basis of the respective
  annual financial statements and the original patent holder Broadcom has in any case
  repeatedly approved the transactions (with ex tunc effect). This also applies to the present
  action. Avago has been asserting the former Broadcom property rights covered by the
  transfer for years. Against this background, we consider this issue to be settled. However, we
  request a judicial reference if, in the opinion of the Chamber, further submissions are
  required.


  Finally, we inform you that the Hamburg Local Division of the Unified Patent Court in case
  UPC_CFI_54/2023 followed the plaintiff's arguments here, after the defendants there had
  disputed the active legitimacy. Contrary to the defendants' statements in the statement of
  defense, the decision of the local division is neither contradictory, illogical nor anything else.
  The Local Chamber stated, inter alia, on pages 16 et seq. of the decision:




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  D.     On the supposed exhaustion


  The defendant's exhaustion objection is obviously unfounded. For example, there is no
  submission on all the necessary requirements for exhaustion, so that this,


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  assuming that the defendant's submission is correct (as it is not), is not given anyway.
  Furthermore, the defendant's submission is based on speculation and unsubstantiated
  factual allegations, which also do not lead to exhaustion.


       burden of proof       and                 burden of proof        defendants must     for       a
       successful
  exhaustion objection that the claimed product was intentionally put on the market in one of
  the contracting states of the EU or the EEA with the consent of the entitled party. It should
  also be noted that the exhaustion defense is strictly object-related (see Kühnen, Hdb.
  Patentverletzung, 16th ed., chapter E, para. 789 ff., with further references). Due to the strict
  object-relatedness, placing parts of a protected device on the market is generally not
  sufficient for exhaustion. An exception can only be considered if the invention is practically
  fully realized with the component placed on the market and only an "all-round ingredient" that
  is secondary to the idea of the invention is missing (Kühnen, loc. cit.). The defendants have
  not provided any information on this
  presented.




                                                                         The exhaustion objection
  does not a p p l y for this reason alone. The submission of license agreements is therefore not
  relevant.




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  E.     About the license negotiations




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135.     In view of this behavior, the plaintiff had no choice but to enforce its patent rights here. There
         can be no question of the defendants being willing to license. Consequently, the defendants
         are not exposed to any pressure contrary to antitrust law - the SEP holder is not obliged to
         tolerate the infringer's delaying tactics (BGH GRUR 2021, 585, para. 67 - FRAND-Einwand
         //).


136.     Should the defendants raise the FRAND objection, in the context of which they will make
         submissions on the negotiations and their counter-offer, we expressly reserve the right to
         make such submissions.


         F.     The legal portfolio


137.     The patent in suit is legally valid. The nullity action was only served on the plaintiff on
         October 8, 2024. We will submit the grounds for the opposition to the nullity action filed by
         Tesla as soon as possible. In the following, we show that the statements in the statement of
         defense regarding inventive step and original disclosure are not convincing.



         I.     The inventive activity


138.     Defendant contends that the subject matter of independent claims 1, 9, and 11 is suggested
         by both D1 in combination with D2 (KE, H.I.) and D3 in combination with D2 (KE, H.II.). More
         specifically, the defendant argues that both D1 and D3 disclose features 11 to 11.3 except
         for the IDLE state, whereas features 11.3.1 and
         11.3.2 are disclosed in D2 and are thus suggested in each case by looking at them together with D2.




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  D1 and D3 were already taken into account by the Examining Division of the EPO during the
  examination procedure. Accordingly, both documents are also cited on the cover sheet of the
  patent in suit (emphasis added):




  1.     Inventive activity vis-à-vis D1 and D2


  In particular, D1 deals with methods and devices for baseband encoding/decoding for
  increasing the transmission rate over a communication medium while maintaining the desired
  bandwidth, bit error rate and Hamming distance (D1, column 1, lines 8-12). In particular, D1
  describes an encoding device ("encoder") that encodes binary data bits provided by a data
  source into pulse amplitude modulated multilevel symbols (D1, column 2, lines 42-44). D1
  mentions various such encoding concepts in passing, including the so-called 3B-2T
  encoding, in which three binary bits are represented by two pulse symbols, each of which
  can take one of three values (D1, column 3, lines 61-63). Specifically, however, D1 only
  describes the use of the so-called 2B-1Q coding, in which two binary bits are represented by
  a pulse symbol that can take on one of four values (D1, column 10, lines 31-40).


  An encoding device 82 for Ethernet-based communication is shown in D1 in Fig. 3:




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                                                                           '98D




142.     The corresponding description in D1 (column 7, line 52 to column 10, line 64) can be
         summarized as follows: A scrambler 90 receives a data bit stream from data source 52,
         scrambles it and supplies a scrambled bit stream to a splitter 92. The splitter 92 divides the
         bits of the scrambled bit stream into two channels (CHANNEL A and CHANNEL B). This is
         done in such a way that of two consecutive bits in the scrambled bit stream, the first bit is fed
         to channel A and the second bit to channel B, see D1, column 8, lines 19-27 (emphasis
         added):




                              lii 'ilic r i- it Is, I *i c < r p.ii i i i:I iiip ii i Ioils, splitter 92 delays
                              t'uitxiiting rbc lirn bit until it hax rcccivetl the sccr'nd bit, at
                              which lime it t utputs the first bil c'n channel A "bilc



143.     The two bit streams output by the splitter 92 are treated identically in the respective channel
         A or B. First, Gray coding takes place in Gray encoders 94A, 94B. Then "descriptive bits",
         e.g. start and stop limiters, are inserted into bit stages 96A, 96B. The modified bit streams
         are then fed to modulators 102A, 102B, in which 2B-1Q coding takes place. The modulated
         signals are subsequently transmitted via


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  Differential drivers 106A, 106B, filters 108A, 108B and transformers 110A, 110B are output to
  the respective twisted pair cables.


  Contrary to the defendant's assertions, D1 not only does not disclose features 11.3.1 and
  11.3.2, it does not disclose any of features 11 to 11.3. in detail:


  D1 does not disclose any details regarding the data source 52. It only mentions that the data
  bits arrive at the scrambler 90 at a first data bit rate RDBIT1. In particular, D1 does not describe
  that the data is MII Ethernet data, nor that a conversion from a 4-bit packet stream to a 3-bit
  packet stream is performed. Thus, feature 11.1 is not explicitly disclosed in D1.


  There is also no implicit disclosure. In that case, the skilled person would have to consider
  the existence of an MII interface as mandatory and the only possibility. Contrary to the
  defendant's assertions, the passages quoted (in Chapter D.II.1 of the KE) from the IEEE
  802.3u standard from 1995 submitted as Annex B3 do not prove that an MII interface must
  necessarily be present. B3 only states what such an interface - if present - is used for,
  namely to connect a Fast Ethernet MAC block to a PHY. B3 does not state that an MII
  interface is mandatory and therefore does not rule out other possibilities.


  D1 therefore does not anticipate feature 11.1.


  The scrambler 90 in D1 scrambles a bitstream. As mentioned above, D1 does not disclose any
  details about this bitstream. In particular, D1 does not disclose that the scrambler 90
  scrambles a 3-bit packet stream.


  Therefore, D1 does not anticipate feature 11.2.


  According to feature 11.3, the scrambled 3-bit packet stream of MII data must be mapped to
  one or more ternary bit streams.


  Since D1, as explained above, does not disclose a scrambled 3-bit packet stream and no MII
  data, D1 consequently does not disclose feature 1.3 either.




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152.     As mentioned at the beginning, D1 in connection with Fig. 3 describes a mapping from
         two binary bits to a quaternary bit (2B-1Q) in each modulator 102A, 102B.


          153.     Even if we were to assume that the scrambler 90 in Fig. 3 of D1 - as claimed by the
                             defendant - would output a 3-bit packet stream, then D1 would have the feature
1.3 still cannot be oPened, because this "3-bit packet stream" is not recognized by the splitter 92
         "torn apart" and distributed to the two channels A, B. We refer once again to D1, column 8,
         lines 19-27:




                                     f 'ii:i niicl .h ''iii }iiit i{l II

                                 J it ' it lie r xt-i' i tls, t i*i c x'c r J' ]::i ii i: l' i ii{ ti l l*i ls. 's{i]i f1<fi 92 ijc];t}'g
                                 ouipuitin the iitai bit uriiil it has rmvivctl tt scn'nJ hit. at
                                 which limo it t utputs lhc first to ten channcl A whilc
                                 ouipultiii¡; lhr coixJ tiii ori cli "nnc1 11.


154.     This means that two consecutive 3-bit packets X1x2xs and y1y2y3 output by the scrambler
         90, i.e. the bit sequence x1x2xsy1y2 3, would be broken up in the splitter 92 as follows and
         mixed in the two channels A, B:


         Channel A: X1 2


         Channel B: X2 1 3



155.     It follows that none of the modulators 102A, 102B receives a 3-bit packet stream,
         because the packet stream is decomposed and resolved in the splitter 92. Thus, even if
         the defendant's incorrect assumption is assumed to be correct, D1 does not oPenbart
         feature 11.3.


156.     Therefore, D1 does not anticipate feature 11.3.


157.     As the defendant has recognized (KE, p. 32), D1 does not disclose an IDLE state and also
         no provision for mapping binary 3-bit IDLE patterns to one or more ternary bit streams
         depending on a least significant bit of a 3-bit IDLE pattern according to features 11.3.1 and
         11.3.2.




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  These features are neither revealed nor suggested by D2. This is because D2 does not
  describe a mapping of IDLE patterns to ternary values.


  D2 is part 3 of the 2002 version of the IEEE 802.3 standard and contains specifications for a
  range of media types and technologies for transmission rates from 1Mbit/s to 1000Mbit/s.


  The defendant refers in particular to paragraph 40.1.3 in D2, which deals specifically with the
  1000BASE-T standard (emphasis added):




  In para 40.1.3, D2 describes that 1000BASE-T uses full-duplex transmission over four cable
  pairs, where each of four data symbols An, Bn, Cn, Dn are quinary symbols, i.e. they can each
  take five values from the set {2, 1, 0, -1, -2}. Idle symbols are transmitted in the absence of
  data, whereby each idle symbol is initially restricted to the subset {2, 0, -2}. A five-stage pulse
  amplitude modulation (PAM5) is used for transmission. With 1000BASE-T, both the data
  symbols and the idle symbols are therefore quinary symbols, whereby the idle symbols may
  only assume some of the five possible values.


  The section of Table 40-1 in D2 reproduced by the defendant (KE, p. 38), which we show
  below for ease of reference, shows a mapping from 6-bit idle symbols (Sdn[5:0] in the second
  column from the left) to four quinary bits TAn, TBn, TCn, TDn (in the third column from the left):




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  For the mapping of the alleged IDLE patterns to the first quinary bit TAn, only two of the five
  available (quinary) values are used, namely 0 and -2. According to the (incorrect) logic of the
  defendant, these should then not (as claimed) be ternary values, but binary values.


  Furthermore, according to Table 40-1, binary 6-bit symbols (and no binary 3-bit symbols) with
  a least significant bit equal to 0 are also mapped to the quinary value 0, while binary 6-bit
  symbols with a least significant bit equal to 1 are mapped to the quinary value -2.


  The figure shown in Table 40-1 of D2 therefore does not correspond to characteristics 11.3.1
  and 11.3.2 at all.


  The defendant's assertion that the illustration shown differs from the one in the features
  11.3.1 and 11.3.2 merely differ in that they are "inverse" is therefore incorrect.


  Thus, even an arbitrary combination of D1 and D2 does not result in all the features of claim
  11. It follows directly from this that the subject-matter of claim 11 is not suggested by looking
  at D1 and D2 together.



  2.     Inventive activity vis-à-vis D3 and D2


  The defendant's incorrect argumentation on the synopsis of D3 and D2 (KE, H.II) follows the
  same pattern as the argumentation on the synopsis of D1 and D2 just discussed: D3
  discloses features 11 to 11.3 except for the IDLE state, while D3 discloses the mapping of
  IDLE patterns according to features 11.3.1 and
  11.3.2 are not disclosed. However, these distinguishing features were disclosed by D2 and
  thus allegedly suggested.


  This line of argumentation already fails for the reasons given in chapter 6.1 above, because
  D2 does not disclose features 11.3.1 and 11.3.2 and does not suggest them. Even if the
  defendant's submission on the disclosure of features 11 to 11.3 by D3 were (as not) correct,
  the subject-matter of claim 1 of the patent in suit is therefore not obvious from a combination
  of D3 with D2.




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  However, as shown below, D3 does not disclose any of the features 11.1 to 11.3 of claim 1 of
  the patent in suit.


  With regard to feature 1.1, the defendant refers to the first paragraph in section 5.3.9. in D3.
  This describes the general mathematical relationship between the number of binary symbols
  n and the number of ternary symbols m required for ternary coding. Contrary to the
  defendant's assertion, the highlighted half-sentence "By forming blocks of n consecutive
  bits..." does not disclose a conversion from a 4-bit packet stream to a 3-bit packet stream
  according to feature 11.1. This also applies to the "specific embodiment example" described
  from page 11 in D3. There, a conversion from a 4-bit packet stream to a 5-bit packet stream
  is shown, which is referred to as 4B/5B encoding, cf. Figure 5-29 on page 11 and in particular
  the second paragraph on page 12 of D3 (emphasis added):




  MII data is not mentioned at all in D3.


  In summary, feature 11.1 is therefore not disclosed in D3.


  Since D3 does not disclose feature 1.1, the scrambling of a 3-bit packet stream generated
  according to feature 11.1 is logically also not disclosed. The general description of a
  scrambler in D3 (page 9f.) therefore does not anticipate feature 11.2.


  Feature 11.3 is also not disclosed in D3, because the general mention of a
  "3B2T code" and twisted-pair cables in D3 has no reference to a 3-bit packet stream of MII
  data scrambled in accordance with feature 1.2. Feature 11.3 is therefore also not anticipated
  by D3.


  Since D3 (like D1) also does not anticipate any of the features 11.1 to 11.3.2 and D2 does
  not disclose features 11.3.1 and 11.3.2 (see para. 161-168 above), even an arbitrary
  combination of D3 and D2 does not therefore result in all the features of claim 11.




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  From this follows               directly,    that           the   object       of the       claim
            11      is not        is suggested by considering D3 and D2 together.



  3.     Interim result:


  It has been shown above that the subject-matter of independent claim 11 as granted is not
  suggested by the prior art. This result applies mutatis mutandis to the subject-matter of
  independent claims 1 and 9. Thus, the subject-matter of the patent in suit is based on
  inventive step.



  II.    No impermissible extension


  The defendant's submission (KE, H.III.) on the alleged inadmissible extension of the patent in
  suit is based on its incorrect interpretation of claim 11 of the patent in suit, which contradicts
  both the teaching described in the original application documents and the technical
  understanding of the skilled person (see A.I. and A.II above).



  1.     Feature group 1.3 - IDLE pattern of the scrambled 3-bit packet stream


  The defendant first claims that the wording "mapping binary 3-bit IDLE patterns of the
  scrambled 3-bit packet stream" in features 1.3.1 and 1.3.2 is to be understood as meaning
  that the binary 3-bit IDLE patterns go back to the MII data converted in accordance with
  feature 1.1.


  In other words, Defendant construes the claim to mean that MII data is also processed and
  scrambled in the IDLE state, and that the 3-bit IDLE patterns are part of the resulting
  "scrambled 3-bit packet stream" (i.e., generated based on the MII data).


  This interpretation is wrong for several reasons.


  As explained above, a state in which user data is converted, scrambled and transmitted on
  the basis of the MII data differs from an IDLE state in which no user data i s transmitted.
  With a technically correct assessment of the




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  claim 1 - in particular in the light of the description and the figures - the skilled person would
  therefore never consider the interpretation put forward by the defendant. Instead, the skilled
  person would recognize that the phrase "mapping binary 3-bit IDLE patterns of the scrambled
  3-bit packet stream" in features 1.3.1 and 1.3.2 is to be understood as meaning that the
  scrambler outputs the 3-bit IDLE patterns as a 3-bit packet stream, which is consequently
  referred to as a "scrambled 3-bit packet stream". In the embodiment according to Fig. 7 in the
  patent in suit or in the original application, this 3-bit packet stream is r e f e r r e d to as Sdn.
  Paragraph [0065] of the original application describes how this 3-bit packet stream Sdn is
  calculated during transmission of user data (tx_enablen- 3 = 1, highlighted in yellow below) and in
  the IDLE state (highlighted in turquoise below):




  The defendant itself recognizes and explains on pages 53-57 of its nullity action that a
  teaching corresponding to its incorrect interpretation is not described in the original
  application. Nevertheless, the defendant unabashedly interprets the claim without regard to -
  and even contrary to - the description and figures, which consequently leads to false
  conclusions and contradicts the well-known established case law of the Federal Supreme
  Court on interpretation.


  Even if (as is not the case) the claim were in alleged contradiction to the description and
  drawings, an interpretation of the claim quasi contrary to the description and drawings would
  not be appropriate. In this regard, reference should be made to the BGH decision
  Rotorelemente (GRUR 2015, 875) (para. 16 in excerpts, emphasis added here):


        "The principle that, in the event of contradictions between the claim and the
        description, the claim takes precedence because it is the claim and not the
        description that defines the protected subject-matter and thus also limits its
        scope.

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        (BGH, judgment of May 10, 2011 - X ZR 16/09, BGHZ 189, 330, para. 23 -
        occlusion device) does not preclude an understanding of the patent claim from
        the description and drawings that differs from that conveyed by the mere wording
        of the claim. The function of the description is to explain the protected invention.
        In case of doubt, an understanding of the description and the claim is therefore
        required which does not bring the two parts of the patent specification into
        contradiction with each other, but rather understands them as interrelated parts of
        the technical teaching made available to the skilled person with the patent as a
        meaningful whole. Only if and to the extent that this is not possible is the
        conclusion justified that parts of the description may not be used for
        interpretation. An interpretation of the patent claim that would result in none of the
        embodiments described in the patent specification being covered by the subject
        matter of the patent can therefore only be considered if other possible
        interpretations leading to the inclusion of at least part of the embodiments are
        necessarily ruled out or if sufficiently clear indications can be inferred from the
        patent claim that something is actually claimed that deviates so extensively from
        the description (BGH, judgment of 14 October 2014 - X ZR 35/11 October 2014 -
        X ZR 35/11, GRUR 2015, 159, para. 26 - Access rights)."

  Thus, if the skilled person reading claim 1 (as is not the case) is subject to the defendant's
  (incorrect) assumption that the wording "mapping binary 3-bit IDLE patterns of the scrambled
  3-bit packet stream" in features 1.3.1 and 1.3.2 could be 3-bit IDLE patterns that are part of a
  3-bit packet stream generated and scrambled on the basis of MII data during the IDLE state,
  then it would become clear to him on reading the associated description that this
  interpretation would have to be rejected as contradictory and technically untenable.


  Thus, if the claim is correctly interpreted, the binary 3-bit IDLE patterns of the scrambled 3-bit
  packet stream contained in feature group 1.3 do not go beyond the original disclosure.



  2.     Characteristic group 1.3 - no inadmissible generalization


  The defendant claims that the binary 3-bit IDLE patterns in the original application are not
  disclosed separately from "mandatory features", namely the generation of the IDLE patterns
  in the side stream scrambler 722 and the prior insertion of end stream delimiters (ESD),
  which would therefore constitute an impermissible generalization.


  On the one hand, this is not correct on the merits and, moreover, contradicts BGH case law
  with regard to the generalization of a characteristic in a claim. We




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  first summarize this case law and then address the plaintiff's objection on the merits.


  According to the case law of the Federal Court of Justice described below, it is permissible to
  include in the claim by way of an amendment the binary 3-bit IDLE patterns in general, and
  not only specifically those generated by a side stream scrambler and inserted after prior
  insertion of end stream delimiters.


  According to the established case law of the Federal Court of Justice, "generalizations ... are
  generally unobjectionable if an example of an embodiment of the invention described in the
  application presents itself to the skilled person as an embodiment of the more general
  technical teaching described in the claim and this teaching in the claimed generality is
  already apparent to him from the application - whether in the form of a claim formulated in the
  application or according to the overall context of the documents - as belonging to the
  invention applied for" (Federal Court of Justice, judgment of 11 February 2014 - X ZR 107/12
  - BGHZ 200, 63 = GRUR 2014, marginal no. 1, underlining added). February 2014 - X ZR
  107/12, BGHZ 200, 63 = GRUR 2014, 542 para. 24 - Kommunikationskanal, emphasis
  added).


  With this decision, the Federal Court of Justice has once again confirmed its established
  case law, according to which individual features from the original application documents can
  also be included in a claim if they are conducive to the success of the invention and the
  applicant - in contrast to the practice of the EPO on so-called intermediate generalizations -
  is not obliged to include all features of an embodiment example (cf. only BGH GRUR 2012,
  475 - Elektronenstrahltherapiesystem; BGH GRUR 2012, 1125 - Polymerschaum I and
  already BGH GRUR 1990, 432 - Spleißkammer). The admissibility of the generalization of
  individual features in accordance with the "Schleifprodukt" decision just presented goes back
  to the "Kommunikationskanal" decision on priority right cited there. There, the Federal Court
  of Justice once stated that the requirement of disclosure must be applied in a way that takes
  into account that the determination of what is disclosed to the skilled person as an invention
  and what is disclosed as an embodiment of the invention is of an evaluative nature and that
  an unreasonable restriction of the applicant in exhausting the disclosure content of the prior
  application must be avoided. Therefore, it must be assumed that the applicant's interest is
  regularly directed towards obtaining the broadest possible protection, i.e. to present the
  invention in as general a manner as possible and not to limit it to examples of use. This




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  The principles of the "Kommunikationskanal" decision apply accordingly to the examination
  of the inadmissible amendment: On the one hand, this results from the fact that the Federal
  Court of Justice cited the "Kommunikationskanal" decision in the "Schleifprodukt" decision on
  the inadmissible amendment. Secondly, the factual connection is obvious: In both
  constellations, the extent to which the features of a claim are disclosed in the respective
  relevant documents - original application or priority pre-application - must be examined.


  With regard to the side-stream scrambler as a "mandatory feature", the defendant refers to
  paragraph [0068] of the original application. However, the following is stated there (with
  underlining on this side):
  "During an IDLE state, 3-bit binary IDLE patterns may be generated by the side stream
  scrambler 722."


  Contrary to what the defendant suggests, the original application does not describe that the
  IDLE patterns must "necessarily" be generated by the side-stream scrambler, but only that
  this may or can be the case ("may be generated").


  Regarding the insertion of End Stream Delimiters (ESDs) as a "mandatory feature" prior to
  the insertion of IDLE patterns, we first note that claim 1 does not have a step for inserting
  IDLE patterns. Rather, features 1.3.1 and 1.3.2 describe a particular mapping of binary 3-bit
  IDLE patterns to ternary values during an IDLE state. For this reason alone, the defendant's
  argumentation is misguided.


  According to para. [0024], Figure 12 of the original application, which is highlighted in the
  statement of defense, merely shows a flow chart showing exemplary steps according to one
  embodiment of the invention:




  In the sentence quoted by the defendant in paragraph [0079] of the application, no
  "compulsion" is recognizable either. Rather, these are also possible, rather than forced,
  connections: "In step 1218, after the ESD is inserted the IDLE codes may be generated,
  mapped to ternary bits, and inserted into the transmission stream as disclosed in FIGS. 7-
  11."


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197.     The same applies to the cited paragraph [0071] of the original application. In the first
         sentence, a number of codes are mentioned, whereby the wording "and/or" does not indicate
         a forced connection between them (underlining added):
         "The insert SSDfESD/IDLE block 706 ja comprise suitable logic, circuitry, and/or code that
         maY be utilized to insert start-stream delimiters (SSD), end-stream delimiters (ESD), an error
         code, xmt error, and/or IDLE codes to the stream of information to be transmitted from the
         PHY device."


198.     There is therefore no inadmissible generalization.



         3.     Features 1.3.1 and 1.3.2 - the specific mapping is revealed


199.     The defendant claims that the specific mapping of IDLE patterns corresponding to features
         1.3.1 and 1.3.2 was not originally disclosed for several reasons.


200.     First, the defendant claims that the original application only discloses a mapping of IDLE
         patterns to exactly two ternary bit streams and not to any number of ternary bit streams. This
         is because the embodiment example in Fig. 7 and para. [0068] of the original application
         would only show two ternary bit streams.


201.     This is not correct. Firstly, Fig. 7 shows that the two ternary bits A and B can be transmitted both
         in one bit stream (ABAB...) via a single line 712a and in two separate bit streams via two
         lines 712a, 712b. This depends on the position of the exemplary switch 710 shown in Fig. 7.
         To illustrate this, we show a section of Fig. 7 twice below, with the first option highlighted
         in green and the second option highlighted in purple:




                         pa- 2 pa-




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  Moreover, the wording "mapping said 3-bit packet stream of MII data to one or more ternary
  bits streams" was already contained in all independent claims of the original application, e.g.
  in the original claim 8:




  It is thus clear that the original application is generally directed to any number of ternary bit
  streams, whereas Fig. 7 and para. [0068] show a specific embodiment with one or two
  ternary bit streams purely by way of example. For the skilled person, the generalization to
  any number of ternary bit streams - also for mapping the IDLE patterns - is thus directly and
  unambiguously disclosed in the original application. It


  The defendant further claims that a mapping to any bitstream of several bitstreams in the
  sense that not all IDLE patterns necessarily have to be mapped in the same ternary
  bitstream is not originally disclosed. This is because in para [0068] the mapping for all IDLE
  patterns is to the ternary bit "A".


  This assertion is also incorrect. The skilled person would not understand the claim wording to
  mean that mapping to an arbitrary ternary value in any bitstream can occur. Instead, under a
  reasonable interpretation considering the description, the skilled person would recognize that
  the mapping is from each IDLE pattern to a value in the same bitstream. Defendant's overly
  broad understanding only serves to construct an artificial objection.


  Furthermore, the defendant claims that a least significant bit of non-zero, which does not equal
  "1" was not originally revealed. Again, this is obviously an artificial objection. It should be
  clear to a person skilled in the art that binary bits can have two values. If one of these two
  possible values is zero, then it is immediate and clear to a person skilled in the art that the
  other value is different from zero, i.e.




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  is non-zero. Whether this other value is then displayed as "1", "-1", "Q" or "+" makes no
  difference.



  4.       Interim result:


  It has been shown above that, correctly construed, the subject-matter of independent claim 1
  as granted is covered by the original disclosure. This result applies mutatis mutandis to the
  subject-matter of independent claims 9 and 11.


  Since none of the stated grounds for invalidity oppose the subject-matter of independent
  claims 1, 9 and 11 as granted, this also applies directly to dependent claims 2 to 8, 10 and 12
  to 15.


  The patent in suit is therefore legally valid.




  Dimitri Kosenko Attorney at
  Law




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                                           List of attachments


  Annex EIP 9                    Applications

  Attachment EIP 10              Patent Assignment

  Annex EIP 11/11a               PoA Avago/German translation

  Annex EIP 12/12a               PoA Broadcom/German translation

  Annex EIP 13/13a               Filing 18_05_2016/German translation

  Annex EIP 14/14a               Filing 15_11_2017/German translation

  Annex EIP 15/15aInternet presence Broadcom Inc.

  Annex EIP 16/16a               Business Profile Avago Gen IP/German translation

  Annex EIP 17/17a               Expert opinion Jason S. Angell/German translation

  Annex EIP 18/18a               Expert opinion Mei Ling Sim/German translation

  Annex EIP 19                   Expert opinion Baker McKenzie Wong & Leow

  Appendix EIP 20                German translation of the expert opinion of Baker McKenzie
  Wong &
                                 Leow
  Appendix EIP 21                Certificate of Confirmation of Amalgamation

  Annex EIP 22                   German       German translation           Certificate               of
                                 Confirmation                of
                                 Amalgamation
  Annex EIP 23                   Extracts from the local commercial register




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               Exhibit D
  EIP Europe
Case         LLP
      1:24-cv-01235-GBW                                          Document 10                        Filed 11/11/24                               Page 125 of 176 PageID #:
  Broadway Office
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  Unified Patent Court
  - Local Chamber Munich -
  Denisstrasse 3                                                                                                                                           Rechtsanwalte
  80335 Munich                                                                                                                                             Dr. Chr istof Hahne, LL.M.1
                                                                                                                                                           Florian Schmidt- Bogatzky, LL.M.2
                                                                                                                                                           Isabelle Schaller
                                                                                                                                                           Or. Sebastian Fuchs
  Electronic address for seNice pursuant to                                                                                                                Dimitri Kosenko
                                                                                                                                                           Schi- Hwa Chae
  Rule 13 (c) of the Rules of Procedure of the
                                                                                                                                                           Maximilian Hager
  Unified Patent Court ('VerfOEPG'? to the
  plaintiffs authorized representative for seNice
  of process, Mr. Florian Schmidt-Bogatzky, at-                                                                                                            Florian Schmidt-Bogatzky, LL.M.
  torney-at-law:                                                                                                                                           fschmidtbogatzky@eip.com
  fschmidtbogatzky@eip.com                                                                                                                                 +49 211 9595 85 09


                                                                                                                                                            May 1, 2024




                                                                                  COMPLAINT


  of                                                                              Avago Technologies International Sales Pte. limited,
                                                                                  1 Yishun Avenue 7, Singapore 768923, represented by
                                                                                 the management, ibid.

                                                                                                                                                                                   - Plaintiff -


  Authorized representatives:                                                     Florian Schmidt-Bogatzky, as well as all other lawyers of
                                                                                  EIP Europe LLP, Breite Strar..e 29-31, 40213 DOsseldorf,
                                                                                 admitted to practice in Germany


  Contributing:                                                                   Dilg, Haeusler, Schindelmann Patentanwaltsgesellschaft
                                                                                 mbH, Leonrodstr. 58, 80636 Munich, Germany




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  Lawsuit from May 1, 2024



  vs




                                       -                                        - Defendant 1 -,




                                                                                 - Defendant 2 -


  because                               Patent infringement EP 1 770 912 B1)


  Language of the proceedings:                         German


  Value in dispute (provisionally estimated):



  Court costs:                          We will pay the court fees due as soon as we have recei-
                                        ved the court reference number required for payment
                                        (Rule 371 (1) of the Rules of Procedure of the Unified
                                        Patent Court, hereinafter referred to as "Rules of Proce-
                                        dure of the Unified Patent Court").
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      In the name of and on behalf of the plaintiff, we


                                                  Complaint


                                       to the Unified Patent Court
                                        - Local Chamber Munich -
                                              Denisstrasse 3
                                              80335 Munich

      and submit the following motions:


 I.


                    ■




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         B.     The patent in suit EP 1 770 912 B1



         I.     Formalities


11 .     The plaintiff is the sole owner of the European patent EP 1 770 912 B 1 (patent in suit) entitled
         "Method and device for initializing 10BASE-T networks", a copy of the patent specification
         ("KPS") of which is available as


                                                  Annex EIP 3


         hand over.


12.      The patent in suit is based on an application with a filing date of June 21 , 2006 and claims the
         priority of the patent applications US 722677 P and US 410172. The application was published
         on April 4, 2007 and the notice of grant was published on November 5, 2008.


13.      The patent in suit is in force in Germany. We submit a current excerpt from the register of the
         German Patent and Trademark Office as


                                                  Annex EIP 4.


14.      The patent-in-suit has not yet been the subject of proceedings before any other court or office ;
         the patent-in-suit has not been subject to opposition or nullity proceedings (RoP 13.1(h)).


15.      We would already like to point out that a universal succession on the plaintiff's side has since
         taken place and is also documented in the register: With effect from October 29, 2018, Avago
         Technologies General IP (Singapore) Pfe. Ltd, formerly registered (since March 15, 2017),
         was merged into the plaintiff, Avago Technologies International Sales Pte. Limited, by way of
         absorption. The plaintiff is thus the universal successor of the former patent owner, Avago
         Technologies General IP (Singapore) Pte. Ltd. As a result, the patent in suit was transferred
         to the plaintiff by way of universal succession. The amendment was published on 06.12.2018.
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        II.     Technical background and referenced state of the art


16.     The patent-in-suit generally relates to network connections. In particular, the patent-in-suit re-
        lates to the "training" of Ethernet transceivers at the beginning of a connection setup using
        twisted pair cables (para. [0002, 0003] KPS).


17.     "Transceiver" refers to a transmitter and receiver device. According to Wikipedia, "twisted-pair
        cables" are cable types in which the wires of the electrical cables are twisted together in pairs.
        Twisted wire pairs offer better protection against electrical and magnetic interference fields
        than parallel wires (see https://de.wikipedia.org/wiki/Twisted-Pair-Kabel). "Ethernet" is a net-
        work technology by means of which communication partners or devices realized in hardware
        can communicate with each other via cable connections. This takes place, for example, via
        Local Area Network (LAN) connections. This enables data transmission between devices
        connected in a local area network. Various transmission rates are specified, e.g. 10, 100 or
        1000 megabit/s (see https://de.wikipedia.org/wiki/Ethernet). The patent in suit does not specify
        the transmission rates in its independent patent claims.


18.     The patent in suit explains in paragraph [0003] the need to develop new and advanced trans-
        mission techniques with higher transmission rates using twisted pair cables, as more and more
        devices are being connected in data networks and higher data rates are required. In this
        context, the patent in suit cites the 10Gbit/s Ethernet as an example, which was under deve-
        lopment at the time of filing.


19.     In Ethernet cable connections, there is a transmitter and receiver device (transceiver) at both
        ends of the cable. With regard to the prior art, the patent in suit emphasizes in paragraph
        [0004] that transceivers on both sides of the connection undergo a kind of "connection training"
        as part of a start-up procedure prior to data transmission. This is intended to harmonize the
        respective settings and thus enable subsequent data transmission in good quality. The start-
        up procedure can include, for example, initial synchronization, determination of transmission
        power levels, adjustment of echo and crosstalk suppressors, etc. Some such "start-up" func-
        tions can be performed quickly, depending on the intended data transmission, while others are
        less time-critical, for example in the case of signal transmission at low data rates. If the time
        factor only plays a subordinate role in the coordination and initialization between transmitter
        and receiver in an Ethernet transmission, the focus can instead be placed on reducing the
        hardware required for the procedure.
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         Ill.   Technical problem and task


20.      Against the technical background described above, the technical problem underlying the pa-
         tent in suit is to provide a start-up procedure for an Ethernet connection which can be carried
         out - even at the expense of a longer procedure duration - with shared hardware, firmware or
         software (KPS, para. [00041).



         IV.    Solution


21 .     To solve this technical problem, the patent in suit specifies in independent claims 7 and 1
         (together with dependent claims 8 and 2) a system and a method for setting up Ethernet-based
         communication networks and corresponding data transmission. The inventive teaching is rea-
         lized by the system described in claim 7 and the - corresponding - method mentioned in claim
         1. In particular, it concerns the setting of the communication devices involved (para. [0009]
         KPS ). Claim 7, which is of particular interest in the present case, can be reproduced in the
         form of a feature analysis as follows:
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        Claim 7:


         7                                     A system for setting up communication devices, the system
                                               comprising:

                   7.1                                 a transceiver enabling the periodic exchange of Phy-
                                                       sical Medium Attachment, PMA, training frames
                                                       between link partners during a training period;
                                                       wherein



                   7.2                                a majority of each of the PMA training frames con-
                                                      sists of pseudo-random known sequences used to
                                                      build transceiver operations for communication
                                                      between the link partners, and where

                   7.3                                the link partners are communicatively coupled via a
                                                      wired Ethernet connection.




22.     We submit a reading copy of the above feature breakdown as


                                                  Annex EIP 5.


23.     The content of method claim 1 corresponds to that of claim 7, which is why claim 1 is not
        reproduced here in the form of a breakdown of features .


24.     The relevant expert is a graduate engineer (or an engineer with a comparable university
        degree) in the field of electrical engineering, has knowledge in the field of electronics and signal
        transmission technology and is familiar with the functionalities of Ethernet cable connections.



        V.        Interpretation of the patent in suit - claim 7 and claim 1


25.     Both system claim 7 and method claim 1 are independent claims directed to the same teaching
        from a technical point of view. The following remarks on claim 7 apply to both independent
        claims.


26.     Feature 7 of claim 7 describes a system for setting up communication devices. The communi-
        cation devices according to the feature are devices participating in an Ethernet connection in
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        data networks for the purpose of transmitting data, as is also apparent from feature 7.3. The
        devices may be transmitters or receivers of data and may be located at the respective ends of
        a data link (realized by cable pairs). The patent in suit also uses the terms "master" and "slave"
        for the communication devices by way of example (e.g. para. [0046] KPS ). The embodiment
        example according to Fig. 1 of the patent in suit schematically shows such a system :




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                                                                                                         Slave
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                                                                         FIG.1


27.     With reference to the further content of the claim, "master" and "slave" are each also referred
        to as "link partner" (e.g. paragraphs [0046] and [0048] KPS), i.e. as "link partner", by which the
        communication devices involved in a data link are meant. Fig. 2 is an embodiment example of
        such a link partner (200) with a transceiver (202). More specifically, a link partner (200) with a
        transceiver (202) is shown here, which has (a) a memory (216), (b) a physical block PHY (212)
        that provides functionalities on the physical layer and converts logical communication requests
        from the data link layer on the hardware layer so that electronic signals can be transmitted and
        received, and (c) transmitters and receivers (214a to 214h) that are connected with cable pairs
        for data transmission and data reception (see para. [0049, 0050]):
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                                                                          FIG. 2


28.     According to feature 7.1, the system has a transceiver that enables the periodic exchange of
        Physical Medium Attachment, PMA, training frames between link partners during a training
        period. A transceiver here is a device that can both send and receive data as required in the
        case of wired signal transmission. According to Fig. 1, both the master link partner has a
        transceiver (11 Oa) and the slave link partner has a transceiver (110b). According to par. [0047]
        KPS, the transceivers 11 Oa and 11Ob comprise logic, circuitry and/or program code that enable
        the transmission or reception of data between the master link partner and another link partner,
        e.g. the slave link partner. The transceivers enable Ethernet communication . In this embodi-
        ment example, the exchanged data is formatted according to the IEEE 802 LAN/MAN standard
        in accordance with section [0047) KPS .


29.     In both embodiment examples according to Fig. 1 and Fig. 2, data is transmitted via a so-called
        UTP cable, see section [0050) KPS. UPT stands for "Unshielded Twisted Pair", see par. [0046)
        KPS.


30.     According to the claim, the periodic exchange of Physical Medium Attachment, PMA, training
        frames between link partners (via their transceivers) during a training period should be made
        possible. The state diagram according to Fig. 3 illustrates different operating modes of a link
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         partner. These operating modes include a negotiation mode (auto-negotiation mode 302), a
         start-up mode (start-up mode 304) and a data mode (data mode 306):




             300~




                   302




                                               FIG. 3


31 .     In negotiation mode, for example, the method of transmission is coordinated at the so-called
         physical layer of the Ethernet transmission (para. [0042] KPS). In the embodiment example
         shown in Fig. 2, this is performed by PHY block 212.


32.      The link partners then switch to start-up mode to exchange training signals and/or control in-
         formation and establish the network connection (par. [0052] KPS). Under certain circum-
         stances, it is also possible to switch back to negotiation mode (par. [0052] KPS ).


33.      Once a network connection has been established , the link partners switch to data mode and
         data is transferred (section [0053] KPS). Once the data transfer is complete, the link partners
         switch back to negotiation mode. Under certain circumstances, it is also possible to switch
         back to start-up mode (Para. [0054] KPS ).


34.      The sophisticated exchange of PMA training frames during a training period takes place in the
         aforementioned start-up mode or start-up state according to the exemplary state diagram in
         Fig. 4. We illustrate Fig. 4 below:
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                                     FIG. 4




35.     After termination of the negotiation mode or negotiation state (402), the PHY block (212) of a
        link partner changes (via two intermediate states (404, 406) not relevant here concerning a
        deactivation of the PHY block (212)) to a PMA training master state (408), provided that the
        link partner is configured as a master link partner. Otherwise, the PHY block (212) changes to
        a PMA training slave state (para. [0054]) KPS. The master and slave link partners then
        exchange PMA training frames (par. [0055]) KPS). The PMA training frames are exchanged
        periodically as required. The patent-in-suit does not contain any restrictions with regard to the
        duration or frequency of the periodicity. The periodicity may concern the structure of the frames
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        (similar length, similar frame content, etc. ). We refer to the beginning of paragraph [0056] as
        an example:


                               [0056]
                                           -
                                        The PMA training frames may be long, repeti-
                               tive or periodic frames lhat oomprise a pseudo random
                               portion or sequence and an Information field or lnfoField,
                               for example. The pseudo random portion may be gener-
                               ated from seed values determined during the auto-nego-
                               tiation state 402. The PMA training frames may be 16k
                               symbols n length and have a duration of approxfmately
                               20.48 v.s.for example. The Pl\tA.traininQ frames are mod-


36.     PMA training frames can be exchanged with a regular repetition rate, but they do not neces-
        sarily have to be, according to the patent in suit. Para. [0020] clarifies this as optional ("advan-
        tageously"):


                               [0020)    Advantageously, the method further comprises
                               transmitting Pl\'1.A. training frames per:od,cally from a
                               slave hnk partner to a masterllnk partrier afbrsaid slave
                               link partner recovers a master clock during said training
                               period.


37.     The PMA training frames are also called PAM-2 or 2-PAM training frames in the patent in suit
        (see e.g. para. [00561). This is because they are modulated by performing a 2-level pulse
        amplitude modulation . Para [0056] reads as follows:




                            [0056] The PMA training frames may be long, repeti-
                            tive or periodic frames that comprise a pseudo random
                            portion or sequence and an information field or lnfoField,
                            for example. The pseudo random portion may be gener-
                            ated from seed val ues determined during the auto-nego-
                            tiation state 402. The PMA training frames may be 16k
                            symbols in length and have a duration of approximately
                            20.48 µ,s, for example. The PMA training frames are mod-
                            ulate using 2- eve pulse amplitude modulation 2-
                            PAM1, for example. The Info Fleld portion of the PMA
                            training frames comprises informatlon that enables the
                            Master and Slave llnk partners to train echo and/or near-
                            end crosstalk cancellers, to train receivers, and to estab-
                            lish appropriate transmitter power levels, for example.
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                             The oontentsof the pseudo random portion of PMA train-
                             ing frames shall be knovm while the oonte,ts of tt-e ln-
                             foFields vary in accorda111oa with progress In lhe start-up
                             procedure. Processing of information in response of to
                             received lnfoFields need not be performed in real tirne.




38.      The periodic exchange of PMA training frames is also shown in Fig. 5 of the patent in suit (see
         below). Fig. 5 shows PMA training sequences that are exchanged at regular intervals (either
         in terms of time or in terms of data sequences).


39.      According to feature 7.2, a majority of each of the PMA training frames consists of pseudo-
         random known sequences which are used to establish transceiver operations for communica-
         tion between the link partners. According to [0043] KPS, a majority of each of the PMA training
         frames consists of pseudo-random known sequences, in particular if, for example, an - optional
         - additional information field ("lnfoField") of the frames is short compared to the length of the
         PMA training frames.


40.      According to para [0056] KPS, the PMA training frames may have a pseudo-random portion.
         Claims 1 and 7 call for a pseudo-random known sequence. The term "pseudo-random known
         sequence" by itself clarifies that the pseudo-random sequence is known to the link partners
         and has characteristics of substantially random sequences ([0044], [0056] KPS). Moreover,
         the sequence is pseudo-random and can be generated during said negotiation phase (402)
         based on seed values ([0056] KPS). The patent-in-suit does not contain any restrictions with
         regard to the length and duration of the pseudo-random sequences.


41 .     The embodiment example of Fig. 5 shown below illustrates an exchange of PMA training fra-
         mes between master (M) and slave (S) link partners (para. [00621). Highlighted on this side in
         Fig. 5 shown below is an exemplary PMA training frame (500a) sent by the master (M) to the
         slave (S):
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           tS)                                                                      •••




                                                                     FIG. 5



42.     It can be seen from Fig. 5 that in the embodiment example shown, the PMA training frames
        (500a) are transmitted one after the other or repeatedly within a PMA training period (501) -
        for example of less than 2 seconds. The periodicity of the PMA training frames (500a) is il-
        lustrated in this embodiment example by their repeated sequence, whereby for reasons of
        clarity a number of PMA training frames are also symbolically represented by dots.


43.     According to the embodiment example of Fig. 5, each PMA training frame (500a) sent from the
        master (M) to the slave (S) comprises a pseudo-random section (502a) and an information
        field (lnfoField, 504a) - already mentioned and optional in view of the independent patent
        claims - with information that enables the master and slave link partners to train and establish
        various link characteristics (such as echo and crosstalk suppressors and transmission power
        levels) (para. (0056] KPS). The lnfoField can be encrypted (encoded) - therefore the patent
        specification also states that it is occasionally decoded ("occasionally decoding an lnfoField",
        column 6, line 23 KPS). The encoding can take place via a pseudo-random known sequence.
        The pseudo-random part of the PMA training frames is known to both link partners (para.
        (0056] KPS). This can be a pseudo-random sequence of binary modulation symbols (par.
        (0043] KPS). The content of the information fields varies as the start-up procedure progresses.


44.     Finally, according to feature 7.3. the link partners are communicatively coupled via a wired
        Ethernet connection. This is illustrated by the UTP (Unshielded Twisted Pair) cable (112) in
        Fig. 1 of the patent in suit shown above. According to Fig. 2, the UTP cable according to one
        embodiment example has four wire pairs.
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        VI.    Claims 7a to 7c and 1a to 1c


45.     Claims 7a to 7c and 1a to 1c are discussed below. These explanations relate only to the fea-
        tures which have been supplemented in relation to the main claims 7 and 1 as granted. With
        regard to the unchanged features (of the main claims as granted), we refer to the above ex-
        planations.


46.     The supplemented features (see applications) of claims 7a and 1a are readily recognizable to
        the skilled person in the original documents.


47.     Claim 7a, which has a direct reference back to the granted independent claim 7, reads as
        follows:


              "... wherein a PMA training frame further comprises an information field, the content
              of which varies as the set-up of the communication devices progresses . "

48.     This claim arises from the original application version filed on June 21 , 2006, paragraph [0032]
        (corresponding to KPS paragraph [00561). In this paragraph [0033), which is shown here high-
        lighted in color, it is stated, inter al ia, that a PMA training frame (in addition to the claimed
        pseudo-random known sequence) also has an information field . Furthermore, the penultimate
        sentence, which is highlighted in color, states that the content of the information field varies as
        the start-up progresses.


                   [0032)     The PMA training frames may be long, repetitive or periodic frames that
                   coml)rise a pseudo random portion or sequence and an infonnatlon field Of' lnfoField, for
                   ex.ampl·e. The pseudo random portion may be generated from seed values d-elermlned
                   during the auto-negotiation state 402. The PMA lralnlng frames may be 16k symbols in
                   lenglh and have a duration of approximately 20.48 µs, for example. The PMA training
                   frames are modulated using 2-4ever pulse amplitude modulation (2·PAM). for example.
                   The JnfoField portion of the PMA I.raining frames comprises information that enables the
                   Master and Slave link partners to train echo aod/or near-end crosstalk cancellers. to
                   train receivers, and to establish appropriate transmitter power levels. for example. The
                   contents of the pseudo random portion of PMA training frames shall be known while the
                   contents of the lnfoFields vary in accordance with progress in the start-up procedure.
                   Processing of information in response of to received lnfoFlelds need not be performed
                   in real time.


49.     In this context, it is obvious that the start-up relates to the setting up of the communication
        devices (with each other) in accordance with the claim. The term "start-up" is already used in
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        paragraph [0005] of the original application when describing the technical field of the technical
        teaching according to the invention. Accordingly, the start-up and thus the sophisticated setting
        up of the communication devices (Ethernet transceivers) involved in the Ethernet communica-
        tion link comprises training of the communication devices. This is also apparent from the first
        sentence of paragraph [0007] of the original application, which states that the settings of the
        transceivers involved must be adapted to the specification of the communication link during
        commissioning. The transceivers or communication devices involved must therefore be set up
        in accordance with the claim. The new claim 7a is therefore supported by the original applica-
        tion.


50.     The same applies mutatis mutandis to claim 1a.


51.     The supplemented features (see applications) of claims 7b and 1b are also readily recog-
        nizable to the skilled person in the original documents.


52.     Claim 7b, which has a direct reference back to the granted independent claim 7, reads as
        follows :


                "whereby the PMA training frames are periodically transferred from a slave link
                partner to a master link partner after this link partner recovers a master clock during
                this training period."

53.     This claim arises from the original application version filed on June 21 , 2006, p. 4, paragraph
        2 (corresponding to KPS paragraphs [0020] and [00311). The same applies mutatis mutandis
        to claim 1b.


54.     Finally, the supplemented features (see applications) of claims 7c and 1c can also be found
        by the skilled person in the original documents.


55.     Claim 7c, which also has a direct reference back to the granted independent claim 7, reads as
        follows :


                "where the PMA training frames are modulated using two-level pulse amplitude
                modulation."

56.     This claim arises from the original application version filed on June 21, 2006, para. [0032]
        (corresponding to KPS para. [00561). The same applies mutatis mutandis to claim 1c.
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        C.      Patent infringement


57.     As already mentioned, the plaintiff purchased and examined a                          , which was
        manufactured, offered and distributed in Germany. The following infringement analysis also
        applies to other ~       models such as the                  . The -          formed the basis for
        the -        and both vehicles consist of predominantly the same components. Wikipedia sta-
        tes




58.     In addition, ~       itself provides schematics of the Ethernet connections used in the -
        for the interested public. This is done on the ~      website a
       -             · These schematics are also used below for the proof of infringement.


59.     This case concerns the                                       and the driving and assistance sys-
        terns it contains. In this context, there are a number of relevant Ethernet communication
        connections between different hardware components of the~              computer, which are located
        on different printed circuit boards (PCBs) in the ~      computer (see above). The structure of
        the communication link at least between the various hardware components or PCBs is covered
        by the presently asserted patent claims.
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60.     Specifically, thel l l l computer comprises a host computer which has a so-called-
                              as the main computing unit (MCU) and whose hardware components are
        mounted on a printed circuit board and electrically interconnected. This circuit board is herein-
        after referred to as the "MCU circuit board" or'                          ". There are various relevant
        Ethernet connections between the hardware of the                           board and the hardware of
        other circuit boards of thel l l l computer.


61.     For example, there is a relevant Ethernet connection between the -                circuit board and the
        radio or entertainment system. In addition, the invention protected by the patent in suit is also
        used in vehicle diagnostics (for example, car mechanics connect thel l l l computer to a di-
        agnostic computer using    Ill software). As set forth in detail below, there is also an Ethernet
        connection in thel l l l computer between the Ryzen circuit board and a hardware, which is a
        so-called                                          -         ) and is also built on a circuit board. This
        circuit board is referred to below as the•-            circuit board".


62.     Thel l l l computer enables the user to call up data on the vehicle in question. The information
        from thel l l l computer is shown graphically on the vehicle display.


63.     The •-            " mentioned above is specified as the infotainment processor on the vehicle
        display.




64.     As part of a detailed examination of the      11111 computer, a circuit board with a number of
        electronic components or semiconductor chips was first identified. The top of this PCB is shown
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        in the figure below and labeled '                 11
                                                               •   A large number of components assembled
        on the PCB are labeled with numbers in this figure for better reference below.




65.     The -        printed circuit board (PCB ) of the lllll computer contains an Ethernet chip, la-
                                                                   11
        beled with the -           in the '                             shown above. This chip is an Ethernet
        transceiver with which, among other things, the 1000Base-T1 interface generally known in
        network technology for data transmission via twisted pair cables is realized. The 1000Base-T1
        interface was specially developed for use in vehicles (see https://de.wikipedia.org/wiki/Ether-
        net). The defendants integrate the aforementioned Ethernet switch into their own Ethernet
        functions.


66.                           computer also contains and uses the aforementioned
                                     , which is a driver assistance system. The plaintiff has also exa-
        mined the printed circuit board (PCB ) of th                       circuit board). It contains a chip from
        -        namely the                     Ethernet PHY. This is also an Ethernet transceiver that
        operates according to the Ethernet IEEE 802.3bp standard (1000Base-T1 ). The front of the
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       -           circuit board and th~        Ethernet chip, which is difficult to see in the image of the
        entire -         circuit board due to its size and is labeled with the number 22 (circled in Y.ellow
        below), are shown below:




67.     Functionalities relating to Ethernet in the 1000Base-T1 variant are also contained in the IEEE
        document 802.3bp, among others. ~                      to this standard in information regarding the
       -              and confirms the corresponding design:
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68.     The above-mentioned chips also incorporate some relevant functions of the IEEE 802.3bp
        Ethernet standard. IEEE 802.3bp corresponds to the 1000Base-T1 standard. The content of
        the claims asserted in the present case can be read in part onto the Ethernet standard. For the
        other features, tests by the plaintiff or a professional test facility commissioned by it have con-
        firmed their use by the attacked embodiments. Thus, the Ethernet-capable embodiments used
        by the defendants make use of the teaching according to the patent in suit.


69.     Reference is also made below to some technical specifications of the IEEE 802.3bp Ethernet
        standard (in particular to section 97, the excerpt here with emphasis on this side), Appendix
        EIP 6:
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                               IEIEIE Standard for Ethernet

                               Amendment 4 : Physical Layer Specifications and
                               Management Parameters for 1 Gb/s Operation orer
                               a Single Twisted-Pair Copper Cable




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         97. Physical Coding Sublayer (PCS), Physical Medium Attachment (PMA)
         sublayer, and baseband medium, type 1 000BASE-T1

         97.1 Overview

          Jlus dnu!-\.' dctln\.'s \be tyP£ l<X}UBASE-Jl Phys1ca1 Codmg Sublayg t PCS) ggd tyw; JI/OQBASt;- n
         Phr,icnl Medium Au:ichmen1 (PMA) subl:iw r. ro~ether. the PCS nnd PM!\ sublavers cgmpme p
          l~JODASE-ll Phv,jcnl L1yer (fIIY) Provided in lhi _ clau-.e are fully functiona l and electrical
         ,pccifo.-r11i~m, for th\.' IYJll! I000BA. F-TI PC. nnd P\1

          lhe 10001.lASL-11 PllY is one of the G1gabi1 Elhemel fanulv of h.1gh-l>pecd full-duplex PllY
         ~pec1fil.'.t1IIOllS, nlpnbh: of opcratin~ at I000 Mb/s. rhi: I 00081\Sl:.- r I Pl IY is imendc:d to bc o~ratl!UtWC:r a
         i.ingle l\\ !',led-pair copper cable, rdi!rred lo us an a111011101h·c lmk se~111e111 (Type A) or op11mwl link '>egmenl
         tT~']1e B), cJdined in 97 6 Tlie nutomotive link ,egmenl ,peci fication~ cletined io 97 6 may also he lheJ for
         Olber npplicntions that have s1m1lnr link segment n."<)uiremenL,. lne cnhhng :-.upporting the operation ol lhe
          IOOOBASE-l l I'llY i-. defined in terms of performance requirements between the attachment pomts
         (Mediltm Dependent lnterfacl! (MD1)]. allowing unplementers to provide their own c~blmg to opcrnte the
          I OO0BA 'E- r I Pl IY a, long a, tht: nunm111, 1: ret1u1rcmcn~ included m this clause un: met.
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        I.      Design and mode of operation of the contested embodiment


70.     The                  uses an Ethernet connection between (i) the printed circuit board (PCB) of
        the lllll computer, hereinafter referred to as the MCU (microcontroller unit) PCB or _
        PCB, and (ii) the PCB of the aforementioned                                                          ,a
        driver assistance system, hereinafter referred to as the -             PCB. The -       PCB uses the
        aforementioned                                           chip, which also functions according to some
        specifications of the 802.3bp (1000Base-T1) standard. The -                PCB of thelllll computer
        uses the above mentioned Ethernet switch                                               with integrated
        1000Base-T1 compatible transceiver. We reproduce below excerpts from the above-mentio-
        ned'                       11
                                        (available on the website
       .     ) (with emphasis on the Ethernet chips and their functionalities on this side) and submit the
        relevant documents as Annex EIP 7. On -                     you will find the schematic shown below in
        the relevant sections (with emphasis on this side):




71.     As can be seen from the abbreviation LHD (= Left Hand Drive), this illustration relates to a left-
        hand drive vehicle. The large block represents the -              circuit board. This can be seen from
        the text field '                    11
                                                 at the top left. The autopilot is a driver assistance system.
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        Highlighted further down in this large block is the functionality of an Ethernet chip, which is
                                                                                                             11
        connected to a cable running to the right. This results from the designation '
        The smaller block at the bottom right represents the MCU circuit board or the Ryzen circuit
                                                                                              11
        board. This results from the designation MCU. The designation '                            can also be
        found here, meaning that an Ethernet device must also be present here. This is also connected
        with a cable running to the left. This means that (i) the -             PCB (or more precisely the
                             chip on the-        PCB explained above) and (ii) the MCU or -           PCB (or
        more precisely the Ethernet chip on the -             PCB -                                      ) are
        Ethernet communication devices.


72.     Thel l l l documentation also shows a relevant Ethernet connection between the             11111 com-
        puter and the '                                 ". This connection is used byl l l l mechanics when
        they connect a diagnostic computer to a vehicle to read and check data.


73.     There is also a relevant Ethernet connection between thel l l l computer and the radio .


74.     We focus here on the first Ethernet connection within thel l l l computer between (i) the host
        computer with its -        circuit board and (ii) the-        system with its -     circuit board.



        II.     Use of claim 7 of the patent in suit



        1.      Feature 7


              "A system for setting up communication devices, the system comprising:"

        is realized in the


75.     The attacked embodiment, the                       , uses al l l l computer in which a host compu-
        ter, formed on the MCU or -             circuit board, is connected to the -      driving assistance
        system, formed on the -             circuit board, by means of an Ethernet connection. Of course,
        the communication devices involved must be prepared or configured for this communication
        to function properly. The   11111 computer is therefore a system for setting up communication
        devices according to feature 7.
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76.     For illustration purposes, we have reproduced below a schematic documentation from ~
        itself (Appendix EIP 7, I ■- excerpts), which we have already shown in a similar form above.
        The MCU circuit board of the master computer with the relevant Ethernet chip is shown at the
        bottom right of the figure copied below. This is connected to the Ethernet chip on the left on
        the -      circuit board of the driver assistance system. The MCU circuit board and the -
        circuit board - each with relevant Ethernet chips - are sophisticated communication devices or
        link partners:




77.     According to -          own explanation (Appendix EIP 8), the -               Ethernet chip on the
       -        circuit board is a "Single Pair Ethernet Physical Layer Transceiver (PHY)" that imple-
        ments the Ethernet physical layer portion of the 1000BASE-T1 standard. Due to the existing
        circuits, it is able to send and receive data on a twisted pair cable:
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        The same naturally applies to the other Ethernet chip (No. 9 in the '                ").


78.     The setup of the communication devices is described, for example, in sections 97.1.2.2 and
        97.4.5 of the 802.3bp standard (see Appendix EIP 6). Ethernet 1000Base-T1 PHY operates
        on the so-called physical layer, which can also be recognized by the designation PHY. Figure
        97-1 of the 802.3bp standard, shown below, shows this PHY layer, consisting of the sub-layers
        (i) PCS (Physical Coding Sublayer) and (ii) PMA (Physical Medium Attachment) sub-layer (em-
        phasis on this side), whereby the latter is particularly relevant here and is therefore marked
        below:
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                                                                  ETI-IERNET
                               OSI                                 LAYERS
                           REFERENCE.
                             MOOEl
                                                                HIGHER LAYERS
                             L.c,'tERS
                                                          LLC. LOGICAi.LiNK CONTAOL
                                                             OR OlHER MAC CLIENT
                          APPUCATION                       MAC CONTROL (OPTIONAL)

                         PRESEITTATION                    MAC · MEDIA ACCESS CONTROL

                            SESSION                            RECONCILIATION


                          TRANS?ORT

                            NETWORK

                             DATA LINK

                            PHYSICAl

                                                                      MEDIUM
                                                                 10008AS!:-TI


                   MDI = .1£DIUM DEPENDENT INTERFACE                      PCS = PHYSICAL CODJtJG SUBLAYER
                   GMJI = TEN GJGABIT MEDIA INOEPENOE.tJT INTERFACE       f?MA- PHYSICAi MERIUM eTIAGHM€NI
                                                                          PHY = PHVSlCAl LAYER DEVICE
                   NOTE 1--GMJl isopuonal
                   NOTE 2-Au1o-Negotiall0i\ 1$ c,ptiOMI
                                                                          AN = AUTO~EGOTIATION

             Figure 97-1-Relationship of 1000BASE-T1 PHY to the ISO/IEC OSI reference model
                                              and the IEEE 802.3 Ethernet Model




79.     According to section 97.1.2.2 of the 802.3bp standard, the two sublayers PCS and PMA (or
        the Ethernet devices operating there) exchange signals to synchronize the communication de-
        vices involved in the Ethernet communication, thus establishing (i.e. making operational) the
        sophisticated communication devices. This is done by providing the startup functions required
        for successful Ethernet 1000BASE-T1 communication operation. This synchronization mode
        is also referred to as training or training mode. We reproduce relevant excerpts from section
        97.1.2.2 of the 802.3bp standard (as well as the immediately preceding paragraph of section
        97.1.2.1) below with emphasis on this side:
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                  ln ihc: lrainiug rnode (lic:c: 97 .4.2.4). the PCS tran.o,,mil.1i ;ind receives PAM2 lniining i,c:queuces to iiym:luvuizc:
                  to lhc PHY frame, lea.rm tho da!~ mode scrambler seed, and c:<changcs EEE nnd IOOOBASE-Tt OAM
                  capabilities. The training mode uses PAM2 encodin11.

                  97.1.2.2 Physical Medium Attachment (PMA) sublayer

                  TI1e IOOOBASE-TI PMA ttausulit~11·ece-ives syn,ool srreams to/from tbe PCS ouro tlle single balanced
                  twisted-pair 11ml pr<wide~ lhc: clock -reeo\·ery, link monimr, and the I OOORASE-TI PHY Control function.
                  Ilic I'MA prO\idcs lull duplex conmnmicalions nt 750 MBd.

                  The PMA PHY Conn"ol function ~enerates sipials 1hat control the PCS and PNlA sublayer operations. PHY
                  Control is enabled followm~ the completion of Auto-Negotiation or PHY Link Synchrooization and
                  provides the start-up functions required for successful IOOOBASE-Tl operation. 11 detetmines whether the
                  PHY opei'ales lll a disabled state, a training state, or a data stare where MAC frames can be exchanged
                  belwten Lhe link partners.

                  The Link Monitor detennines the status of the underlying link channel and communicates this status to other
                  functional blocks. A failure of the recefre channel causes the data mode operation to stop and Auto-
                  Negotiation or Link Synchronization to restart.




         2.     Feature 7.1


               "[comprising] a transceiver that enables the periodic exchange of Physical Medium
               Attachment, PMA, training frames between link partners during a training period;
               wherein"

         is also realized by the contested embodiment.


80.      This is because the Ethernet system of thellll computer in question has a transceiver that
         enables the periodic exchange of Physical Medium Attachment, PMA, training frames between
         link partners during a training period.


81 .     The PMA training frames are data frames that have already played a role above in connection
         with feature 7 and the signal exchange on the PCS and PMA sub-layers for the purpose of
         synchronization. This is because the Ethernet device operating on the PMA sub-layer sends
         and receives these training frames to and from the other Ethernet communication device (on
         the PMA sub-layer) with which it wishes to synchronize.


82.      In this context, as mentioned in para. [0056], the patent in suit refers to PMA-2 or 2-PAM
         training frames.
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83.     Feature 7.1 has been incorporated into the standard in accordance with Annex EIP 6. Please
        refer to the last paragraph of section 97.1.3 (followed by the heading "97.1.1 Interfaces" in the
        next section) and to section 97.4.2.4. The aforementioned PCS (Physical Coding Sublayer)
        then generates the PMA training frames in the form of PAM2 patterns, which are sent to the
        respective link partner. These PMA training frames each contain an information field (Info-
        Field), which is transmitted to the link partner 256 times as standard. This 256-fold repetition
        fulfills the sub-characteristic "periodic" in characteristic 7.1. The sections referenced here are
        highlighted on this page:


        In the training mode. the PC'S genera.es onlv a PA1v12 pattern with periodic embedded daui that enables the
        receiver at t}Je otlJer end to train and S'illclm1111ze timm . scrnmbler seed'<, and ct1 abilities. The LPI mode 1s
        enabled SC.."Jlaralcly in each direction (sec LPI signaling in 97.3.5 . \Vhcn Lrnnsmitting in LPI mode, lhc PCS
        generates ,:em symhols and period1c,11ly send a RF.FRESH pattern to keep the two l'HYs syncbmnized (see
        97.3.'.2-2. 15).

        97 .1.4 Interfaces



         97.4.2.4 PHY Control function

         PIIY Conrrol generates the control actions th11t ~re needed to bring the PITY into a mode of operation during
         which frames can he exchanged with the link part11er. PHY Control shall comply with the state diagram
         description give11 in Figure 97-26.

         During PMA training (TRATNTNG and COUNTDO\\.' N stater. in Figure 97-26), PHY Control information
         lS exchanged between huk partners with a 12--octcl JnfoFicld, which is XORcd w1th the first 96 b1L-. of the
          15th partial PHY frame (bits 2520 to 2615) of the PHY trame. The TnfoFie1d is also denoted IF. The link
         partner i~ not required to decode every IF transmitted but is required to dee-ode Ifs at a rate that enables the
         correct actions prior to the PAM2 to PAl\B transition.

         The 12-octet TnfoField shall include the field,;; in 97.4.2.4.2 through 97.4.2.4.8, also shown in the overview
         figufe 97-20, and the more detailed figure 97-21 and Figure 97-22. Each lnfoField shall be t:rflmnnitted at
         least 256 times to ensure detection at link. partner.



84.     The periodic PMA training also results from the following section 97.3.4.1 of Annex EIP 6.
        Here, the embedding of a last PHY frame of the respective PMA training frame in the informa-
        tion field transmitted at least 256 times as described above is specified (emphasis added):
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          97.3.4.1 Generation of Sn

          During PMA training. lhe training paUem is embe<ldt:d w ith im!iCMton; to t"_slab1ish alignn1enl (u the R,S..FEC
         block m1d the 15 parlial PHY names that comprise Lhc block. 111c last partial PHY frmne is embedded with
         ao information field u.sed to excban e messa es heroreen li.nk artoers. P:MA training sig,Hll encoding is
           ase on t 1e genemllon, at time 11, or t:he hit Sw The first hit is inverted in the fir.-t 14 partial PHY &ames of
         each RS-fIK' block. The first 96 bits of rhe 15th partial PIIY fulme is XORed 1Arith the contents of the
         IufoField Each pAftinl PHY fuu_ne is J80 bits Jong. beg.inning :u S,1 where (11 mod I RO)= 0. See Equation (97-7).



85.     In addition, the plaintiff had the attacked embodiment acquired within the scope of the patent
        in suit tested, inter alia, with regard to the periodic exchange of PMA training frames within the
        meaning of feature 7 .1. This examination confirmed the use of feature 7 .1 by the attacked
        embodiment. In simplified terms, in the challenged embodiment, the master transceiver starts
        by transmitting PAM-2 training frames. The slave transceiver then "responds" accordingly. The
        commissioning or start-up procedure can be summarized as follows:


         1) Link Synchronization occurs via the "Master" link partner issuing a series of SEND_S
             pulses (approximately I µsin duration, with a 4 µs gap).
         2) Link Synchronization completes when the "Slave" link partner detects the SEND_$ pulse
             and issues its own SEND_S.
         3) Link Training commences when the "Master" commences transmission of SEND_T,
             while the "Slave" remains silent.
         4 ) Link Training progresses as the "Master" then indicates to the "Stave~ to commence
             transmissions. and the "Slave" then starts SEND_ T transmission.
         5) Link Training then proceeds through the remainder of the TRAINING state, through
             COUNTDOWN, SEND_IDLE_1 , SEND_IDLE_2, and then to the final SEND_DATA state
             of the PHY Control state machine.
         6) If the SEND_DATA state is reached, the Link Monitor state machine then proceeds to
             the LI NK_UP state.



86.     The result of the investigation confirms the realization of feature 7.1 (yellow highlighting ad-
        ded):
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                DECODE OF FIRST 75,000 SAMPLES OF SLAVE AND MASTER SIGNALING
                                                                             100-          . . .. .. . .f r * I   "   ™   '   "
                                                                                                                                  1
                                                                                                                                      ,.   *i4M•'t►r   ··r....... •..r........... •                   14   C     444   ii




                      Koo.~      C   !   b   l ~   O d . ey
                                                                        ~     0-

                      ~             =r>S                                    -100-
                      i:toli'ld-lnp delay                                    100
                      t(>Jfr~mthe
                      Mg,.,to,ing Stdl•O<I
                      tolh1clNT

                                                                                    :.._.-'\ .: ~                     :~. --7~~ :-:,~.'~ ~'3Lt+,:-...,.,.....,,,,,,,_""' _..,,..,..,,___._.__...._,._
                      Offset from 51.sve
                      St•rt of SINO_T                                                -=::· ~~~--;_,,..,~.:-.::':, -;;_: -; :--- :"'\-4....."..,...,,,,."t,...~._-...~.........- ,...   '-"#T~._...,.. _        ... __,..


                      l llll)))))                     ~
                      O    :.~t ts. ,n
                          ff                 H     mp l o
                                                                                    .-~,h-..,.--.l",.:r,._..,,,,.~..•~•lt.!,.#""..I?\....,.~-':('-~~ ' . ~ ~ i r....,..':t,;.,~~'lj,-~ M >.!.-,,.t.,,.t;-t.":\1 •4;;,
                      S!,ipbng 1s al
                      8GSJfS                                                        ,',i.(-, ~,,,._.,i.., •,·~~.,_-.,.., #illo .," t ~ • ; ~ ~•..'°"°''-~i~MK,.,' "~...._~,'k:4,(.,-.-J .1-~.~



                                                        0                                            I                                         I                       I                                   I

                                                                    D\llPf at

                                                                      1> PfCU
                                                                    lllJI MS(RA
                                                                     1>MSG2.4
                                                                DUT PM:.._;ut•
                                                                  iS PM~ rltrlce
                                                        OUT loc_rcvr_stDtus

                                                              TS loc_rcvr_;t.tus
                                                 Olll (5fv) l1min9-loclc..d.
                                                       TSlMM ~~~1l<
                                                        OUT l\ovd M,g Foold
                                                              1> R<vd M.g l'iold
                                                                 OUT CRC16_ok
                                                                   T5 CRClo.~




                                                                                Fi~ure 47 - Initial PAM-2 Train.in;: De~od~
                Above is at the very start of SLAVE signaling. The PAM-2 Training decode shown above ts
                explained as follows: The first 2 plots (DUT and TS) are the SLAVE and MASTER signals as
                captured from the scope. The next 2 plots {OUT Pre-slicer and TS Pre-slicer) shows the
                equalized and dock-recovered sample point for each PAM-2 symbol, prior to 'slicing'
                {determining if the PAM-2 signal is ~+1· or      The next two plots {I)UT Ser vs RxPAM2, and                  ~-n
               ,s Ser vs RxPAM2) representswfietnertnerecovered scrambler matches witli tnerece1veo
                PAM-2 signal, where a match does not occur, a +1 is shown, otherwise a zero is sho·m1. During
                1000BASE-T1 Training, this then identifies the Partial PHY-Frame boundaries (15such Partial
                PHY-Frames fom, a PHY Frame) and the 141h Partial PHY-Frame ~                         tains the
               encoded value of the "lnfoFielcf'. One PHY-Frame is shown here: -•-■I■ II
               The lnfoField encoding is then broken out in the final plots, PFC24 through CRC16.




87.     As explained below with reference to an enlarged section of Figure 47 superimposed above,
        the periodicity or periodic exchange of the PMA training frames is shown in this figure, in par-
        ticular the regular time intervals of the successive PMA training frames, each of which has a
        plurality of 14 individual PMA signals:
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      OUT Ser vs RxPAM2
       T2 Ser v-:. R>.PAM~



88.      The individual PMA signals are numbered consecutively in the enlarged section of Figure 47
         shown here.


                                                                             Info
                                                                             Field




89.      The lnfoField is transmitted after the 14th PMA signal within a PMA training frame. Due to its
         higher information content, it has a longer transmission time compared to a single PMA signal
         and therefore appears wider on the time scale in Figure 47.


90.      Specifically, a PMA training frame in the attacked embodiment thus consists of 15 partial PHY
         frames, which are sent at regular time intervals, and the lnfoField with the training and syn-
         chronization information is always located in the 15th partial PHY frame. This means that the
         periodicity required by feature 7.1 is present in the exchange of frames .



         3.        Feature 7.2


                "[wherein] a majority of each of the PMA training frames consists of pseudo-
                random known sequences used to construct transceiver operations for
                communication between link partners, and wherein"

         has also been realized.


91.      This is because a large part of each of the PMA training frames consists of pseudo-random
         known sequences that are used to set up transceiver operations for communication between
         the link partners, as will be explained below:
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92.     Since, according to the above-quoted chapter 97.4.2.4 of the standard, the information field
        has a length of 96 bits and corresponds to bits 2520-2615 of the - much longer - physical frame,
        it follows that, according to the example in paragraph [0043) , lines 46-51 of the patent in suit,
        the information field is short compared to the length of the PMA training frames consisting of
        pseudo-random known sequences. Thus, by default, a majority of each of the PMA training
        frames consists of pseudo-random known sequences, as required by feature 7.2.


93.     The sub-feature of feature 7.2 relating to the pseudo-random known sequences is also reali-
        zed: This is because the sophisticated training procedure using training frames (included in
        the 802.3bp standard) makes use of scrambling and descrambling of data sequences to bring
        about synchronization. Scrambling ensures that the frequency spectrum is evened out.


94.     First, the technical background of the term pseudo-random known sequences will be explained
        according to the      professional   understanding.    Here we refer to https://en.wikipe-
        dia.org/wiki/Scramblerbeziehen, where it says:


              A scrambler (or randomizer) can be either: 1. An algorithm that converts an input
              string into a seemingly random output string of the same length (e.g., by pseudo-
              randomly selecting bits to invert), thus avoiding long sequences of bits of the same
              value; in this context, a randomizer is also referred to as a scrambler.

        In German:


              A scrambler (or randomizer) can be either: 1. an algorithm that converts an input
              string into a seemingly random output string of the same length (e.g. by pseudo-
              randomly selecting bits to invert), thereby avoiding long sequences of bits with the
              same value; in this context, a randomizer is also called a scrambler.

95.     In the following passage of the Wikipedia quote, seed values are also mentioned.




96.     A person skilled in the art therefore knows that scrambling using seed values leads to pseudo
        random known sequences. The patent in suit also generates pseudo random known se-
        quences from seed values [0056) KPS.


97.     Against this technical background, an expert can see from the following quotes that pseudo-
        random known sequences are also generated by default:
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98.     Scrambling is defined in various sections of Section 97 of the Standard (emphasis added):


               97.1.2 Operation of 1000BASE-T 1

                llli: I0009ASI -11 l'lfY 1,111111\!..~ ~ h:h:I Puhc Ampht11Jc fwulm1on (PAMJ> 11~ub111111cd al n 750 MUd
               rate i\ 15-btt i-crnmblcr i" u,ctl to improve 1111: I MC pcrforn1llncc GMII TX D. TX l.'11. and l X [R arc
               cucodcJ h•i,:clhe1 u,mg 1<08 ~I n cm:oc.ltng \\ hc1'\: I II t:vdc., of (il\,111 Llata ,ind i.:rnllrol 1uc cnrn<lu.l lol~lhi:1



               97.3.~ PMA training sfde-slream scrambler polynomials

               Tbc PC TullliUlJr fw1ctt011.mlploys -.11Je-!.neru.u <icramblmg Iflhe J>arnmet~ coufig ptO\' tdi!d 10 1hr PC b)
               Ul\! PMA PA\ Couuol i unc11ou \J0 foe PSU tO!<iHG 111d1cn1Jou me :..'l~C a:.sumc-s tlle ,t<:1lue MASTER.
               P( S Tnul\11111 ,1~111 clllj)lay E<}UAIIC'III {97-S)



               97.3.4 .3 PMA tra;ning mode descrambler polynomials

               Th-.: PHY "1ulll ocu1thi.! d~\atHu\Jh!r s'◄lti.! ..v11du <>1Unll11.111 t tl the P.-\M2 1rnm1111t S.:f'll11?11ce nud tl'tJOII ,ucc1."'i!.
               Lllrou<>h scr 5191µ.s, For stdNiream descrn1n1>unt. the l\lASTCR PHY employs the recetver descrambler
               g.e11ern1or pol)'llowial ~ - Equauon (97 6 ) and the SL\\'E PHY employ:. the receiver desi;;rambler ieuerator
               polynomial pe, Equ11rioo (97-S)



99.     During scrambling, bits contained in a data signal are converted into a pseudo-random known
        sequence. This is exactly what is done in the PMA training frames for synchronization with
        regard to the data sequences covered by the 802.3bp standard. Figure 97-7 of the 802.3 stan-
        dard shows the scrambling process (emphasis on this side):



                   PCS               818 blocl< 1                   8IB block 2                      818 block 45
                  output         O            • 80              0      1 • • SO


                 RS ENC .---..,_---.----'-- - - - ,
                   output                                                                        RS-FEC symbol         OAM        RS-FEC symbol
                  symb I# 1---,,-----,--....,.......,,....-1-....,.........- - - - , - = - l
                                                                                                398 • - • • 404         405      406 • • • • 449
                    bh #                                                                       3584 • • • - - • 364.4 3645:3653 3654 • • • • • - 4049



                  serambl4tr
                 scr [0:4098]                                                                  XOR



                scram b l • r ~ - - ~ - - ~ - - ~ - - ~
                  output     Binary          Bllllltry
                   bi1#  0 .__-.-__.. 80 81            161




                             ~             '
                                        Temary
                                 U-··· ·I s3
                                                            I
                                                    Figure 97- 7-PCS detailed transmit bit ordering
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100.     The XOR (Exclusive Or) operation mentioned above is a logical operation that can be used to
         generate random numbers. This can be seen, for example, in the section of https://en.wikipe-
         dia.org/wiki/Exclusive_or#B itwise_operation shown here.


               Similarly, XOR can be used • generating en:1op•f pools for hard•A·a1e ra1d011 r~mbar ge1,e1atcl'l.. The XOR operation pre'S&l'/85 raooomness..
               meaning that a ra~<lom bit XORed ,1,ilh a non-random bit 1Nlll result In a random bit. Multiple sources of p-olantlallv random data can be C()(nblned using
               XOR, and :he unprooctab1llty of the ou:put Is guarant<M>rl t:i be at least as good as tho best lndlvxla,al oourro.11liJ



101.     When generating random numbers in accordance with the 802.3bp standard, such an Exclu-
         sive Or function is obviously used, as shown in Figure 97-7 of the 802.3 standard shown above.


102.     In the attacked embodiment, the pseudo-random known sequences are also used to establish
         transceiver operations for communication between the link partners. This follows straightfor-
         wardly from section 97.1.3 of the 802.3bp standard (emphasis on this side):



              I   97.1.3 Signaling

                  I t11: PIIY cm" 11p,.,,llc 111 llircc IM\11: mmJ,..... the 11t11m,1l J.11.1 111,xl.:. lhc 1r.111unJ3 mmJ,:, 111 Jn ,1pt111naJ LPI
                  moJ1:

                  In ti~ nonnal dnto ntt'1k PC.•._ ~<!f11.:ra1~.. S\ mboL, that r..1>Ic...:nt J.110 con1rol. or iJI~ lllr 1run-.m1~,1llll b\ Ih1:
                  P\IA

                  In 1h.: 1r:1111111g mode the l'C~ 1:wncr.1h.!, only II PAf,..12 r:m..:m w11b pcnoJ1c crnb..-<IJo:.•d dutn 1h01 ,.,,:iMc, lhc
                                                    Imm
                              nl Ille 11il1cr Clld Iv
                  ) \!CCI\ 1.'l                             utid ~ th .1110111/c 1111lltl)! :.c1.11nhl..:r "--cJ , 11ml Cll 1h1Uh.:.. Ihi.' I Pl 111oJ c I';
                  .:nn c "'-'f':1r.11.: y m c:ic I i ir.."<:111,n c,c-,:     .,•~M ing 111           l       1c:n 1rnn,m1111ng m      'I moue, 1hc PC..,
                  g.:nl.'mlc.. 1crt1 ~ymb11J~ anJ rcn()J1-..olly ,cnJ II RI H<F-"I I r-111.:m lo ~c<-'p 1[t.: l\w VI IV-. •)nchw1111ctl ,._...._.
                  97' ~:?IS)



103.     We also refer to the bridge sections 97.1.2.1 and 97.1 .2.2:



                   lu the llOUllllS mode {!.t:e 97A.2. 1). tlte PCS tronsuuts. aud rccd,·es PA1\lt! oammg ~que11ces to i.)ucluouiu
                   to lbe PHY frame, learns lbe dnta mode scrambler seed. :md exchanges EEC nnd I0OOBASC-TI OAM
                   cauabilalle!) TI1e trniui112 rno<lt: u~ PA.\U t!Ucodt_112

                   97.1.2.2 Physical Medium Attachment (PMA) sub.layer

                   Tbe L000BA E-TL P~L~ tr1:1muuts/receives symbol streams to 'from the PC                                               onto the srn,g.le balanced
                   rwi~ted-pair aud t>r<lvide~ lhe clock reco\try. tiul mow101 . and llte l000BASE-Tl PHY Couuol fuuc tiou.
                   Tbe P~M. provides full duple., COrlllUlUllCl\ltOUS 01 750 ~1Bd.


104.     The training frames and their data are then exchanged between the link partners in the PCS
         and the PMA sub-layer and synchronization is performed using scrambling .




                                                                                                                                               •
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105.     Furthermore, we refer to the following section from chapter "97.3.2.2.12 PCS scrambler" of the
         IEEE 802.3bp standard, in which "seed values" are specified that are used for scrambling on
         the PCS.



                The initial seed value'> fo r tin: -~•tASTuR an<l SLAVl! scrnmhlcrs at<! kft to tl.tc imph.:111crltol'. 1 he seed values
                shall be nun-/.cro and shall be Lran!'.miltcd during lhc lnloFicld exchange. (Sec 97.4.2.5.5). Jl,c st:rambkr is
                 run contio1t0usly on all RS Ir.uue oulpnl bi1s.


106.     This is also in line with the following paragraph [0056] of KPS, which also describes "seed
         values" for the generation of pseudo-random sequences (emphasis on this side).

                                                 -
                                   (0056] Th e PMA train ng frames ma be long, re eti-
                                   tTve or periodic frames that comgrise a pseudo random
                                   portion or sequence and an infom,ation field or lnfoField,
                                   tor exampl,e. The pseudo random portion may be gener-
                                   ated from seed values determined duri ng the auto-nego-
                                   tiation state 402. The PMA training frames may be 16k


107.     This corresponds - once again - with the previously quoted section 97 .1.2.1 , which specifies a
         sophisticated, pseudo-random known sequence. The link partner then learns the start values
         (seeds) for the pseudo-random sequence, among other things:




          In the trainiuir.modc sec 97.4.2.4 . the PCS transmits and receives PA.'-12 traini.n sc ncnccs lo svnchroniz~
          to   c PHY       c. foams the data mode scrambler Seed, and cxchau cs EEE 111.1d l000BASE-Tl OAM
          ca                           e uses P&vf.2 cm:odiug.




         4.      Feature 7.3


               "[and whereby] the link partners are communicatively coupled via a wired Ethernet
               connection."

         has finally been realized.


108.     This is because the link partners communicate via a wired Ethernet connection. We have al-
         ready described the Ethernet connection between the Ethernet chips used bylllll regarding
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         the 1000Base-T1 connection above. In the following, we reproduce the relevant excerpt from
         the                  , Appendix EIP 7,   i . - Excerpts (emphasis on this side):




109.     The sophisticated wired Ethernet connection is marked here with two thick red arrows.


110.     In addition, two photos of the attacked model taken from the purchased     111111 vehicle are
         shown for illustration purposes. You can see the Ethernet cable (twisted pair cable) with a
         white and a black plug, which connects two circuit boards of the   111111 computer with each
         other in tenns of data technology:
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111.     The contested embodiment makes use of all the features of claim 7. This also applies to the
         features of the technically corresponding claim 1.


         Evidence: Expert opinion.



         Ill.     Direct use of the further asserted, granted claims


112.     The other claims asserted 8


                "[whereby] each of the periodically transmitted PMA training frames has a further
                part for exchanging parameters and control information."

         and 10


                "[wherein] the further part for exchanging parameters and control information
                comprises one or more of a current power backoff, PBO, field, a next PBO field, a
                requested PBO field, a transition count field, and at least one control field."

         are also used directly according to the meaning of the word. This is because parameters and
         control information are also transferred or exchanged in the PMA training frame for the PHY
         layer (or in another part of the frame). In this context, we again refer to the 802.3bp standard,
         section 97.4.2.4 ("PHY control function"), which we again show here with the corresponding
         highlighting on this page.


                97.4.2.4 PHY Control function

                Pl IY Control gcn1.-raccs the rnnrwl action:; that arc ue-cJcd to bring the I' l IY iJllo a mode or operation duriug
                which frames can be exchanged VJith the link panner. PIIY Control shall comply with the state diagram
                dcsmption given in Figure 97 26.

                Dwing l'M!\ Lr.i.i11ing (TRJ\ I INO ;md COll Tl>OWN i;tatcs in Figure 97- 26), PHY C.\1ntml mfom1l:lt10n
                b exchanged betv,eeu link partners with a 12-octet Infofield, which is XORed with the first Y6 b1ts of the
                1:-;u1 partiul PHY frame (bit..~ 2520 10 2(i l 5) of the PHY frame . The !J1fofiekl i:: al ·o denot~d IF. The link
                partner is not 1cquircd to dc1:oclc every ff tra11s111ittctl but i • required to dccude IF!> ac a rate that euabk~ t11c
                correct action prior to the PAt-.12 to PA...'vB transirion

                The 12-octet Iu.fofield shall include the fields in 97.4 ..2.-U lhrou~ 97.4 2.4.8, ;ilso '>hown in the overview
                Figure 97- 20, ttnd the mon: tk'lailc<l Figure 97- 11 and 1-igurc 97- 22. 1-'.ach lnfohdc.l shull be lr.:msmillctl al
                least 256 times to ensure detection at link partner.


113.     It is therefore explicitly described here that control information and parameters (for the PHY
         layer) are also exchanged between the two (future) Ethernet communication partners (in
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         another part of the PMA training frames) during PMA training. This is because the PMA training
         frames have an info field that transmits this control information and parameters (control ac-
         tions). Claim 8 is thus realized.


         Evidence: Expert opinion.


114.     Claim 10, which is also asserted. is also realiz ed. This is because the lnfoField already identi-
         fied above as a further part of the PMA training frame with regard to claim 8 in any case con-
         tains the variant mentioned at the end of claim 10, namely "at least one control field". According
         to the IEEE 802.3bp standard (Annex EIP 6), the lnfoField consists of 12 fields (12 octets).
         According to section 9.4.2.4, it looks as follows:


          l'he 12-octer lnfoheld shall mclude the fields in 97.4.2.4.2 through 97.4.2.4.8, also shown in the ove1-view
          Figure 97- 20, and the more dctaikd Figure 97- 21 and Figure 97- 22. Each InfoFicld shall be lmn~millcd at
          least 256 limes lo ensure dclecLion al link partner.



            oclcl J oclel 2 octel l           octets 4/516       oclcl 7        oclcls 81'9/10          l~lc:ts I l~J2

             OxRR    OxA7     OxOO              PFr24            Me,s3ee "'.\·fSG24 MSG24 M.SG24          CRC l6

                                              Figure 97-20........lnfoField format


                                                  PMA srntc - 00
                                                                                                    •
            octet I oclel 2 octet 3           oc.:lets 4/5/6     octet 7        mads 8/9110             oc.:lc[s J l/ 12

            OxRR     OxA7     OxOO              PFC24            MeS!;.a8e     SccdGsrCfgCap              C'RC'16


                                         Figure 97- 21 - lnfoField TRAINING format


                                                  Pl\.fA slate    01
            llClc:t 1 oclcl2 oclc:l 3         oclc:ls 4i5!G      octet 7        oct<:t:; 8/9/ l 0       octets Jl/ 12

             OxRR    Ox,\7    OxOO              PFC24            Mesr.a.!l,e   DataSwPFC24                CRC'16



                                        Figure 97- 22- lnfoField COUNTDOWN format


115.     According to the text above Figs. 97-20 to 22, the 12-octet lnfoField contains the other fields
         shown and discussed in sections 97.4.2.4.2 to 97.4.2.4.8. These include a message field (see
         97.4.2.4.4). This message field includes an indicator "PMA_state<7:6>", which comprises two
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         states "00" and "01 ". This indicator is used, for example, to signal the state of the transmitting
         transceiver to the respective link partner. In accordance with the patent in suit, for example in
         paragraphs [0019), [0030), the link partners are also referred to here in technical jargon as
         "master" and "slave".


116.     The complete formats for the message fields of the master and slave are shown in Tables 97-
         7 and 97-8. "Any other value shall not be transmitted and shall be ignored at the receiver". This
         makes it clear that the idem message field is a control field within the meaning of claim 10. We
         reproduce the relevant section 97.4.2.4.4 below:




           97.4.2.4.4Message Field

           MeS!.age Field (1 octet) For the l.1ASIER. lllls field is represented by Oct7{P~1A_state<7 6>.
           loc_rcvr_status<S>. en_sla,·e_tx<4>. reser\'ed<3.0>}. For the SLAYR Uus field ts repte~euted by
           Oct7{PMA_ state<7:6>, Joc_rc,T_status<S>, tmring_loe:k_OK<:4> reser.ed<3·0>)

           The two stale wcbcator bJlS PMA_sutte<7 6> shall oommurucate the '.late of the trnnsnutcwg ~tver ro
           the lwk partner P.MA_state<?.6> = 00 wdlcates TRAINING. and PMA_state<? 6> = 01 mdlcates
           COL"N1DOWN .

           All possible Message Field settmgs are hsted m Table 97-7 for the ~fASTER and Table 97-8 for the
           SLA\ 'E. Any other ,.uue shall ool be translllltled and sbal.l be ignored at the rece1\'er The ~lessage Field
           semng for the first transanned PMA frame shall be the first row of Table 97- 7 for the MASTER and the -fir.st
           or second row of Table 97-8 for the Sl.A\'E ~ioreover for a efren l\'lessage Field setting the next Message
           Field settmg shall be the same Message Field settw,g or tl1e Message Field setting correspondmg 10 a row
           below the CUIIe!ll set1mt?- When loc_J'.'C\T_status = OK the InfoF1eld \"anable is set lo loc_rc,T_sta~<S>= 1
           and set to Oothennse.


                             Table 97-7-4nfoField message field valid MASTER settings

                 Pl\L\_uatt<7:ci>       lot _ l'C'\T_starus       tn_slave_tt        n ~td       reurvtd       ttttntd   ,-.sn,·td

                        00                      0                     0                0           0              0         0
                                    I                                                                      I
                                                                                •'
                                                              I



                        00
                                    I           0             I        I
                                                                                .
                                                                                       0           0       I      0         0


                -
                        00
                                    I           I             l        I
                                                                           -L
                                                                                       0
                                                                                             -     0
                                                                                                           I      0         0

                        01
                                    I           I             I
                                                                       I        .      0     ;     0
                                                                                                           I      0         0
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                                   Table 97-8--lnfofield message field valid SLAVE settings

                      PMA_state<7:6>    loc_rcvr_sfatus    tinuna       -
                                                                .._lock OK        r esen·ed         resen•ed   resen ·ed       reserved

                            00                 0                  0                  0                 0          0               0
                  -         00                 0                  l                  0
                                                                                              _,_
                                                                                                       0
                                                                                                         -        0
                                                                                                                           -      0

                           00                  I                  l                  0                 0          0               0

                            01                 l                  l                  0                 0          0               0




         IV.       Realization of claims 7a to 7c and 1a to 1c


117.     According to claim 7a, it is specified that" ... a PMA training frame further comprises an infor-
         mation field, the content of which varies as the setup of the communication devices progres-
         ses." In this context, we refer to Chapter 97.4.2.4 of the standard (Appendix EIP 6), where, for
         example, two different formats for the information field are defined with Figures 97 -21 and 97-
         22 shown here (color coding added ).



                                                       PMA state = 00
               octel 1 octet 2 octet 3             octets 4'5/6         octet 7               oclets 819/10                octets 11/ 12

           I I I
               OxBB      OxA7    OxOO               PFC24                                SeedUsrCfgC'ap                      CRC16



                                            Figure 97-21--4nfoField TRAINING format


                                                       PMA state = 0 I
               octet 1 octet 2   octet 3           octets 41516         octet 7               octets 819/ 10               ocIets 11/ 12

                                                    PFC24                                D ataSwPFC24                        CRC16



                                           Figure 97- 22-lnfofield COUNTDOWN format



118.     The "TRAINING" information field contains an entry "SeedUsrCfgCap" for octets 8/9/10,
         whereas the "COUNTDOWN" information field contains an entry "DataSwPFC24" for octets
         8/9/ 10. The entry "DataSwPFC24" stands for "data switch partial PHY frame count" (see




                                                                                                                                •
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         Appendix EIP 6, section 97.4.2.4.6). The entry "SeedUsrCfgCap" is not defined in more detail
         in Appendix EIP 6, but obviously relates to a configuration (Cfg) for seed values (Seed). This
         means that the contents of the "TRAINING" and "COUNTDOWN" information fields are diffe-
         rent.


119.     The "TRAINING" and "COUNTDOWN" information fields are also assigned to different PMA
         states. As can be seen from Figures 97-21 , the "TRAINING" information field is specifically
         assigned to a PMA state "00" and the "COUNTDOWN" information field is assigned to a PMA
         state "01".


120.     The two PMA states refer to different sections of the PMA training process used to set up the
         communication devices:



            97.4.2.4 PHY Control function

            PHY Control generates tbe comrol net ions thnt nre needed {O brio!! the PHY into a mode ofoperation durin~
            wbich frame, cnn be exchan_2ed with the link ponner, PIIY Control ".'hall complv wilh the state diaimun
            demiprion given in fia.11re Y7-26

            Ouring Pl\·fA lrdining (TRAJNTNG un<l COlJNTDO\VN ~Lnlcs in Figure 97- 26), PHY Conlrol infonmlion
            i!, exchanged bdwccn link partner.; \\oilh a 12-<i~h:L l nfoFicld, which is XORcd with lhe first 96 hils of" the
             15th partial PHY frame (hiL~ 2520 Lo 26 15) of Lhe PHY frame. The rnfoFicld is ulso denoted IF. The link
            partner i!> not r<?quired to decode every IF lnmsmillcd bul is required lo decode rFs al n rnle Lhal enable!- the
            rnrrccl action:. prior lo the P!\~112 lo PAM3 lransition.

             lhc 12-0l'.(Cl lllfoFicld !>haU utdlldl! the fidd!. io 97..1 .2.·l.2 tlm.iugh 97.tl.1.·l.8. abo ~howo in Ille ovc1vi.:w
            1 1gurt! n-'20. auJ the mot\! dctaili;:d f1gun: 'J7-'2 l and 1 igmt' 97-22. 1:nch lilfoFidd i.hall be unnsmittcd at
            frast 256 times to eusure detectiou at link panntr




121.     In Section 97.4.5 of the standards (Annex EIP 6), Figure 97-26 shows a state diagram accord-
         ing to which a "TRAINING" state is assumed to occur before a "COUNTDOWN" state. For
         better illustration, the state diagram according to Figure 97.4.5 is shown here (highlighted in
         color).
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                       97.4.5 State diagrams


                                                        (fina_ain trol • DISABLE •


                                                                          .
                           aulo_neg__imp • trua • m<_ ...,...,"9..en..i.. • truo) •
                                                 ( 1)'11C_liM_Cllntrol • DISABLE •
                        (aulo_nteg_,mp • t..l•e • rnr_aueoneg_..,.    .,,., , _}) .
                                                                  p..,a_ruel • ON          ,

                                                                       DISABLE_TRANSMITTER


                                                                                      liln~_..,,,,llrDI ~ENABLE •
                                                                                      auto_neg_fmp • true· mr_au.tanev__enable • tru1t> ..
                                                                                      (sync_" nll_ccniral •ENABLE:•
                                                                                    • rauto_ne9.J mp s r...tse • mr_aulone,g_em,. . T lake))
                                                                        INIT_MAXWAIT_ TIM£R
                                                                     stari ma:xwail_ limer


                                                                                           UCT

                                                                         !             •
                                                                                   SJLENT
                                                                     11t_ modo <- SDIO_Z
                                                                     mnminwU_\tn"ltt

                                                                                            ((config • MASTER) •
                                                                                            (ainft11- SLAVi: 'hx:_SNR_m-vln ~OK •
                                                                                            en_sJave_tx ~ 1)1 • m1nw,sil_bmor_ done

                                                                                   TRAINING
                                                                     bl mode c: SEND T
                                                                     stirt m,nwi:ut_ttmH
                                                                     e.r.tA cbl~ 00
                                                                   -
                                                                                      r
                                                                              COUNTDOWN
                                                                                            loc: n:'fT slallls • OK• n,rn rar $talus •OK•
                                                                                            mlll,.-.ait_:hmor_ dOne' dolield_aimplete


                                                                     lx_mode        SEND_T
                                                                    1PMA_ slalt>       Ot

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                                                                               S£NOIOlE2
                                                                     Ix mode ~ SDID I
                                                                     stirt m,nw.,_lime<-

                                                                                                   bc_phy_, ....ty ~ OK.
                                                                               J
                                                                  • NOT_OK

                                                                               SEND DATA
                                                                                               l   ,.,,,,...JlhY_re,idy•OK'
                                                                                                   nw,wa,s_bm«_oane-


                                                                     Ix mode <--' SEND N
                                                                     stirt m1nwa11_ lin"M-


                                                          Figure 97- 2&-PHY Control state diagram




122.     Claim 1a has also been realized accordingly.


123.     According to claim 7b, it is specified that" ... the PMA training frames are periodically transfer-
         red from a slave link partner to a master link partner after the slave link partner recovers a
         master clock during that training period."
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124.     In clear terms, this means that the slave link partner can only send the PMA training frames to
         the master link partner if the slave link partner has previously recovered the master clock.
         Figure 97-19 of EIP 6, shown below, shows that a "recovered_clock" signal is only output to a
         "PMA TRANSMIT" block after the clock has been recovered in a "Clock Recovery" block, which
         is then responsible for transmitting the PMA training frames.



         The interlace between PMA and the baseband medium is the 11edium Dependent lnt,ertace (MDI), which is
         specified in 97.7.
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                                                                                                                                                 PMA LINKi ndicalion
                               MEDIUM                                                                                                              (Jrnl(_status)
                             DEf>ENOEl•lT
                             INTERFAC E
                                (MDI)



            t,IOTE- T11a recovered_clocls ero is shown to indicata delivery ol the recoverect clock signal back to J"t.tA TRANSMIT for loop timing


                                                               Figure 97- 19- PMA reference diagram




125.     In this context, we also refer first of all to chapters 97 .1.2 and 97.1.2.2 of the standard (Appen-
         dix EIP 6). Chapter 97.1.2 (on page 60) specifies that each Ethernet PHY (circuit) can operate
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         either as a master or as a slave. The master uses a local clock to determine the timing of
         transmission operations. The slave recovers this clock and uses it to determine its send ope-
         rations (emphasis added):


          A I 00OBASE-T I PHY shall l>e capable of opernlmg as l\.·lASTF.R or SLA VF., per runtime c011figw·a1fon. A
          ~L-'\.STER PllY uses a local clock to determine the timing of trausmitter operntiom, A SLAVc PllY
          recovers the clock from the recei\•erl signal anrl uses it to rletermine the timing of m111smit1er operntions
          When Auto-Negotiation is used, ihe tvL-\STER-SLA VE rc-lationship between two devices sharing a link
          segment is esrnblished during Auto-Negotiation (see Clause 98). If Auto-Ne11-otiation is not used. a
          MASTER-SLA Vb relationship shall be esrablis.hed by manap.ement or hardware confi.p.uration of the PHYs.
          The MASTER and SL\VE are S)11duuni:Le<l by a PHY link S)rncbroui;,:ation fuuction in the PHY (see
          97.4.2.6).



126.     Chapter 97 .1.2.2 (at the bottom of page 61 ) also deals with the recovery of the clock generator
         (emphasis on this side):


          97.1.2.2 Physical Medium Attachment (PMA) sublayer

          llle lUOOl!AS.E-Tl PMA trausmitslreceives symbol streams ro/from the .PCS onto the sing.le balanced
          tw1srcd-pair and provides the clod. recovery, liuk morutor, and the lOOOBASE-Tl PHY Comrol fUlletiou..
          The P2v1A provides full duplex communications at 750 MJ:ld.


127.     Please also refer to Fig. 97-2 on page 63 of EIP 6. In this block diagram, the clock recovery
         based on received PMA training frames is shown at the bottom right (highlighted in color).
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                      TJCl)<71)>
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                                                                                  b:l!tllr.,....                               ➔
                         RX E,R                                                                                                      RECE,'VE
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                                                                              (NCUJllES PCS AND FUA)



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                                                                   .,_..•"'<Sa"'"" ...... - ~
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                                                                       FiguTe 97- 2-functionaJ block diagram




128.     Section 97.2.2.2.3 (on page 68) emphasizes once again that clock generation occurs in master
         or slave configuration:


              97.2.2.2.3 Effect of r• celpt

              PCS and PMA Clock R~con•ry perform thttr funcuon.s m MASlcR or SIA\·E configuratton according to
              the Yalot ,nmm.ed by the parameter configuration.
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129.     In addition, we refer again to sections 97.4 et seq. (beginning on page 111 ), which deal with
         "clock recovery" within the meaning of claim 7b (emphasis on this side):


                    97.4 Physical Medium Attachment (PMA) sublayer

                    97.-4.1 PMA functional speclficatlons

                    The PMA coopln m«sa~n Crom a n1A i.m-tu murl.tct tp«died m 97.1.1 to tbe !OOOBASE-Tl
                    ~ b a n d ~ ~ m 97.5

                    The -ru~ bi!l\\ tta PMA Uld !h~ banballld a1edswn i! th~"~ O!!pN!dec1 Intttla:u (MDI) , \lluch U
                    tpcc,d.ied lll 97.7
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                                 "fTERFACc
                                      WI)




                                                  Figure 97- 19- PMA roforonee diagram



130.     Point 97.4.2.8 on page 123 of Appendix EIP 6 then explicitly states (again) that the clock
         recovery is linked to the PMA transmission function


          97.4.2.8 Clock Recovery fun<:tion

          The Clock Recovery fw1c1l011 shall provide a doc!. suifablc for signal !lamp liug so !lull the RS FER 111dicaled
          iD 97. 1.2.3 is achieved. The received clock sij!Jlal is e.wected to be stable and ready for use when trainin1;
                1


          has been c-0mpleted. rhe received clock sig.nal is su ~lied to t:he n1A Transmit function by received clock.
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131.     Finally, we reference Section 97.1.3 of Exhibit EIP 6, which represents clock recovery during
         the training period and prior to sending the PMA Training Frames (emphasis on this side):


            97.1.3 Signaling

             lOO0BASE-Tl siPll!ling is pcrfomJCd by the PCS gct1crnting: conlinuollS S}'IIlbol sequences that the PJ\.fA
            transmjts 0YCT the single twiskd-pair copper cable. Tue si!{tlllliug scb~mc achieves II number of objectives
            i11cluding tbc following:
               a) Algo1ulunic mapping from TXD<7:0> to PAAD >ytllbo.ls in lhe uaosmu path
               b) Aliorithmic mappi.oi from PAM3 symbols to RXD<7:0> in the receive path
               c) Adding FEC coded data ro tranmlit and validating data using FEC on receive
               d) Uncorrcl111cd symbols in the tn111smit1c<l ~ymbol stream
               e)      ·o correlatiou benveen S)'Ulbol streants tra\'eling both dii""ections
               f)    Abili:ry to s1gnal the status of me local receiYer to the remote PHY to indicate that the local recei,·er
                     is .not operatinit reliably and requires retrninini
               g) Optionally. ability lo si.[Z:lllll to the remote PHY that the transmitting PHY is entering the LPl mode
                     or exiting the LPI mode and retuming to nonnal power operation

            The PHY may operate in three basic modes; the normal data mode. tbe tnrining mode, or au optionBl LPI
            mode.

            1n the nom1al data mode. PCS gcocnttes symbols tbot reprcseol data, control. or idles for tmn mission by the
            PMA.

            In the tlllmirlg mode. the PC'S gencra1c, only II PAM:! pattern \\ilh pcnod1c 1.-mbcddcd dat11 tli11t enables lhc
            rccci\cr at the other end 10 tram and syi1chrCJ1117c llmin!,l, ,crnmblcr ~coo.,. and capab1htic, The LPI mode i~
            enabled scparat"Cly in each directioo (sec LPI i-1gnaling ilt 97.3.S). When tnm!.!nilling in LPI mode, the PCS
            gcuerRtcs zero $ytllboh llUd periodically send II REFRESl-1 pattern IQ keep the two PHYs synchronized (see
            97.3.2.2.1S).



132.     Claim 7b is therefore realized (as is claim 1b).


         Evidence: Expert opinion.


133.     Claim 7c states that " ... the PMA training frames are modulated using two-level pulse amplitude
         modulation."


134.     Pulse amplitude modulation (PAM ) can be used at different levels. The number of levels is
         represented by a number after the abbreviation PAM, e.g. PAM2 for the sophisticated two-
         level pulse amplitude modulation. Here we now refer to the last paragraph of section 97.1.2.1
         (on page 61 ) of the 802.3bp standard (Appendix EIP 6), with emphasis on this side:
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           Ju rhe tr.1ini n mode (see 97.4.2.4), the PC'S transmits a11d recci\·es PAM'.! rraitiin s~uences to synchronize
           to the PHY frame, learns the dam mode scrambler seed, and exchanges EEE a.nd 1000BASE- T1 OAM
           capabilities. fhe training mode uses PAt\12 encoding.



135.     There you can see the specification that the PMA training frames perform the training by using
         PAM2, i.e. two-level pulse amplitude modulation. Section 97.1.3 (on page 64) also comments
         on this (emphasis on this side):


          97.1.3 Signaling

          IOO0BASE-Tl si1Q1alin!l is performed by the PCS jlC'lleratmjl contmuous symbol sequcnc-:s that the PYlA
          transmits over the :.inide twisted-pair copper cable. The St1D}alin!l scheme achic,·cs a mnnb...-r of objcctin.-s
          including the followinit:
             a) Algorithmic mapplllf( from TXD<7:0> to PAM3 i.')'lllbols in the tnmsmit path
            b)     Aljriorithmi:c mapping frow PAM3 symbols to RXD<7:0> in the rccei\'e path
            c)     Addiu:z FEC coded data to transmJt and validarin!l data USllljl FEC on receive
            d)     Uncom:latcd symbols in the tmnmritted 1,ymbol stream
            c)     No correlation betwecu symbol stream, tra,•elinfl both directions
            f)     Ability 10 sitmal I.he status of the local n:cein.-r 10 the n.wotc PHY 10 indicate that the local receiver
                    not ope.rating reliably and requires rctraini.u11
                   ii,

            11)    Optionally, abili1y lo signal to the remote PHY that lhc t.rausmitting PHY is entering the LPI mode
                   or exiting the LPI mode and rctumill$ 10 normal power o~'l·ation

          The PHY may OJX,-rntc m three basic wodcs-: lhc normal data mode. the traintn_a mode. or an optional LPI
          mode.

          In the nonnal data mode. PCS i:r,enc1'8tes symbob that rcprc:scnt data. control or idles for lnlllliJllission by the
          PMA.

          In the lrdllllllJl woc!c. the PCS 11cncratc; ouly a PA.M1 pallcm "1th p1.mod1c l.·mbcddcd data thal enable; the
          r1.~et\ 1.-r at the other end lo lrdlll and s,11chrowzc tinnn.l[. '><:rambler w~-d~. and c11pabilill1.'l>. The LPI mode is
          enabled separately in each din:ct.ion (sec LPI si~in,lk m 97.3.5). When tnm.sinirtintz in LPI mode. the PCS
          JlCD<:ratcs 2<:ro symbols and periodically send a REFRESH pattern to keep the two PHYs syuclttonul.-d (sec
          97.3.1.1. 15).



136.     The same applies to section 97.3.2.3 (emphasis added):
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          97 .3.2.3 PCS R•eeiv• function

          T1ic PCS Rccffi·dunctioc sh.all confo= to 1k PCS S0BIS 1B rcccr,c sure diagram in Figure 97-12 :and the
          PCS R(Ce1't'C! b,t ordmng m F1~ 97-6 1nchl{!mg tompb:mce w1m die, 11'-~0C"l,lted itare ,.anable, 3$
          ~pecilied Ill ~ 3 6.

          The- f>CS Rr~i,-e fuuctiou acc:qJts rcce1,·cd symbols providi=-d by tb.e PMA 1u=i,-c function vi.a the
          p_arunetn a:_symb TILor PCS receiver uses lcnowledge of th(, PMA tr.tining :ilignmcm to conectly align the
          SI B-RS ti-runes ~ ~ . -I'd SIB-RS munes .lfe d«o&d with e-rrorc;orrec110-n; the fr:m-.ing itched~M;:md
          die SOB -SIB blow _are con,·ened co 10 data octeis to obtrun the signals ILXI><7:0>. RX_D\'. and RX_ER
          fo1 1nnSmJscs1on to the G!\cfil

          Ourinll PMA traimn mode PCS Recen·c cheelcs The m:e;,•l'd PA,\e in                      md sigmh the- reliable
          arqrusition oflbe deSct11.1nbler \I.lie by setting the l)llf:ttneter s.cr_siams To OK

          When the PCS S)w:mowz:illlou proc,.ss bas obtimcd sy'llclull'JllZabon. the PHY .frame ~rot .-..1,,. (RFU)
          mom.tor pmcess moruton the Y!JW. qu.hiy asscning hi_rfe< if accuive P UY frame =ors a.ix- drt«ird (RS
          p:irity error) If 40 c~mtive PHY frame errors are dettcted, the bloc:lc_loclt flae: i, cle-as.serted. When
          bloclc_lock ,,. a,$Med and hi_rftt is cle-:aumed the PCS Rettn-o procu,., conrinuou.~ty ar-cepi, bl«o The
          PCS Rece1,·e proces.1 monuon lhese blocb and ~ates R.,"'(!)<7 O>. RX_DY an<! RX_ER for
          b-=1on to the- ~!IL

          \\'htn tbt, rect"'IH'. channd as III trainm mo& the PCS Syncltron122tioo proccs.s. ccmtinuously morutocs
          PMA_R."'CST..IJUS 1001unon(toc_mT_sr.mu) Wilm foc_rc,T_Sfall1$ mdic:11~ OK lbffi die PCS
          Syucbrcnu.zauoo process aceepn data -uwis \,a the PMA_UNITDAIA.requesi pruruuw II ananis PHY
          fum.. ;md block syndn=rion ba~cd on ilil" PMA tra.i:wng !ram~ and com·eys 1~e1ved blt!Cb to thc PCS
          .Rccei,e proce» The PCS Syncmomzal:Ioo process ,en the blod:_lodc flag to mdtc:;ite whc-r.ha die PCS !us
          obuincd synchronintion Thr P~lA tniuing scqm."'tlCc includes I bit p.irtrm r'\"Cff 180 PA..\12 symbols
          wbicli ~ :1bgned wir_b lhe PCS p:lfTUl.l PHY frame boundary, :i., wtil A$ an Infof1eld. t1·htcli as ~ d m the
           l:Slh PCS P3]112I PHY frmle. Wbeu the PCS Syn~brOUlzahon Pfoce5-'1 JS synehrOlllzed 10 rhe PHY li::nne
          boundary u.smg thts pattem, block_lock 11, as\trted_ One parnal PHY ttamf" codeword ~ defintd 10 bt 1/l S
          of a PHY frame. frl'teen partial PHY fnmes concatenated bad: to Ind: form one PHY fnme. Th,. stut of
          the fu!J p.uria] PHY fume coincides widi the ~1;m of tho PHY frame.




137.     Claim 7c (as well as claim 1c) is thus also realized .


         Evidence: court expert opinion.



         V.         Indirect use of claims 1, 2, 4 and 1a to 1c


138.     The defendants also indirectly infringe claims 1,2, 4 and 1a to 1c by offering and distributing in
         Germany so-calledlllll computers as part of t h e - (and also-with the Ether-
         net chips (which are connected to each other via Ethernet). The attackedlllll computers use
         the chips which periodically exchange PMA training frames as explained. This is an essential
         element of the invention (cf. for the parallel Gennan law BGH GRUR 2004, 758-Flilge/radzah-
         ler). By offering the process in Germany, the defendants intentionally determine their custo-
         mers, who are not authorized to use it, to carry out the process in Gennany.




                                                                                                                           •
